Case 2:14-md-02592-EEF-MBN Document 5517-16 Filed 02/24/17 Page 1 of 57
        Protected - Subject to Further Protective Review

                                                                  Page 1
                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF LOUISIANA

        ---------------------------------§
        IN RE: XARELTO (RIVAROXABAN)     § MDL NO. 2592
        PRODUCTS LIABILITY LITIGATION    §
                                         § SECTION L
                                         §
        THIS DOCUMENT RELATES TO:        § MAG. JUDGE NORTH
        DORA MINGO, NO. 15-03469         §
                                         §
        ________________________________ §
         - - -

                                        - - -

                            FRIDAY, FEBRUARY 10, 2017

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                        PROTECTED - SUBJECT TO FURTHER
                                 PROTECTIVE REVIEW
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                   Videotaped deposition of ALAN JONES, M.D.,
              held at Bradley, Arant, Boult, Cummings, One
              Jackson Place, 188 East Capitol Street,
              Suite 400, Jackson, Mississippi, commencing at
              7:11 a.m., on the above date, before
              Kelly J. Lawton, Registered Professional
              Reporter, Licensed Court Reporter, and Certified
              Court Reporter.

                                        - - -

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Case 2:14-md-02592-EEF-MBN Document 5517-16 Filed 02/24/17 Page 2 of 57
          Protected - Subject to Further Protective Review
                                                     Page 2                                                           Page 4
   1   APPEARANCES:                                            1                EXHIBITS
   2    GOZA & HONNOLD, LLC                                    2   JONES                                PAGE
        BY: BRADLEY D. HONNOLD, ESQUIRE
   3    11150 Overbrook Road                                   3   Exhibit 13 Plaintiffs' Notice with Subpoena            220
        Suite 250                                                           Duces Tecum of Oral Videotaped
   4    Leawood, Kansas 66211                                  4            Deposition of Alan Jones, M.D.
        (913) 451-3433
   5    bhonnold@gohonlaw.com
                                                               5   Exhibit 14 Responses and Objections to                 220
        Representing Plaintiffs                                             Plaintiffs' Notice with Subpoena
   6                                                           6            Duces Tecum or Oral Videotaped
   7    MITCHELL WILLIAMS                                                   Deposition of Alan Jones, M.D.
        BY: ADRIA W. CONKLIN, ESQUIRE
   8    425 West Capitol Avenue                                7
        Suite 1800                                             8
   9    Little Rock, Arkansas 72201                            9
        (501) 666-8890                                        10
  10    aonklin@mwlaw.com
        Representing Defendant Bayer                          11
  11                                                          12
  12    SCHWABE, WILLIAMSON & WYATT                           13
        BY: MARGARET HOFFMANN, ESQUIRE
                                                              14
  13    1211 Southwest 5th Avenue
        Suite 1900                                            15
  14    Portland, Oregon 97204                                16
        mjoffmann@schwabe.com                                 17
  15    Representing Defendant Janssen
  16                                                          18
  17   ALSO PRESENT:                                          19
  18    Melissa Bardwell, Videographer                        20
  19
                                                              21
  20
  21                                                          22
  22                                                          23
  23                                                          24
  24
  25                                                          25


                                                     Page 3                                                           Page 5
   1                 ---                                       1                  ---
                    INDEX                                      2       THE VIDEOGRAPHER: We are now on the record.
   2                 ---
   3   Testimony of: ALAN JONES, M.D.                          3    My name is Melissa Bardwell, videographer here
   4      DIRECT EXAMINATION BY MR. HONNOLD............ 6      4    for Golkow Technologies. The date today is
   5                                                           5    February 10th, 2017. The time is approximately
   6
   7              EXHIBITS                                     6    7:11 a.m.
   8   JONES                            PAGE                   7       This videotaped deposition is being held in
   9   Exhibit 1 February 15, 2016 Invoice         50          8    Jackson, Mississippi, in reference to the Xarelto
  10   Exhibit 2 August 14, 2016 Invoice          51
  11   Exhibit 3 September 5, 2016 Invoice         51
                                                               9    Rivaroxaban Products Liability Litigation. The
  12   Exhibit 4 October 24, 2016 Invoice         51          10    deponent today is Alan Jones, M.D.
  13   Exhibit 5 December 26, 2616 Invoice          51        11       Would counsel present please introduce
  14   Exhibit 6 January 16, 2017 Invoice         51
                                                              12    themselves and state their affiliations for the
  15   Exhibit 7 January 6, 2017 Expert Report of    75
               Alan E. Jones, M.D.                            13    record.
  16                                                          14       MR. HONNOLD: Bradley Honnold for the
       Exhibit 8 December 2014 Xarelto Package     111
                                                              15    plaintiffs.
  17           Insert
  18   Exhibit 9 Center for Drug Evaluation and  190          16       MS. CONKLIN: Adria -- Adria Conklin
               Research Application Number:                   17    representing Bayer.
  19           202439Orig1s000 Clinical                       18       MS. HOFFMANN: Margaret Hoffmann representing
               Pharmacology and Biopharmaceutics
  20           Review(s)                                      19    the Janssen defendants.
  21   Exhibit 10 Drawing by Dr. Alan Jones of a  192         20       THE VIDEOGRAPHER: The court reporter is
               Linear Relationship                            21    Kelly Lawton, and she will now swear in the
  22
       Exhibit 11 April 2013 Pradaxa Label        197         22    witness.
  23                                                          23       THE COURT REPORTER: Doctor, would you please
       Exhibit 12 Compilation of Materials from     200       24    raise your right hand.
  24           Reliance List of Dr. Alan Jones
  25                                                          25       Do you swear or affirm the testimony you're


                                                                                        2 (Pages 2 to 5)
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Case 2:14-md-02592-EEF-MBN Document 5517-16 Filed 02/24/17 Page 3 of 57
        Protected - Subject to Further Protective Review
                                                Page 6                                                       Page 8
   1      about to give will be the truth, the whole truth,     1      Q. Such as?
   2      and nothing but the truth?                            2      A. Liver disease would be an example. An
   3         THE WITNESS: I do.                                 3   inherited deficiency in one of the clotting
   4         THE COURT REPORTER: Thank you.                     4   disorders -- I mean, excuse me -- clotting proteins.
   5         ALAN JONES, M.D., called as a witness by the       5   Medical issues such as dialysis can lead to a
   6   Plaintiffs, having been first duly sworn, testified      6   bleeding diathesis. So those are some examples.
   7   as follows:                                              7      Q. Then you said you might order a PT in a
   8                DIRECT EXAMINATION                          8   patient where you were anticipating starting
   9   BY MR. HONNOLD:                                          9   anticoagulants; is that right?
  10      Q. Doctor, good morning. Tell me your full           10      A. Either anticipating starting or a patient
  11   name, please.                                           11   that is -- that is on an anticoagulant.
  12      A. Alan Jones.                                       12      Q. Why is it might you order a PT in a patient
  13      Q. Where do you work?                                13   that's on an anticoagulant?
  14      A. At the University of Mississippi Medical          14      A. Well, specifically, we order PTs in patients
  15   Center.                                                 15   that are on Coumadin, usually to determine the degree
  16      Q. And you're a physician?                           16   of anticoagulation to make sure that the patient is
  17      A. Correct.                                          17   maintained in -- in a therapeutic range.
  18      Q. With a speciality area of practicing in           18      Q. And at your facility where you work, what
  19   emergency medicine?                                     19   particular reagent is employed by the laboratory
  20      A. That is correct.                                  20   there for when the PT test is performed?
  21      Q. What is a PT test?                                21      A. I don't know.
  22      A. A PT test is a blood test that is performed       22      Q. Have you ever inquired of your laboratory
  23   to determine the balance between procoagulant and       23   director to find out what reagent is used for your PT
  24   anticoagulant activity in the body.                     24   tests?
  25      Q. And do you ever order a PT test in your           25      A. No.


                                                Page 7                                                       Page 9
   1   practice?                                                1      Q. So you have -- so as you sit here today as an
   2      A. Yes.                                               2   emergency medicine physician at the University of
   3      Q. Tell me all the occasions or instances when        3   Mississippi, you have no idea what reagent is used in
   4   you might order a PT test in your practice.              4   your laboratory?
   5      A. Gosh, I'm not so sure I could go through           5      A. That's correct.
   6   every --                                                 6      Q. What are the reagents -- the various reagents
   7      Q. Tell me the ones you can remember as of this       7   that you're aware of?
   8   morning at 7:10 a.m. on Friday.                          8      A. Gosh, I think that there are a large number
   9      A. Well, it -- it's commonly ordered in patients      9   of them that are FDA approved currently, so I'm not
  10   that you're concerned have a bleeding diathesis. So     10   sure I can name the specific reagents in the PT
  11   they have a medical problem that could predispose       11   tests.
  12   them to bleeding. It's commonly ordered on patients     12      Q. Can you name one?
  13   that you plan to administer a anticoagulant to. It's    13      A. Well, I know the one that is of most interest
  14   commonly ordered in patients who will undergo some      14   in -- in regards to Rivaroxaban is the PT test that
  15   type of an invasive procedure. It is ordered in         15   uses Neoplastin.
  16   patients that have sustained trauma, and it's ordered   16      Q. Why do you say that one is of the most
  17   in patients who are -- have evidence of bleeding.       17   interest related to Rivaroxaban?
  18         Those are probably the -- the broad, general      18      A. Well, in my reading in the materials and the
  19   categories that I can think of right now.               19   reports and depositions in this case, it seems to be
  20      Q. Let's go through that list.                       20   the one that has raised the most interest and -- and
  21         I think one thing you mentioned is that it        21   area of inquiry.
  22   may be ordered in patients that have a bleeding         22      Q. Then you said that you may order a PT test in
  23   diathesis. What is a bleeding diathesis?                23   a patient who needs to or is scheduled to undergo an
  24      A. A medical condition that -- that predisposes      24   invasive procedure; is that correct?
  25   one to bleed.                                           25      A. Yes, that's correct.


                                                                                     3 (Pages 6 to 9)
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Case 2:14-md-02592-EEF-MBN Document 5517-16 Filed 02/24/17 Page 4 of 57
         Protected - Subject to Further Protective Review
                                              Page 10                                                      Page 12
   1      Q. Why is a PT -- or why might a PT be ordered        1   determine whether that patient is the type of patient
   2   in a patient who needs to undergo an invasive            2   who may have excessive or inordinate bleeding;
   3   procedure?                                               3   correct?
   4      A. Again, you're looking for some underlying          4      A. You are -- as a physician, you're looking to
   5   predilection to bleed that you might not otherwise       5   determine the potential risk for bleeding. Just
   6   know about in a -- typically, that would be some         6   because you have an elevated PT doesn't mean that
   7   undiagnosed medical problem.                             7   you're going to bleed more or have inordinate
   8      Q. For a patient who might be unresponsive, and       8   bleeding.
   9   you might be trying to rule out whether or not they      9      Q. Okay. So what does the PT test tell you,
  10   are on an anticoagulant; correct?                       10   then, about the risk of bleeding in that situation?
  11         MS. HOFFMANN: Objection.                          11      A. Well, the PT test, in and of itself, only
  12         THE WITNESS: Unresponsive meaning, they come      12   tells you what the balance of pro- and anticoagulant
  13      into the hospital not responding?                    13   activity in the body is. It doesn't necessarily tell
  14   BY MR. HONNOLD:                                         14   you what the predilection or risk for bleeding is.
  15      Q. Out cold, unconscious, with no history, and       15      Q. You told me just before that the PT test can
  16   not able to give their own history, and no -- no        16   give you some information about the patient's risk of
  17   friend or family to give a history.                     17   bleeding, and that's what I -- that's what I wanted
  18      A. Well, even a PT in that situation may not         18   to get at.
  19   tell you that the patient is on an anticoagulant. An    19          What -- what is it about the PT test, the
  20   elevated PT in that situation could simply be a         20   level that's given, that speaks to the patient's
  21   reflection of the traumatic process that's going on     21   particular -- potential risk for bleeding?
  22   in the body.                                            22      A. I see.
  23      Q. If you take -- order a PT test in a -- in an      23          Well, I think it has to be used in
  24   unresponsive patient and it's significantly elevated,   24   conjunction with what the other medical issues are in
  25   at least a differential cause of that test might be     25   that patient.


                                              Page 11                                                      Page 13
   1   the fact that the patient is on an anticoagulant;        1          So, for example, you could have a patient
   2   correct?                                                 2   with liver disease that has a normal PT test, but
   3          MS. CONKLIN: Object to form.                      3   it's normal because you have suppression of all of
   4          THE WITNESS: That could be one of the causes      4   the proteins in the body that contribute to both the
   5       for an elevated PT test.                             5   pro- and anticoagulant activity, such that that
   6   BY MR. HONNOLD:                                          6   patient might be at a higher risk for bleeding, but
   7       Q. And when I use the term "differential," you       7   their PT test be normal.
   8   know what I'm talking about. You understand --           8          And so you can also have a patient who might
   9   you're familiar with the process of differential         9   have an elevated PT test, you know, depending on how
  10   diagnosis; correct?                                     10   it's elevated, that -- that is of no higher risk for
  11       A. Yes, I am.                                       11   bleeding than -- than a patient with a normal PT
  12       Q. And why -- why can it be important to rule       12   test.
  13   out an elevated PT in a patient who is scheduled to     13          So it really kind of depends on a lot of
  14   undergo an invasive procedure?                          14   patient-specific issues.
  15       A. Well, you don't order the test to rule out an    15       Q. Sure.
  16   elevated PT. You order the test to determine the        16       A. Just the test, in and of itself, is -- it's
  17   balance of the coagulation system in the body. So       17   hard to tell you what exactly that risk is.
  18   what you really are ordering the test to determine is   18       Q. Tell me the situation then, where a patient
  19   if there is going to be the potential risk for a        19   might have a significantly elevated PT test, but
  20   patient to bleed more than you might anticipate. So     20   they're not at an increased risk of bleeding during
  21   you want to know if the test -- what -- what the        21   an invasive procedure. List those conditions or
  22   results of the test are.                                22   situations for me.
  23       Q. So then we can agree that in a patient who is    23       A. The question is a situation where a patient
  24   scheduled to undergo an invasive procedure, the         24   has an elevated PT test where they're not at an
  25   reason that a PT test might be ordered would be to      25   increased risk of bleeding?


                                                                                4 (Pages 10 to 13)
               Golkow Technologies, Inc. - 1.877.370.DEPS
Case 2:14-md-02592-EEF-MBN Document 5517-16 Filed 02/24/17 Page 5 of 57
        Protected - Subject to Further Protective Review
                                              Page 14                                                      Page 16
   1      Q. Right.                                             1   when you believe a patient needs an invasive
   2         I'm -- I'm asking you that question because        2   procedure and you perform a PT test and it's
   3   you told me that there are situations that you were      3   significantly elevated, where you might tell a
   4   thinking of where a patient may have a significantly     4   surgeon, or anyone else who's going to undertake an
   5   elevated PT test and not be at an increased risk of      5   intervention, that the patient might be at an
   6   bleeding. I want you to tell me what those               6   increased risk of bleeding based upon the PT test?
   7   situations or conditions are.                            7         MS. CONKLIN: Object to the form.
   8         MS. HOFFMANN: Objection to form.                   8         THE WITNESS: We particularly get concerned
   9         THE WITNESS: Okay. So I guess as I think           9      about elevated PT tests in situations where
  10      about what I was trying to convey -- and             10      there's going to be surgery, particularly a
  11      potentially my words were not exactly -- didn't      11      neurologic surgery. That's one of the areas I
  12      come out exactly to what I was trying to convey      12      would say is of more concern, because it's -- you
  13      in my head.                                          13      know, like, if they need a craniotomy or if they
  14         But what I was trying to convey is that an        14      need back surgery, because those are more
  15      elevated PT test, in and of itself, is just a        15      enclosed areas, and once they're closed up,
  16      piece of information that doesn't necessarily        16      there's not a lot of space.
  17      allow you to give an exact risk of bleeding.         17         So I would say that's one area of surgery or
  18         Would I say, as a general statement, that a       18      procedures where we get more concerned about
  19      patient that has an elevated PT test has some        19      elevated PT tests than, say, doing it in an area
  20      balance in their coagulation system that is          20      that's more readily accessible and not as closed.
  21      tipped towards anticoagulant? Yes.                   21   BY MR. HONNOLD:
  22         But what that particular risk is, depending       22      Q. Okay. So other than a spinal procedure or
  23      on the level of the PT test, I can't say how much    23   intracranial, what other procedures might you have
  24      risk there is to bleed for an invasive procedure;    24   some concern about proceeding with an invasive
  25      in other words, what the -- what the actual risk     25   procedure or a surgery if a patient has a


                                              Page 15                                                      Page 17
   1      is.                                                   1   significantly elevated PT preoperatively?
   2   BY MR. HONNOLD:                                          2         MS. HOFFMANN: Objection to form.
   3      Q. And I appreciate that. I want to follow back       3         THE WITNESS: Well, I should qualify this by
   4   up what you told me, though.                             4      saying that I'm not a surgeon. So I'm not making
   5          You said there were situations where a            5      those decisions in realtime. The surgeons are
   6   patient may have a significantly elevated PT and not     6      making those decisions.
   7   be at an increased risk of bleeding during an            7         But as a practicing emergency physician,
   8   invasive procedure. Describe for me such a               8      particularly I would say neurologic surgeries,
   9   situation.                                               9      potentially ophthalmologic procedures, those
  10      A. Well, I mean, you -- you know, you could have     10      would probably be the two major ones that I would
  11   a situation where you have an elevated PT test and      11      be the most concerned about.
  12   you do, you know, a procedure such as a -- put a        12   BY MR. HONNOLD:
  13   chest tube in a patient, and they don't bleed more      13      Q. And neurologic includes back, spine,
  14   than you anticipate them bleeding.                      14   intracranial?
  15          So, you know, there are times when that          15      A. Yes.
  16   occurs. I mean, it's not like there are very            16      Q. And eye, meaning actual procedures -- ocular
  17   specific -- you know, in this patient, with this        17   procedures?
  18   disease, with this test result, that are written in     18      A. Correct.
  19   the literature.                                         19      Q. Any -- anything else you can think of, renal
  20          I'm just saying as a practicing clinician, we    20   biopsy, laparotomy, hernia, mastectomy, anything like
  21   see situations where the PT test can be elevated and    21   that? Or is that beyond your area of expertise?
  22   we do a procedure, and the patient doesn't bleed more   22      A. Yeah. I would say that that probably is
  23   than we would anticipate them bleeding or that a        23   pushing -- pushing my area of expertise.
  24   patient without an elevated PT would bleed.             24      Q. The -- the PT test that's used at your
  25      Q. Are there situations, however, prospectively      25   hospital, what is the range of normal?


                                                                                5 (Pages 14 to 17)
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Case 2:14-md-02592-EEF-MBN Document 5517-16 Filed 02/24/17 Page 6 of 57
        Protected - Subject to Further Protective Review
                                              Page 18                                                      Page 20
   1      A. Oh, gosh. I'm not even sure I can tell you         1   tests.
   2   the range. It comes with the test, follows the test.     2          The second reason would be to determine if
   3   So I don't know exactly what the ranges are.             3   the bleeding event itself has had some effect on the
   4      Q. What percentage increase on the upper range        4   coagulation system in a patient that would otherwise
   5   of normal that is something that may -- may get your     5   be expected to have a normal coagulation system.
   6   attention as either being indicative of a patient        6          The third would be to evaluate whether
   7   that might have a bleeding diathesis or a                7   there's some underlying coagulopathy due to a medical
   8   coagulopathy or might even be on an anticoagulant?       8   problem that you don't know about or that's
   9          MS. CONKLIN: Object to the form.                  9   undiagnosed.
  10          THE WITNESS: I'm not -- as a clinician, I        10          And the fourth would be probably to
  11      don't think that -- I don't, and I -- I've never     11   determine, in an otherwise -- in a -- in a patient
  12      heard clinicians talk about a percent increase.      12   that is on an anticoagulant, as a matter of routine,
  13      I think, you know, whenever you have any             13   we usually order coagulation tests.
  14      abnormality, it certainly should make you at         14      Q. Why is it, in a patient who is on an
  15      least think about what that means to the patient     15   anticoagulant that as a matter of routine -- as a
  16      and, you know, what the -- what the patient          16   matter of routine, you order coagulation testing?
  17      needs, so . . .                                      17      A. Well, because we know that they're on some
  18   BY MR. HONNOLD:                                         18   medication that's going to affect their coagulation
  19      Q. So when you do have an abnormality in a PT,       19   system. And probably out of conditioning from
  20   what could that mean for the patient?                   20   training -- up until recently, the only oral
  21      A. Well, I think you need to consider whether        21   anticoagulant was Coumadin. And obviously, Coumadin
  22   that patient -- what the risk to the patient is and     22   is monitored with PT INR in clinical practice.
  23   what the benefit to the patient is, if they do need     23      Q. So are you telling me that in situations
  24   to go on and have a procedure done.                     24   where patients are on anticoagulants other than
  25          So you're trying to determine, you know, the     25   Coumadin, you might also find yourself ordering a PT


                                              Page 19                                                      Page 21
   1   benefit of the procedure is outweighed by the risk of    1    just out of kind of a reflective response based upon
   2   the potential to bleed based on a test, as well as,      2    what you learned when taking care of patients on
   3   you know, what their other risk factors are or           3    Coumadin?
   4   medical issues are.                                      4       A. I think that's generally what occurs, in my
   5      Q. So when you see an elevated PT in a patient,       5    experience.
   6   one of your concerns might be whether that patient is    6       Q. So are you're telling me that in performing a
   7   at increased risk for bleeding; correct?                 7    PT test on a patient with bleeding that's taking
   8         MS. CONKLIN: Object to the form.                   8    Rivaroxaban, that ordering a PT test would not be
   9         THE WITNESS: Yes. That certainly would be          9    medically indicated then?
  10      considered one of the risks -- one of the            10       A. Well, I would say that it's not as -- that
  11      concerns.                                            11    information is not necessarily as quantitatively
  12   BY MR. HONNOLD:                                         12    useful to my clinical practice or -- clinical
  13      Q. And when you initially gave the list of -- at     13    practice as it is with the INR -- PT INR for a
  14   the beginning of your testimony, you -- you said that   14    patient taking Coumadin.
  15   you may perform a PT test when a patient has some       15           And the reason for that is, is we know from
  16   evidence of bleeding. Tell me why a PT test might be    16    years of study that PT INRs are a reliable indicator
  17   performed when a patient actually is showing evidence   17    of -- of the anticoagulant effect of Coumadin on the
  18   of active bleeding.                                     18    body. What's less well-known is the use of the
  19      A. Well, the first -- one reason would be to         19    different PT tests for assessing the activity of
  20   establish a baseline level in -- in following the       20    Rivaroxaban on the body or whether it's even
  21   clinical course. So if something happens and the        21    necessary.
  22   patient deteriorates, you would want to know -- we      22           So if it is ordered by a clinician on a
  23   typically want to have some baseline levels of their    23    patient that's on Rivaroxaban, typically, my
  24   lab test to determine if, at the time of                24    experience is that it's ordered because we're
  25   deterioration, there's been some change in those        25    conditioned to do that and not necessarily that it


                                                                                 6 (Pages 18 to 21)
               Golkow Technologies, Inc. - 1.877.370.DEPS
Case 2:14-md-02592-EEF-MBN Document 5517-16 Filed 02/24/17 Page 7 of 57
        Protected - Subject to Further Protective Review
                                              Page 22                                                      Page 24
   1   drives changes in -- it -- it, in and of itself,         1   BY MR. HONNOLD:
   2   drives changes in management.                            2      Q. Sure.
   3      Q. So is it your testimony, then, that a              3         So what's upper limit of normal for a PT test
   4   significantly elevated PT test in a patient on           4   at your hospital?
   5   Rivaroxaban is of -- is if no substance or meaningful    5      A. I think I've already told you I don't know
   6   information?                                             6   the exact numbers on that.
   7         MS. CONKLIN: Object to the form.                   7      Q. Okay. Ballpark.
   8         THE WITNESS: Well, to me, as a practicing          8      A. I think it's around 13.2.
   9      clinician, if I have a patient that I order a PT      9      Q. Okay. And so imagine a given patient that's
  10      test that's -- PT test on a patient that's taking    10   on Rivaroxaban and has a PT of 16, and that same
  11      Rivaroxaban, and it is elevated, it -- it merely     11   patient on Rivaroxaban has a PT of 28. Any
  12      suggests to me that there is some anticoagulant      12   difference in terms of that information in terms of
  13      effect of the Rivaroxaban in the body. So it         13   usefulness of the information about the patient's
  14      indicates to me that they have actually been         14   risk of bleeding?
  15      taking the medication.                               15         MS. HOFFMANN: Objection.
  16         That being said, I have seen situations of        16         MS. CONKLIN: Object to the form.
  17      patients that state compliance with the              17   BY MR. HONNOLD:
  18      medication that have had normal PT tests also.       18      Q. Or their intensity of anticoagulation?
  19         So you, again, have to use the information in     19         MS. CONKLIN: Object to the form.
  20      the entire clinical picture and not in isolation     20         MS. HOFFMANN: Objection.
  21      or as a single piece of information.                 21         THE WITNESS: And you're talking about
  22   BY MR. HONNOLD:                                         22      specifically that way I'd use at my hospital?
  23      Q. I just want to make sure that I'm very, very      23   BY MR. HONNOLD:
  24   clear about this, then. Is it your testimony in this    24      Q. Just the PT test at your hospital?
  25   case, as it relates to the PT test and Rivaroxaban,     25      A. And so -- so the way I use the PT test at my


                                              Page 23                                                      Page 25
   1   that its only utility or usefulness is to determine      1   hospital -- and I think, you know, from my
   2   whether there's essentially drug on board or whether     2   understanding of the reading of, you know, the
   3   the patient's been taking the medicine?                  3   majority of the literature, is that the PT test is --
   4       A. Yes, that's -- that's my testimony, my            4   if elevated in a patient that is taking Rivaroxaban,
   5   opinion, and the way I see it used clinically.           5   can indicate that there is the effect of the
   6       Q. And so your testimony, then, as it relates to     6   medication.
   7   this matter and Rivaroxaban, in general, is that in      7          There's not a good way of normalizing what
   8   your laboratory, if you assume that the upper range      8   degree of anticoagulant activity or degree of
   9   of normal is 13½ -- let's just take that as a -- just    9   anticoagulation there is across PT tests like there
  10   as a -- as a matter of assumption -- are you stating,   10   is for Coumadin, which is the INR.
  11   then, that there is no difference in terms of the       11          So because we can't reliably normalize that,
  12   patient's risk of bleeding if they have a PT result     12   and all PT tests and their reagents don't interact or
  13   that's 16, as opposed to 28?                            13   react with Rivaroxaban the same way, it's not
  14           MS. CONKLIN: Object to the form.                14   reliable to say that -- that looking at, you know,
  15           MS. HOFFMANN: Objection to form.                15   degrees of elevation give you a consistent
  16           Brad, where I get confused is in one sentence   16   relationship between the degree of anticoagulation or
  17       you talk about this matter and Rivaroxaban in       17   the -- and -- and the test results.
  18       general. Are you talking about in Ms. Mingo's       18          So I do not have any -- hold any higher
  19       case?                                               19   credence with, say, a test of 16 versus a test of 26.
  20           MR. HONNOLD: That's -- that's a good            20   To me, as a practicing clinician at my hospital, it
  21       objection, so the court reporter will take it       21   just means the patient has some anticoagulant effect.
  22       down.                                               22      Q. Okay. Just so we're a clear then, at your
  23           THE WITNESS: I'm sorry, I'm going to ask you    23   hospital, it -- it's not your understanding, is it,
  24       to repeat the question. I got --                    24   that from day-to-day your hospital uses different
  25   ///                                                     25   reagents for the PT, is it?


                                                                                7 (Pages 22 to 25)
               Golkow Technologies, Inc. - 1.877.370.DEPS
Case 2:14-md-02592-EEF-MBN Document 5517-16 Filed 02/24/17 Page 8 of 57
        Protected - Subject to Further Protective Review
                                              Page 26                                                      Page 28
   1      A. In the main hospital, I -- they use the same       1   they have a 32, I'm doing the same thing, which is
   2   test. Of course, we have different labs and              2   I'm evaluating them clinically. If I believe that
   3   different areas of the hospital system. So I'm not       3   they have bleeding that is critical or is clinically
   4   sure that they're standardized across the hospital       4   significant, then regardless of those two levels, I'm
   5   system.                                                  5   going to treat them the same way.
   6      Q. Okay. So when somebody comes into your             6      Q. So let's imagine a patient that you're
   7   emergency room and needs a PT, where does the --         7   evaluating for an invasive procedure and a patient on
   8   where does the test go?                                  8   Rivaroxaban. What's the period of time that you will
   9      A. It goes to the main lab.                           9   want them to stop taking the drug before the
  10      Q. Okay. And as far as you know, do they             10   procedure?
  11   consistently use the same reagent?                      11          MS. CONKLIN: Object to the form.
  12      A. Yes. I would suspect that that's true.            12          THE WITNESS: Well, just to make sure we're
  13      Q. So as it relates to your practice at your         13      clear, I don't manage patients where I ask them
  14   hospital, you're not in a situation where you're        14      to stop taking drugs in order to do a procedure
  15   talking about comparing or normalizing different        15      on them, because I don't do scheduled procedures.
  16   tests, right, different reagents?                       16   BY MR. HONNOLD:
  17          MS. HOFFMANN: Objection.                         17      Q. Okay.
  18          MS. CONKLIN: Objection.                          18      A. So I typically do emergent procedures.
  19          THE WITNESS: Not -- not within, like,            19          So in a situation where you have a patient
  20      intratest variability at my hospital.                20   with an elevated PT and they're on Rivaroxaban and
  21   BY MR. HONNOLD:                                         21   they need an emergent procedure, I would treat them
  22      Q. Right. That's not an issue at your practice.      22   the same way regardless of what the PT test is.
  23   I mean, when you see a 14 in one patient and a 28 in    23      Q. And your preprocedure evaluation of their
  24   another, you aren't thinking that the reason that       24   potential risk of bleeding would be the same, meaning
  25   those levels are different is because they were         25   that the PT test in a patient on Rivaroxaban does not


                                              Page 27                                                      Page 29
   1   performed using a different reagent; correct?            1   provide you with any information as to that patient's
   2      A. That would be true.                                2   particular risk of bleeding; right?
   3      Q. Okay. And so your testimony in this matter         3         MS. HOFFMANN: Objection. Objection.
   4   is that for a patient taking Rivaroxaban, there's no     4         THE WITNESS: Well, when I'm doing an
   5   difference in -- from your perspective, in terms of      5      emergent procedure, I don't do preprocedural
   6   clinical utility of information, for a PT test of 16     6      tests. I do a procedure because it's an emergent
   7   versus 28; correct?                                      7      procedure.
   8      A. I'd say as a general statement, if we're just      8   BY MR. HONNOLD:
   9   talking -- I mean, if we're just saying generally PT     9      Q. Okay. So -- so in a -- in a patient -- or in
  10   tests, yes, that's -- that's a true statement.          10   patients that are being evaluated for invasive
  11      Q. Okay. And continuing that analysis, there         11   procedures on Rivaroxaban then, if before the
  12   would be no difference between a 16 and a 32,           12   procedure, one patient has a normal PT and one has a
  13   correct, in your mind?                                  13   patient of -- or a PT of 26, there's no difference
  14          MS. CONKLIN: Object to the form.                 14   between those patients in terms of their potential
  15          THE WITNESS: Again, if we're talking about       15   bleeding risk related to the procedure; correct?
  16      just PT tests in general, then I would agree with    16         MS. HOFFMANN: Objection to form.
  17      that.                                                17         THE WITNESS: And this is for -- you said for
  18   BY MR. HONNOLD:                                         18      an elective procedure?
  19      Q. Let's talk about the PT test in your              19   BY MR. HONNOLD:
  20   hospital. When you would see those two tests, is        20      Q. Yes.
  21   there no difference in your mind between the            21      A. Well, again, I'm -- I'm going to go back and
  22   situation of a patient who has a PT of 16 versus a PT   22   say I don't do elective procedures. So I don't
  23   of 32?                                                  23   typically think about risk in terms of, you know, how
  24      A. As a practicing clinician, if I have a            24   long I would want a patient off or what their risk is
  25   patient that's on Rivaroxaban and they have a 16 or     25   for those elective types of procedures. So I'm


                                                                                8 (Pages 26 to 29)
               Golkow Technologies, Inc. - 1.877.370.DEPS
Case 2:14-md-02592-EEF-MBN Document 5517-16 Filed 02/24/17 Page 9 of 57
        Protected - Subject to Further Protective Review
                                              Page 30                                                      Page 32
   1   probably not the correct person to ask that.             1      Q. Why?
   2      Q. So that particular question would be outside       2      A. Because we know that the way drugs interact
   3   your area of expertise; right?                           3   with the body, there are times when they're at their
   4      A. For elective procedures, I don't -- I don't        4   highest concentration or activity in the body, and
   5   think I'm the right person to ask that.                  5   there are times when they're at their lowest or they
   6      Q. Just generally, based on the PT test and           6   have their lowest activity.
   7   reagent that's used at your laboratory, your view        7         And so probably because of that, I would
   8   then, of the information that comes from the PT test,    8   guess that there -- there would potentially be some
   9   in terms of risk of bleeding, is that there is no        9   variability in the test. But that doesn't tell
  10   difference, in terms of a patient's particular risk     10   you -- that -- that doesn't allow you to quantify the
  11   of bleeding on Rivaroxaban, if their PT is 14 versus    11   risk of bleeding or quantify the activity, because
  12   their PT being 26?                                      12   there's no data that shows that that's possible.
  13         MS. CONKLIN: Object to the form.                  13      Q. Okay. So your view is that there's no --
  14         MS. HOFFMANN: Objection to form.                  14   no -- that a serum or plasma concentration level of
  15         THE WITNESS: My view of that is that that         15   Rivaroxaban does not provide any information
  16      test tells you there's some effect of the drug on    16   prospectively about a patient's risk of bleeding at a
  17      board, but it doesn't give you the ability to        17   particular point in time?
  18      quantify the risk of bleeding.                       18         MS. CONKLIN: Object to form.
  19   BY MR. HONNOLD:                                         19         THE WITNESS: I don't think I said that.
  20      Q. And so are you saying there's no way to tell      20         But I think that you can -- the most reliable
  21   whether there's a difference between the risk of        21      way of determining, at least from my reading, the
  22   bleeding for those two patients?                        22      activity or generally the concentration of
  23         MS. HOFFMANN: Same objection.                     23      Rivaroxaban is by doing an anti-Xa assay. But
  24   BY MR. HONNOLD:                                         24      those are not routinely done in clinical
  25      Q. Or are you saying that there's not any            25      practice. They're not routinely available. By


                                              Page 31                                                      Page 33
   1   difference in the risk of bleeding in those patients?    1      doing that assay, then there are some nomograms
   2           MS. CONKLIN: Object to form.                     2      or some formulas that allow you then to back into
   3           THE WITNESS: I'm telling you that there's no     3      the potential concentration.
   4      reliable scientific evidence that can guide me to     4         But, again, those are not tests that are
   5      let me know what that risk difference is or if it     5      clinical relevant or performed on a routine basis
   6      exists.                                               6      in a clinical setting.
   7   BY MR. HONNOLD:                                          7   BY MR. HONNOLD:
   8      Q. What are the things, then, in patients taking      8      Q. You used together the term "activity" and the
   9   Rivaroxaban that influences what the PT is at a          9   term "concentration." Tell me what you were --
  10   particular point in time?                               10   you're referring to when you use those terms.
  11      A. I'm not sure I understood that question.          11      A. Well, I guess concentration would be the --
  12   Could you --                                            12   you know, if you were to measure the amount of drug
  13      Q. Sure.                                             13   in the blood, that tells you the concentration.
  14           What are the things about a particular          14         And then activity, I use that term to
  15   patient, then, that will influence what their PT is     15   annotate how the drug interacts with the body, with
  16   on Rivaroxaban at a given point in time?                16   the physiology of the body.
  17      A. What degree of elevation their PT is? I'm         17      Q. And you suggested to me that the expectation
  18   still trying to understand exactly --                   18   is that the activity of the drug will be greatest
  19      Q. Sure.                                             19   when the concentration is the greatest. Why is that,
  20           Let me ask it this way: What's your             20   from a pharmacologic principle?
  21   expectation as to what a patient's PT -- how it would   21         MS. CONKLIN: Object to the form.
  22   react on a serial basis if you were literally taking    22         THE WITNESS: Well, to put it in as simple
  23   over the course of 24 hours post-dose?                  23      terms as I can, if you, let's say, miss a dose of
  24      A. Well, I think it's going to be variable           24      the drug that you're taking -- and I'm not
  25   according to the metabolism of the drug.                25      talking about Rivaroxaban. I'm talking about any


                                                                                9 (Pages 30 to 33)
               Golkow Technologies, Inc. - 1.877.370.DEPS
Case 2:14-md-02592-EEF-MBN Document 5517-16 Filed 02/24/17 Page 10 of 57
         Protected - Subject to Further Protective Review
                                               Page 34                                                      Page 36
    1     drug, this should be the case for. If you miss a       1   patient's risk of bleeding.
    2     dose of the drug, then the -- the amount of drug       2       Q. Now, can a patient take more Rivaroxaban
    3     available in the body to interact with the body        3   where it affects the patient's coagulation system
    4     system and have its intended effect is going to        4   more?
    5     be lower. Therefore, the way the drug interacts        5       A. I would say that there's not as much evidence
    6     with the body should be different than if -- than      6   to guide that -- guide that as a scientific principle
    7     you don't miss a dose of the drug.                     7   than there is with Coumadin.
    8   BY MR. HONNOLD:                                          8          What I understand about the way that -- that
    9     Q. Similarly, if you take an extra dose, a             9   Rivaroxaban interacts with the coagulation system is
   10   similar principle would apply, but it could be to       10   that there is a -- there is going to be a maximum
   11   enhance effects of the drug; correct?                   11   effect that it will have -- because of how rapidly it
   12         MS. CONKLIN: Object to the form.                  12   begins to metabolize and the way the metabolites exit
   13         THE WITNESS: Well, there's got to be some --      13   the body and the way it interacts with the body,
   14     again, depending on the drug, there's got to be       14   there's going to be a -- a maximum effect of the
   15     some -- in general, drugs have some effect of a       15   drug.
   16     ceiling effect where they can't have more             16          So at some point, you can -- you can -- you
   17     activity. So even though they, you know, have         17   can take, you know, a truckload of it, and -- and
   18     gone above a plasma concentration that would be       18   it's not going to have any more effect than if you
   19     considered therapeutic, its interaction with the      19   had taken a half truckload. I mean, these are -- you
   20     body is not going to be any more severe or put a      20   know, I'm just trying to give you a generalization.
   21     patient at any more risk, because there is a --       21       Q. Sure.
   22     an effect where you can't cause any more problem.     22          But it may be that a tenth of a truckload may
   23   BY MR. HONNOLD:                                         23   have less of an effect than a third of the truckload;
   24     Q. Coumadin would be one where, if you                24   right?
   25   double-down on the prescribed dose, that may create     25          MS. CONKLIN: Object to the form.


                                               Page 35                                                      Page 37
    1   an increased risk of bleeding because there's more       1           THE WITNESS: That kind of depends on the
    2   blood -- more drug in the system?                        2       pharmacokinetics of the drug and whether, you
    3      A. Well, Coumadin has all kinds of issues. But        3       know, the amount that you're taking in a
    4   you can certainly -- you can certainly take extra        4       therapeutic dose reaches the intended level in
    5   doses of the drug, and its intended effect can affect    5       the body -- you know, has the intended activity
    6   the coagulation system more.                             6       in the body, and that if you took more than that,
    7      Q. So there are situations where taking more          7       it would have any more intended effect.
    8   Coumadin can affect the coagulation system more;         8           And right now, I don't think we have good
    9   right?                                                   9       evidence to suggest that that is the case, one
   10          MS. CONKLIN: Object to the form.                 10       way or other.
   11          THE WITNESS: Yes. There are situations           11   BY MR. HONNOLD:
   12      where you can take too much Coumadin -- or -- or     12       Q. So your view is that a patient taking five
   13      I shouldn't say too much. You can take more than     13   milligrams of Rivaroxaban, that doesn't have any less
   14      a prescribed amount of Coumadin, and it can have     14   anticoagulant effect on the body than in the same
   15      an effect on the coagulation system that's more      15   patient who was taking 30 milligrams a day?
   16      than the desired therapeutic effect.                 16           MS. CONKLIN: Object to the form.
   17   BY MR. HONNOLD:                                         17           THE WITNESS: I would say that it seems, on
   18      Q. And when the effect on the coagulation system     18       the surface, that it -- it potentially would have
   19   results in a greater therapeutic effect, that can       19       different effect. I mean, there would be more
   20   increase the patient's risk of bleeding; correct?       20       drug to be able to -- to affect Xa, to block Xa.
   21          MS. CONKLIN: Object to the form.                 21       But what the quantification of that effect is or
   22          THE WITNESS: In Coumadin?                        22       what it actually means to the anticoagulant
   23   BY MR. HONNOLD:                                         23       activity or the risk, I'm not -- I'm not sure I'm
   24      Q. Yes.                                              24       the one that can answer that question for you.
   25      A. Yes, that can increase the risk -- the            25   ///


                                                                               10 (Pages 34 to 37)
                Golkow Technologies, Inc. - 1.877.370.DEPS
Case 2:14-md-02592-EEF-MBN Document 5517-16 Filed 02/24/17 Page 11 of 57
         Protected - Subject to Further Protective Review
                                               Page 38                                                      Page 40
    1   BY MR. HONNOLD:                                          1      reading would be that I think it's pretty rapidly
    2      Q. Okay. So I just want to make sure that when        2      absorbed and has effect. So I would say a couple
    3   you say that it seems on the -- on the surface, that     3      of hours, two, three hours.
    4   that would be the case, that taking more would have a    4   BY MR. HONNOLD:
    5   different effect, what are you talking about? Have a     5      Q. And then what's your understanding of the
    6   different -- what kind of different effect?              6   level of plasma concentration in that two- to
    7      A. Well, you're -- you would be taking a              7   three-hour range versus 23 hours after -- after a
    8   subtherapeutic dose, if you took five milligrams. So     8   dose?
    9   in -- if you're taking a subtherapeutic dose, then a     9         MS. CONKLIN: Object to the form.
   10   practicing clinician would suspect that it's not        10         THE WITNESS: Well, my understanding is
   11   going to have the intended therapeutic effect.          11      that -- that pretty much immediately, the drug
   12          In other words, if you take a therapeutic        12      begins to be metabolized. And so as the drug is
   13   dose, then you're going to have the intended            13      metabolized and excreted, that it's going to
   14   anticoagulant effect of the medication. But if          14      interact differently with the body as the -- as
   15   you're taking a subtherapeutic dose, as is              15      the metabolism occurs. So it's going to have
   16   recommended, then it's not going to have the intended   16      less activity.
   17   anticoagulant effect. So from that perspective, it      17         So if you don't take another dose, I would
   18   does affect the coagulation system differently.         18      guess that the activity is lower in 23 hours.
   19      Q. Let's talk about 15 versus 30 then. So is         19         MS. HOFFMANN: Would this be a good time to
   20   there any difference, in terms of the effect on a       20      take a quick break?
   21   patient's -- the same patient, is there any             21         MR. HONNOLD: It depends on what time it is.
   22   difference in the effect on the patient's               22         MS. HOFFMANN: It's about an hour, and I
   23   anticoagulation system in a patient who takes           23      would love a break to blow my nose.
   24   15 milligrams a day versus that same patient who        24         MR. HONNOLD: Okay. Yes, that's fine.
   25   might take 30 milligrams a day?                         25         THE VIDEOGRAPHER: The time now is 7:56 a.m.


                                               Page 39                                                      Page 41
    1          MS. CONKLIN: Object to the form.                  1      We are off the record.
    2          THE WITNESS: Gosh, I -- I mean, as a -- as a      2         (A recess was taken from 7:56 until 8:03 a.m.)
    3      clinician, I'm not sure of an indication for          3          THE VIDEOGRAPHER: This begins Disc 2 of
    4      taking 30 milligrams. I guess the 15 milligrams       4      today's deposition. The time now is 8:03 a.m.
    5      twice a day indication for DVT totals 30.             5      We are back on the record.
    6          So I guess you're asking me if that effect        6   BY MR. HONNOLD:
    7      has any difference than a 20-milligram dose. I'd      7      Q. Doctor, we're back on the record after a
    8      probably say -- you know, my suspicion is that it     8   short break.
    9      does not have any substantial difference in its       9          In your view, then, that after a patient
   10      activity. I mean, it's still a therapeutic dose.     10   takes a dose of Rivaroxaban, then after some period
   11      So it's intending to give you the -- the correct     11   of time, it will reach what would be the maximum or
   12      therapeutic activity for efficacy and safety         12   peak serum concentration level for that dose;
   13      that's been studied.                                 13   correct?
   14   BY MR. HONNOLD:                                         14          MS. CONKLIN: Object to the form.
   15      Q. Okay. So if you look -- the half-life of          15          THE WITNESS: Yes, that would be my
   16   Rivaroxaban, what is it?                                16      understanding.
   17      A. Like, five to nine hours.                         17   BY MR. HONNOLD:
   18      Q. And so in a patient who's taking                  18      Q. And -- and your thought was -- and I -- I
   19   20 milligrams a day of Rivaroxaban, when would you      19   understand that you're not a pharmacologist and are
   20   expect them to have a maximum plasma concentration      20   not necessarily being offered to give pharmacologic
   21   level after taking a dose?                              21   opinions in this case. But in -- in terms of your
   22          MS. HOFFMANN: Objection.                         22   understanding of the drug, your view is that you
   23          THE WITNESS: I'm not a pharmacokinetics          23   think that -- that peak serum concentration level may
   24      expert, and I certainly don't think about that as    24   be reached somewhere between two and three hours
   25      a practicing clinician. My expectation from          25   after taking a dose; right?


                                                                               11 (Pages 38 to 41)
                Golkow Technologies, Inc. - 1.877.370.DEPS
Case 2:14-md-02592-EEF-MBN Document 5517-16 Filed 02/24/17 Page 12 of 57
         Protected - Subject to Further Protective Review
                                                Page 42                                                     Page 44
    1         MS. CONKLIN: Object to the form.                   1   what capacity that is.
    2         THE WITNESS: I believe that's what I said          2      Q. Do you know if she's at the Kaye Scholer firm
    3      earlier, yeah.                                        3   in New York City?
    4   BY MR. HONNOLD:                                          4      A. I don't know.
    5      Q. Okay. And then I think you would agree with        5      Q. Oh, no. Jane, Jane. Oh, Jane. I know Jane.
    6   me, then, as time goes on, as the drug is metabolized    6   Jane's at Nelson -- Nelson, Mullins --
    7   or eliminated from the body, then there would then be    7         MS. HOFFMANN: No. He said Dianne Davis.
    8   a lower serum concentration level that would result;     8         MR. HONNOLD: Oh, Dianne Davis.
    9   correct?                                                 9         MS. CONKLIN: Dianna Davis.
   10         MS. HOFFMANN: Objection to form.                  10   BY MR. HONNOLD:
   11         THE WITNESS: I would say in general terms,        11      Q. Oh, Dianne Davis. Do you know what firm she
   12      that's -- that's my understanding of how             12   works at?
   13      metabolism works.                                    13      A. No.
   14   BY MR. HONNOLD:                                         14      Q. Okay. Do you know Jane Davis?
   15      Q. Now, do you an understanding as to, if a PT       15      A. Yes, I do know Jane Davis.
   16   test was done at that peak serum concentration level    16      Q. Okay. How do you know Jane Davis?
   17   and a PT was done at that lower serum concentration     17      A. Well, then Dianne Davis passed, I -- I guess,
   18   level, how those two PT tests would compare in the      18   me off to Jane Davis in working on the case, so . . .
   19   same patient?                                           19      Q. What do you mean, she passed you off --
   20         MS. CONKLIN: Objection to the form. He's          20      A. Well, I mean, she --
   21      not being offered as an PK/PT expert.                21      Q. -- to Dianne Davis?
   22         THE WITNESS: I -- no, not really. I don't         22      A. -- she basically corresponded with me and
   23      really have an opinion about that.                   23   said, Jane Davis is going to be taking over work on
   24   BY MR. HONNOLD:                                         24   this area of the case, and she's going to be
   25      Q. You've reviewed the Rivaroxaban labels in         25   contacting you. So that's how it happened.


                                                Page 43                                                     Page 45
    1   this case; correct?                                      1      Q. Had you ever done any work with or for
    2       A. Yes.                                              2   Dianne Davis before this case?
    3       Q. Does the label say anything about that?           3      A. No. I don't even -- I don't even know how
    4       A. About?                                            4   she found my name.
    5       Q. About whether the PT would be any different       5      Q. When Dianne Davis contacted you, what -- what
    6   at the peak serum concentration level after a dose,      6   was your initial interaction?
    7   versus lower serum concentration level 20 hours after    7      A. To the best of my recollection was she
    8   taking a dose?                                           8   wanted -- she had a case of a patient that was on
    9       A. I -- I don't have the label memorized, but if     9   Xarelto and had emergency-medicine related, you know,
   10   we want to get it out and look at it, and you can       10   issues and wanted me to review the case.
   11   point to it, then I'd be happy to --                    11          MS. HOFFMANN: Doctor, I just want to caution
   12       Q. Do you -- as you sit right now, do you recall    12      you at this point, you do not have to disclose
   13   the label providing that information there?             13      any specific conversations you've with the
   14       A. There's a lot of information in the label.       14      attorneys who are representing you in this case.
   15   I -- I don't -- I can't recall everything that's in     15   BY MR. HONNOLD:
   16   it, so . . .                                            16      Q. When you were retained, what was your initial
   17       Q. When were you retained in this case?             17   assignment, or what question was posed to you?
   18       A. I believe it was sometime around the spring      18      A. I think when I was first contacted, I don't
   19   or summer of 2016.                                      19   remember there being a question posed to me.
   20       Q. And who was it that retained you?                20      Q. So Dianne Davis, did she call you?
   21       A. Well, the first lawyer that contacted me was     21      A. I don't recall.
   22   Dianne Davis.                                           22      Q. Okay. At some point did you speak with her?
   23       Q. And who is Dianne Davis?                         23      A. Yes.
   24       A. She's an attorney that I believe is working      24      Q. And your best recollection of that
   25   on this case in some capacity. I don't know exactly     25   conversation is that she said she was working on a


                                                                                12 (Pages 42 to 45)
                Golkow Technologies, Inc. - 1.877.370.DEPS
Case 2:14-md-02592-EEF-MBN Document 5517-16 Filed 02/24/17 Page 13 of 57
         Protected - Subject to Further Protective Review
                                               Page 46                                                      Page 48
    1   case where a patient was on Xarelto, and that -- that    1      A. It just -- to me as an individual.
    2   the subject matter or issues had something to do with    2      Q. Have you ever reviewed an emergency medicine
    3   emergency medicine. Is generally a fair                  3   case that dealt with issues related to management of
    4   characterization?                                        4   anticoagulation or dealing with a patient who was
    5      A. I think related to my speciality as a              5   excessively anticoagulated?
    6   prescriber and treater, you know, patients that are      6          MS. CONKLIN: Object to the form.
    7   on -- I don't remember the exact -- you know, exactly    7          MS. HOFFMANN: Object to form.
    8   what was said, but it was something to that effect.      8          THE WITNESS: The only time I recall that
    9      Q. You've given depositions before today?             9      happening was very recently, I was contacted by
   10      A. Yes, I have.                                      10      a -- an attorney representing a patient that had
   11      Q. On how many occasions?                            11      had a bleeding complication on an anticoagulant.
   12      A. I don't -- over the years, I've probably          12      And he was going to send me the case.
   13   given half a dozen to 30 or so depositions.             13   BY MR. HONNOLD:
   14      Q. A half dozen to 30, so can you --                 14      Q. And was it sent to you?
   15      A. I'm sorry, two dozen to 30. I'm sorry. My         15      A. I believe I have received it, but I'm not
   16   apologies.                                              16   sure I've reviewed it thoroughly.
   17      Q. Have you ever testified for a -- a                17      Q. And do you know what the anticoagulant at
   18   plaintiff --                                            18   issue was in that case?
   19      A. Yes.                                              19      A. I believe it was Lovenox, enoxaparin.
   20      Q. -- who was --                                     20      Q. When that case was presented to you, was it
   21         Okay. In what sort of case?                       21   suggested that the patient had some renal
   22      A. Medical malpractice.                              22   insufficiency or renal failure that might have caused
   23      Q. So you have testified before that an              23   the bleeding complication to develop?
   24   emergency room physician departed from the standard     24          MS. CONKLIN: Object to the form.
   25   of care in the treatment of a patient?                  25          THE WITNESS: I don't know any of the details


                                               Page 47                                                      Page 49
    1      A. Yes, I have.                                       1      of it at this point. I just know that kind of
    2      Q. And that that departure from standard of care      2      generalization because that was what was told to
    3   caused injury to the patient?                            3      me in the -- you know, the initial letter or
    4      A. I know I've -- I know I've testified to            4      whatever.
    5   standard of care. I'm not sure if I've testified to      5   BY MR. HONNOLD:
    6   causation for -- oftentimes I'm just asked about --      6      Q. How was it that you started reviewing
    7   you know, to -- to opine on standard of care,            7   medical/legal cases?
    8   so . . .                                                 8      A. An attorney contacted me by e-mail out of the
    9      Q. How many medical/legal cases have you              9   blue, I think, around 2005 or '6 and asked me to
   10   reviewed in your career?                                10   review a case.
   11      A. Gosh, I've -- I'm not sure I have any way of      11      Q. And so that was the first time that you would
   12   knowing that. I mean, I would probably say -- this      12   have reviewed a medical/legal case?
   13   is a wild guess, so don't hold me to the number --      13      A. Correct.
   14   maybe 70 or 80.                                         14      Q. How many open files do you have now in terms
   15      Q. And when you look at a medical/legal case, I      15   of cases where you're doing ongoing work of some
   16   take it you bill for your time; correct?                16   sort?
   17      A. Yes, I do.                                        17      A. I -- I don't really know because, you know, a
   18      Q. And then when you bill for your time, is that     18   lot of these things, I don't even get any follow-up
   19   money that goes to you personally, or does it go to     19   on. I would say of cases that seem to have had some
   20   your institution or department?                         20   activity in the last 12 months, maybe 10, 15.
   21      A. It goes to me personally.                         21      Q. So there are 10 to 15 medical/legal cases
   22      Q. And moneys that are -- are paid for the work      22   that have had -- that you are working on that have
   23   that you do reviewing medical/legal cases, does it go   23   had some activity over the past month; is that
   24   to a professional corporation or some sort of entity    24   correct?
   25   or just -- just to Dr. Jones?                           25      A. I think --


                                                                               13 (Pages 46 to 49)
                Golkow Technologies, Inc. - 1.877.370.DEPS
Case 2:14-md-02592-EEF-MBN Document 5517-16 Filed 02/24/17 Page 14 of 57
         Protected - Subject to Further Protective Review
                                              Page 50                                                     Page 52
    1          MS. CONKLIN: Object to the form.                1      A. I don't really know. Maybe seven, eight
    2          THE WITNESS: I think I said the last year.      2   hours, something like that.
    3   BY MR. HONNOLD:                                        3      Q. So you've got an additional seven to eight
    4      Q. Oh, last year?                                   4   hours that would be billed that would bring you
    5      A. Yeah, last year.                                 5   current up to the time of starting today's
    6      Q. Okay. So the last year, you've had activity      6   deposition?
    7   on 10 to 15 medical/legal cases; is that a fair        7      A. That's a -- a pretty close estimate, yes.
    8   statement?                                             8      Q. So if you include that seven or eight hours,
    9      A. That's a guess, but I don't keep up with this    9   how many -- how many hours in total have you spent
   10   stuff very closely, so . . .                          10   working on this matter?
   11      Q. Who does your billing?                          11      A. It looks like -- you said including those
   12      A. Well, my wife creates the invoices, and I       12   seven to eight hours?
   13   send them out.                                        13      Q. Yes.
   14      Q. And so your wife prepared the invoices in       14      A. It looks like 36 to 37 hours.
   15   this case?                                            15      Q. And so you got to that 36 or 37 hours by
   16      A. Yeah -- yes, sir. She -- she does the -- the    16   adding up the hours that are reflected on Exhibits 1
   17   document, and then I send it out.                     17   through 6 and then adding the seven or eight that we
   18          MR. HONNOLD: Is there a way we can take a      18   discussed previously?
   19      quick break so you can make me a copy of these?    19      A. Correct.
   20          MS. CONKLIN: I've --                           20      Q. And the -- in Exhibit 1, there's described a
   21          MR. HONNOLD: Or you've got --                  21   meeting with -- with Dana Davis. That's -- that's
   22          MS. CONKLIN: I've got two copies exactly,      22   Dianne Davis that we discussed earlier; is that
   23      so . . .                                           23   right?
   24          MR. HONNOLD: Great. Thank you.                 24      A. Yes, I think so.
   25         (Jones Exhibit 1 was marked for                 25      Q. Where did that meeting take place?


                                              Page 51                                                     Page 53
    1   identification.)                                       1      A. We met at a restaurant, coffee shop, in
    2         (Jones Exhibit 2 was marked for                  2   Jackson.
    3   identification.)                                       3      Q. Then the meeting that is reflected in
    4         (Jones Exhibit 3 was marked for                  4   Exhibit 3, where did that take place?
    5   identification.)                                       5      A. I believe it was here at this law firm.
    6         (Jones Exhibit 4 was marked for                  6      Q. And we're at the Bradley Arant law firm
    7   identification.)                                       7   today?
    8         (Jones Exhibit 5 was marked for                  8      A. That's correct.
    9   identification.)                                       9      Q. Okay. What law firms in Jackson have you
   10         (Jones Exhibit 6 was marked for                 10   done medical/legal work for or with over the years?
   11   identification.)                                      11      A. I want to say the only one in Jackson I've
   12   BY MR. HONNOLD:                                       12   done work for is Horton, Coker & Bell, but that was
   13      Q. Doctor, I'm going to hand you what we've        13   a -- I think that was some -- a -- a disability
   14   marked as Deposition Exhibits 1 through 6. What are   14   issue. There may be another one, but I'm --
   15   these materials?                                      15   sometimes I don't know exactly are the firms are.
   16      A. These appear to be invoices that I have         16      Q. This six-hour meeting that is reflected on
   17   issued.                                               17   Exhibit 4, where did that meeting take place?
   18      Q. Is that all of the billing invoices that        18      A. I believe it took place here.
   19   you've issued in this case?                           19      Q. And the meeting there on Exhibit 4, who was
   20      A. It appears to be, yes.                          20   that meeting with?
   21      Q. And is there work that you have performed in    21      A. I don't recall.
   22   this case that has not yet been billed or invoiced?   22      Q. Do you recall who the meeting was with that's
   23      A. Yes. Just some preparation work for this        23   shown on Exhibit 3?
   24   deposition.                                           24      A. I think that meeting was with Jane Davis.
   25      Q. How much additional time would that be?         25      Q. The meeting that's reflected on Exhibit 5,


                                                                             14 (Pages 50 to 53)
               Golkow Technologies, Inc. - 1.877.370.DEPS
Case 2:14-md-02592-EEF-MBN Document 5517-16 Filed 02/24/17 Page 15 of 57
         Protected - Subject to Further Protective Review
                                               Page 54                                                      Page 56
    1   where did it occur and who was it with?                  1   at one point of 14 and a patient at another time of
    2      A. I think it occurred here, and I do not recall      2   26?
    3   who it was with.                                         3           MS. CONKLIN: Object to the form.
    4      Q. Was it with one lawyer or more than one?           4           MS. HOFFMANN: Objection to form.
    5      A. I don't recall, in person, if it was one or        5           THE WITNESS: I would say that the
    6   more than one. I know that some of the meetings have     6       inconsistency with how the particular reagent
    7   also had teleconferences, and I just cannot recall       7       interacts with the Rivaroxaban is one, probably
    8   exactly which one was which.                             8       would be the most obvious explanation I can think
    9      Q. But on Exhibit 5, that was a -- an in-person       9       of.
   10   meeting; right?                                         10   BY MR. HONNOLD:
   11      A. Yes.                                              11       Q. Let's talk about testing being done with the
   12      Q. Because when it's a teleconference, you list      12   same reagent, though. Other than that.
   13   that out?                                               13       A. Well, I think that's still -- even testing
   14      A. Correct.                                          14   being done with the same reagent, that -- it's still
   15      Q. And then how was the seven to eight hours of      15   possible that you can get -- I mean, there's
   16   additional work before the deposition today --          16   variability within the same test. So it's possible
   17   what -- what did you do during that time?               17   that you could get differences in the test from that.
   18      A. There were a couple of meeting -- in-person       18           Otherwise, you know, clinically, there would
   19   meetings, and then there was some just reading on my    19   be no thought process behind whether it's 14 or 26.
   20   part.                                                   20   It just means that there's some drug on board,
   21      Q. And the -- the couple of in-person meetings,      21   so . . .
   22   who were those with?                                    22       Q. Could the difference in the same patient
   23      A. Various of the attorneys that are involved in     23   between the -- when the PT is 14 versus a PT of 26,
   24   this.                                                   24   using the same reagent, could that be explained by
   25      Q. What are the names you recall?                    25   differences in plasma concentration levels?


                                               Page 55                                                      Page 57
    1      A. I don't think Jane came to either one of           1          MS. HOFFMANN: Objection.
    2   these. These individuals with us today have come to      2          MS. CONKLIN: Object to the form.
    3   them, and it seems like there might be someone I'm       3          THE WITNESS: I think that probably gets
    4   forgetting, but I can't remember off the top of my       4      beyond where, you know, my knowledge is able to
    5   head.                                                    5      say that. I mean, I would probably say that my
    6      Q. So some of the meetings, there might have          6      understanding of the PT test, in general, is that
    7   been as many as three lawyers present?                   7      it simply gives me an indication -- in the way I
    8      A. I don't remember there ever being three            8      use it, it simply gives me an indication that
    9   physically present. I think the most I remember          9      there's some drug on board. I don't use it to
   10   being physically present is two, but I know there's     10      quantify a concentration or an activity.
   11   been some teleconferences also.                         11   BY MR. HONNOLD:
   12      Q. So there might have been times when there         12      Q. So -- so in terms or your present
   13   were two lawyers physically present and then an         13   understanding about Rivaroxaban, then, is it -- is it
   14   additional lawyer on the phone?                         14   your view, then, or your position, that you don't
   15      A. That's possible.                                  15   know whether differences in a PT, using the same
   16      Q. You mentioned you did some additional             16   reagent and the same patients, could be or might be
   17   reading. What -- what reading did you do?               17   explained by differences in plasma concentration
   18      A. Just looking through the -- you know,             18   level?
   19   records, Ms. Mingo's medical records, and looking at    19          MS. CONKLIN: Object to the form.
   20   my report.                                              20   BY MR. HONNOLD:
   21      Q. What might explain the difference in a PT         21      Q. And -- and if it's you don't know, that's
   22   level in a patient that's on Rivaroxaban of a PT, for   22   fine. And I'll move on.
   23   example, of 14 versus 26? What -- what are the          23      A. Well, I'm -- I'm telling you how I use it
   24   things that might -- in the same patient, what are      24   clinically. But I'm not on expert in plasma
   25   the things that might explain a patient having a PT     25   concentrations of the drug and how they interact and


                                                                               15 (Pages 54 to 57)
                Golkow Technologies, Inc. - 1.877.370.DEPS
Case 2:14-md-02592-EEF-MBN Document 5517-16 Filed 02/24/17 Page 16 of 57
         Protected - Subject to Further Protective Review
                                               Page 58                                                      Page 60
    1   how they have effect on PT.                              1   BY MR. HONNOLD:
    2          The way I use it clinically is I order that       2      Q. Okay.
    3   test. If the test is elevated, it -- it indicates to     3      A. I don't use that -- it's not something that I
    4   me that they have been -- that they are -- that they     4   use in my clinical practice.
    5   have some drug in their system.                          5      Q. So do you know one way or the other? And if
    6          But whether I use that to quantify how much       6   you don't know, that's fine.
    7   or how much activity there is, I don't. And I think      7          MS. HOFFMANN: Objection.
    8   the general clinician does not.                          8          THE WITNESS: I don't have an opinion about
    9       Q. And I -- I appreciate that. But I'm not sure      9      it.
   10   it's responsive to my question. But I -- but thank      10   BY MR. HONNOLD:
   11   you for sharing that with me.                           11      Q. I'm not asking if you have an opinion. I'm
   12          So can you tell me whether or not variations     12   asking you if you know.
   13   in a patient's plasma concentration level of            13          MS. CONKLIN: Object to the form. It's asked
   14   Rivaroxaban can result in a different PT level?         14      and answered.
   15          MS. CONKLIN: Object to the form.                 15          THE WITNESS: I mean, I would say probably
   16          Counsel, he's not offered as an expert in PT     16      the same thing. I don't -- I don't really have
   17       levels.                                             17      an opinion about whether a concentration changes
   18          MR. HONNOLD: Well, he sure talks about it in     18      PT level.
   19       his report. So that's what I want to get to. I      19   BY MR. HONNOLD:
   20       want to understand what his knowledge is about --   20      Q. Okay. So all of those articles that you
   21          MS. CONKLIN: Well, you can show him his          21   cited in your report in the reliance list, do any of
   22       report and ask him.                                 22   those say anything about that issue?
   23          MR. HONNOLD: Well, we'll get to that,            23          MS. CONKLIN: Object to the form.
   24       believe me.                                         24          THE WITNESS: Some of them talk about PT.
   25          THE WITNESS: I'm sorry. Could you repeat         25      Some of them talk about drug concentration.


                                               Page 59                                                      Page 61
    1      the question?                                         1   BY MR. HONNOLD:
    2   BY MR. HONNOLD:                                          2      Q. Do any of those articles state that, yes,
    3      Q. Yes.                                               3   varying degrees of plasma concentration can result in
    4           Is it possible that one reason that a patient    4   different PT test results?
    5   might have a different PT, for example, 26 versus 14,    5          MS. CONKLIN: Object to the form.
    6   same patient, using the same reagent, that one           6          If you want to show him an article that says
    7   possibility that might explain that is different         7      that, you can put it in front of him.
    8   plasma concentration levels of the drug?                 8          THE WITNESS: I was going to say, I don't --
    9           MS. CONKLIN: Object to the form.                 9      I don't have the articles memorized, but I'm
   10           THE WITNESS: All I can really tell you is       10      happy to look at one in particular that --
   11      how I interact with the, you know, patients and      11   BY MR. HONNOLD:
   12      use that information clinically. And clinically,     12      Q. Okay. As you sit right now, can you recall
   13      it's not something that I think about, is what       13   whether any of the literature that you looked at and
   14      the concentration of the drug is.                    14   cited that's on your reliance list in this case, does
   15   BY MR. HONNOLD:                                         15   state that different levels of plasma concentration
   16      Q. Okay.                                             16   can result in different PT test results?
   17      A. So I'm -- I -- that's about the best answer I     17          MS. CONKLIN: Object to the form.
   18   can give you to that question.                          18          THE WITNESS: I don't have them memorized, so
   19      Q. Okay. So tell me, do you know, one way or         19      I can't -- I can't tell you one way or another.
   20   the other, whether varying degrees of plasma            20      I can look at an article, if you want me to.
   21   concentration can result in different PT test           21   BY MR. HONNOLD:
   22   results?                                                22      Q. We talked about before that -- that a patient
   23           MS. CONKLIN: Objection.                         23   may have varying levels of plasma concentration after
   24           THE WITNESS: I don't really have an opinion     24   they take Rivaroxaban. Do you recall my questions in
   25      about that, one way or the other.                    25   that regard?


                                                                               16 (Pages 58 to 61)
                Golkow Technologies, Inc. - 1.877.370.DEPS
Case 2:14-md-02592-EEF-MBN Document 5517-16 Filed 02/24/17 Page 17 of 57
         Protected - Subject to Further Protective Review
                                               Page 62                                                     Page 64
    1         MS. HOFFMANN: Objection.                          1      Q. In terms of your direct patient care, are you
    2         THE WITNESS: I recall you asking some             2   working, actually assigned -- assigned shifts in the
    3      questions about that.                                3   emergency room?
    4   BY MR. HONNOLD:                                         4      A. Yes.
    5      Q. Right.                                            5      Q. And who does your staffing or scheduling in
    6         And you said that at two- to three-hours,         6   your department or group?
    7   your expectation would be that they might be kind of    7      A. We have one of the physicians on the faculty
    8   at the peak plasma concentration level after the        8   who does the scheduling.
    9   dose, and that as they eliminate and metabolize the     9      Q. And then does your emergency medical
   10   dose, the plasma concentration would go down;          10   department have its own professional corporation for
   11   correct?                                               11   purposes of its own revenue or income generation?
   12      A. I'd say that's a very general understanding.     12         MS. CONKLIN: Object to the form.
   13   Again, I'm not -- I've said this before, I'm not a     13         THE WITNESS: No. We're a part of the
   14   pharmacologist. I wasn't asked to give pharmacologic   14      University of Mississippi Medical Center. It's
   15   opinions about concentrations and dosing and -- you    15      not a separate physician group.
   16   know.                                                  16   BY MR. HONNOLD:
   17         So I believe there are other experts you can     17      Q. So there isn't any private physician
   18   ask those questions. I don't really -- I'm making      18   ownership or management of the emergency department
   19   very general statements that, you know, I don't have   19   at the University of Mississippi?
   20   in-depth knowledge of.                                 20      A. No.
   21      Q. So in a particular patient on -- well, strike    21      Q. And when you are working in the emergency
   22   that.                                                  22   room, then, for that 30 to 40 percent of the time
   23         Do you describe Rivaroxaban for patients?        23   that you mentioned, is that three shifts a week, four
   24      A. Yes.                                             24   shifts a week, or does it vary?
   25      Q. Okay. So in a patient who's taking               25      A. It varies kind of depending on the need of


                                               Page 63                                                     Page 65
    1   Rivaroxaban, if you perform a PT test when a patient    1   the -- needs of the department.
    2   is at peak plasma or serum concentration level          2      Q. And in terms of patients, would you be
    3   versus, in that same patient, perform at a PT when      3   assigned individual patients who might come to the
    4   they are at -- at trough, 20 to 24 hours afterwards,    4   emergency department?
    5   would those PT results be different?                    5      A. Yes.
    6          MS. CONKLIN: Object to the form.                 6      Q. And based upon your seniority and background
    7          THE WITNESS: I -- I don't really know if         7   and experience, are you assigned particular types
    8      they're going to be different or not.                8   of -- of cases or patients, or do you essentially see
    9   BY MR. HONNOLD:                                         9   all comers, like everybody else might?
   10      Q. Currently, what's the nature of your practice    10      A. We see all comers. I -- the way our ED is --
   11   in terms of how you spend your professional time?      11   is organized, we have four different care areas. And
   12      A. Well, I practice clinically in the emergency     12   typically, a team of physicians is assigned to a care
   13   department, seeing patients and overseeing residents   13   area, which consists of 15 to 18 beds. And then any
   14   who are seeing patients. I do that probably 30 to      14   patient that is roomed in those beds, we see. So we
   15   40 percent of my time.                                 15   don't really have, you know, any input into what
   16          I have administrative responsibilities as the   16   types of patients they are.
   17   chair of the department of emergency medicine. So      17      Q. Have you ever filled out and sent in a drug
   18   that's overseeing the administration of the            18   adverse event report?
   19   physicians, residents, staff, and the operations of    19      A. Only for clinical trials, when I had to
   20   the emergency department. I probably do that about     20   report adverse events related to a clinical trial.
   21   30 percent.                                            21      Q. And for what medications have you reported
   22          And then I do clinical research where I see     22   adverse events in clinical trials?
   23   patients, enroll patients in clinical trials, and      23      A. So the largest trial I have ongoing right now
   24   follow them throughout their hospital stay. And I      24   uses glucose carnitine in patients with septic shock,
   25   probably do that 30 percent of my time.                25   and so some related to that.


                                                                              17 (Pages 62 to 65)
                Golkow Technologies, Inc. - 1.877.370.DEPS
Case 2:14-md-02592-EEF-MBN Document 5517-16 Filed 02/24/17 Page 18 of 57
         Protected - Subject to Further Protective Review
                                               Page 66                                                      Page 68
    1          And then I've participated in a trial of          1      Q. How many hospitals do you have privileges at
    2   inhaled nitric oxide for pulmonary embolism, and         2   now?
    3   submitted some for that.                                 3      A. I have privileges at two hospitals.
    4          And then participated in a trial for the use      4      Q. Which ones?
    5   of serelaxin in patients with heart failure, and we      5      A. The University of Mississippi Medical Center
    6   submitted some for that.                                 6   and University of Mississippi Medical Center
    7          I have to say, though, I need to clarify your     7   Lexington.
    8   question. I don't think I've ever had to fill out        8      Q. Other than the report that you prepared in
    9   a -- a form and send to the FDA for a unexpected         9   this case, have you before, in your capacity as
   10   related, serious adverse event.                         10   serving as an expert witness, prepared a written
   11          I've just reported -- the definition of an       11   report?
   12   adverse event in a clinical trials is -- is much more   12         MS. HOFFMANN: Objection.
   13   broad. So we report those to the sponsor, not to        13         THE WITNESS: Yes.
   14   the -- not to any regulatory body. And then we          14   BY MR. HONNOLD:
   15   report them to our IRB, our local IRB.                  15      Q. And so I take it, then, that preparing an
   16      Q. So in all your years of practice, you --          16   expert report was not something that -- when you
   17   for -- for any drug, you've never filled out an         17   entered into that work in this case, it was something
   18   adverse event report and -- and sent it to the FDA?     18   that you were generally familiar with?
   19          MS. CONKLIN: Object to the form.                 19      A. Yes.
   20          THE WITNESS: I have not, not that I recall.      20      Q. You understand that the purpose of the report
   21   BY MR. HONNOLD:                                         21   was to set forth your opinions in this case clearly
   22      Q. Okay. You've never filled out a drug watch        22   so that I would have some notice, or we would have
   23   form as a practicing physician?                         23   some notice as to what you would be testifying to in
   24      A. No.                                               24   this case; correct?
   25      Q. What's your understanding of the criteria for     25         MS. CONKLIN: Object to the form.


                                               Page 67                                                      Page 69
    1   filling out a drug watch report?                         1          MS. HOFFMANN: Object.
    2      A. Gosh, I -- I don't know if I know the exact        2          THE WITNESS: That's my general
    3   criteria. I would -- if I recall correctly, if -- if     3      understanding.
    4   you -- you suspect there is some life-threatening or     4   BY MR. HONNOLD:
    5   serious adverse event related to -- directly related     5      Q. And if I wanted to know generally what your
    6   to a medication.                                         6   opinions were in this case, would be -- would
    7      Q. And you've never seen such an event in all of      7   be going to your report and reading it would be
    8   your years of practice?                                  8   the -- would that be the best source of that
    9          MS. CONKLIN: Object to the form.                  9   information?
   10          THE WITNESS: Not one -- not one that I can       10      A. I would say yes and -- and questioning me
   11      recall being unexpected.                             11   like you're doing today.
   12   BY MR. HONNOLD:                                         12      Q. But your view is, in terms of the report that
   13      Q. So your view is, is that for drug watch or        13   you prepared, it -- it -- it now contains generally
   14   MedWatch reports, it is only for the reporting of       14   your opinions in this case; correct?
   15   unexpected events?                                      15      A. Yes, I would say that's correct.
   16          MS. HOFFMANN: Objection.                         16      Q. And other than responding to the questions
   17          THE WITNESS: Again, I don't -- I don't have      17   that I might ask you, though, it -- it -- do you have
   18      in-depth understanding of MedWatch form -- forms     18   any opinions that you are planning to offer in this
   19      and reporting.                                       19   case that are not set forth in your report?
   20   BY MR. HONNOLD:                                         20      A. Not that I'm aware of, no.
   21      Q. Have you ever reported the failure of any         21      Q. Have you ever testified in a -- a
   22   type of medical device, either to the FDA or to your    22   pharmaceutical case where the lawsuit was a plaintiff
   23   hospital or hospital administration or risk             23   who claimed to have been injured related to a
   24   management?                                             24   particular pharmaceutical product?
   25      A. No.                                               25          MS. CONKLIN: Object to form.


                                                                               18 (Pages 66 to 69)
                Golkow Technologies, Inc. - 1.877.370.DEPS
Case 2:14-md-02592-EEF-MBN Document 5517-16 Filed 02/24/17 Page 19 of 57
         Protected - Subject to Further Protective Review
                                              Page 70                                                      Page 72
    1         THE WITNESS: Yes, I have.                         1      confidential information you were given, you
    2   BY MR. HONNOLD:                                         2      signed a confidentiality order for.
    3      Q. Okay. And tell me about those cases.              3          THE WITNESS: I do think I had to sign a
    4   What -- what were the circumstances?                    4      confidentiality order. And I'm not an attorney,
    5      A. There was a -- some suits that were filed         5      and I don't know what all that encompasses. So
    6   that were related to whether therapeutic doses of       6      maybe it's best if I don't answer questions
    7   Tylenol caused acute liver failure. And I'm -- I        7      related to that.
    8   don't know how many cases there were, but there -- I    8   BY MR. HONNOLD:
    9   was asked to review a couple of cases in my capacity    9      Q. Okay. Generally, as -- as an emergency
   10   through my research with sepsis, because there was     10   medicine physician, are you aware of what are the
   11   some uncertainty as to whether sepsis was the          11   known potential causes of liver failure?
   12   etiology of the liver injury or whether it was         12      A. Yes.
   13   Tylenol.                                               13      Q. And it's something that you learned -- some
   14      Q. And who were you reviewing those cases on        14   of that you learned in medical school; right?
   15   behalf of?                                             15      A. That's correct.
   16      A. I was -- I was contacted by a lawyer who         16      Q. Some of it you learned in your residency;
   17   worked out of New York for Butler Snow.                17   right?
   18      Q. Have you met with or spoken with any Butler      18      A. Yes.
   19   Snow lawyers on cases other than the Tylenol cases?    19      Q. Some of it you learned in your postgraduate
   20      A. No.                                              20   training that you had, as well as your ongoing
   21      Q. Can therapeutic doses of Tylenol cause liver     21   clinical experience; correct?
   22   failure?                                               22      A. Yes.
   23         MS. CONKLIN: Objection to form.                  23      Q. Some of those things about known causes of
   24         MS. HOFFMANN: Objection.                         24   liver failure, you've learned through continuing
   25         And I just want to caution, if you signed any    25   medical education and keeping up-to-date with medical


                                              Page 71                                                      Page 73
    1    kind of confidentiality order in that case, you        1   literature; right?
    2    need to keep that in mind.                             2      A. That's correct.
    3       And I don't know the answer, but I've had           3      Q. There's certain publications and things that
    4    your experts do the same thing --                      4   you subscribe to and review on a regular basis;
    5       MR. HONNOLD: I'm asking him as a doctor.            5   correct?
    6       MS. HOFFMANN: And if he can't separate his          6      A. Yes.
    7    knowledge from what he learned in review of            7      Q. That would be part of your professional
    8    confidential information in litigation, I think        8   duties, as being a -- the head of emergency medicine
    9    that's a foundational issue.                           9   at the University -- or chairman of emergency
   10       And, Brad, I'm only saying that because when       10   medicine at the University of Mississippi; correct?
   11    I deposed Dr. Rinder, he brought up the same          11      A. No. It's part of my responsibility as a
   12    issue, he could not separate his knowledge, where     12   physician.
   13    he had been retained as an expert, reviewed           13      Q. Okay. And -- and based upon all of that
   14    confidential information, and just flat wasn't        14   intake that you've had in terms of information about
   15    able to separate the two.                             15   the known possible causes of liver failure, have you
   16       And I think in all fairness to this doctor,        16   seen or heard, in the context of that work, that
   17    that question needs to be asked first.                17   Tylenol -- therapeutic doses of Tylenol can cause
   18       MR. HONNOLD: Okay. I -- I don't know how to        18   liver failure?
   19    ask it other whether therapeutic doses of Tylenol     19          MS. CONKLIN: Object to the form.
   20    can cause liver failure.                              20          MS. HOFFMANN: Same -- same objection, with
   21       MS. HOFFMANN: And, Doctor, if you can't            21      the caution that what you weren't asked is
   22    answer that question without separating in your       22      whether you also learned some information in the
   23    mind the confidential information that you            23      review of confidential documents in the course of
   24    reviewed in the course of litigation, then you        24      your retention as an expert witness in the
   25    need to keep that in mind, particularly if the        25      Tylenol litigation and whether or not you can


                                                                              19 (Pages 70 to 73)
               Golkow Technologies, Inc. - 1.877.370.DEPS
Case 2:14-md-02592-EEF-MBN Document 5517-16 Filed 02/24/17 Page 20 of 57
         Protected - Subject to Further Protective Review
                                              Page 74                                                      Page 76
    1      separate out your other sources of information       1      A. This appears to be my report.
    2      from what you may or may not have learned through    2          MR. HONNOLD: Do you all want one of these?
    3      the review of confidential documents.                3      It's copied on only one side, so it's much --
    4          THE WITNESS: In -- in my -- this is about        4      you've got one?
    5      all I can say about it is, in my capacity, in my     5   BY MR. HONNOLD:
    6      training and, you know, my knowledge and my          6      Q. And this is the report that we mentioned
    7      reading, I've never seen any scientific evidence     7   earlier. This -- this contains all of your opinions
    8      to show that that occurs.                            8   that you have in this case; is that right?
    9   BY MR. HONNOLD:                                         9      A. To the best of my knowledge, yes.
   10      Q. So if a patient asked you that, you would        10      Q. And what I'd like to do is go to that
   11   say, I'm -- I'm not aware of any scientific evidence   11   reference list, which is marked separately as
   12   that would suggest that?                               12   Exhibit D at the back of the report.
   13      A. I would say that, and I'd say I take therapy     13          Do you have that before you?
   14   doses of Tylenol myself and don't have any concern     14      A. Yes.
   15   that it's going to cause liver failure.                15      Q. Can you tell -- and -- and I apologize.
   16      Q. Well, that doesn't rule out that it might        16   The -- the one I've handed you and that I have copied
   17   happen in other patients; right?                       17   for everyone, it has some of my writing on it. I
   18          MS. HOFFMANN: Objection.                        18   brought one that I didn't -- I -- the one I copied, I
   19          MS. CONKLIN: Object to the form.                19   didn't realize that I had some of my notes on it. So
   20   BY MR. HONNOLD:                                        20   I apologize with that. We may replace it with a
   21      Q. I mean, that's not a scientific assessment;      21   clean one in terms of what's actually marked for the
   22   right?                                                 22   record.
   23      A. I mean, it's scientific inasmuch as I have       23          Can you tell from looking at the reference
   24   evidence of an N of one.                               24   list which of the articles were ones that were
   25      Q. Do you ever -- I mean, other than published      25   provided to you and which are the ones that you


                                              Page 75                                                      Page 77
    1   in a case report, I mean, do you ever write on --       1   either found or came across in your -- that you
    2   have you ever conducted a -- a clinical trial where     2   either had or came across in your work on the case?
    3   there was only one -- one subject?                      3      A. I really cannot.
    4          MS. HOFFMANN: Objection.                         4      Q. So in terms of looking at the references that
    5          THE WITNESS: Well, that's not a clinical         5   go down through Number 37, you -- there's no way
    6      trial. But patients rely upon physicians and         6   today that you can tell which ones were provided to
    7      their experience and their, you know, advice.        7   you and which ones you might have had or found on
    8      And whether that advice is anecdotal, personal       8   your own?
    9      advice or whether it's scientific advice, it's       9         MS. CONKLIN: Object to the form.
   10      still an important piece of information that a      10         THE WITNESS: No.
   11      physician offers a patient.                         11   BY MR. HONNOLD:
   12   BY MR. HONNOLD:                                        12      Q. And when you say that some were provided to
   13      Q. The -- the reference list that you've            13   you, who provided some of the references to you?
   14   attached to your report, how was that arrived at or    14      A. They were sent to me with some of the other
   15   created?                                               15   records and depositions and various information that
   16      A. Some of those references were provided to me     16   I received.
   17   in the course of the litigation, and some of them I    17      Q. So they were sent to you by the lawyers?
   18   had previously had knowledge of or I came across       18      A. Yes.
   19   in -- in the course of writing my report.              19      Q. Before your work on this case, did you have
   20      Q. I'm going to hand you what we've marked as       20   some preexisting file on Rivaroxaban?
   21   Exhibit 7.                                             21      A. I wouldn't say that I had a file. I mean, I
   22         (Jones Exhibit 7 was marked for                  22   had some articles that I had read relating to them --
   23   identification.)                                       23   relating to the medication.
   24   BY MR. HONNOLD:                                        24      Q. But did you actually have those copies that
   25      Q. What is that document?                           25   were archived somewhere, either in paper or


                                                                              20 (Pages 74 to 77)
                Golkow Technologies, Inc. - 1.877.370.DEPS
Case 2:14-md-02592-EEF-MBN Document 5517-16 Filed 02/24/17 Page 21 of 57
         Protected - Subject to Further Protective Review
                                               Page 78                                                      Page 80
    1   electronic form, before you started your work on this    1   sent you the articles, did they send them to you in
    2   case?                                                    2   paper form?
    3          MS. CONKLIN: Object to the form.                  3      A. Yes.
    4          THE WITNESS: I think I may have had some.         4      Q. And so when you got them in paper form, was
    5      I, at this point, can't recall what I had and         5   there -- was there some sort of -- of table of
    6      received.                                             6   contents or list of the articles that were sent?
    7   BY MR. HONNOLD:                                          7      A. Not that I recall.
    8      Q. And is there any way that you can tell which       8      Q. It was just a stack of articles?
    9   are the ones that you -- that you might have had         9      A. I think so.
   10   before?                                                 10      Q. Were they all sent to you at one time, or
   11          MS. HOFFMANN: Objection.                         11   were they sent to you over a period of time in -- in
   12          THE WITNESS: I don't think so. There might       12   multiple batches?
   13      also be some overlap. I mean, I might have had       13          MS. CONKLIN: Object to the form.
   14      some of the ones that were provided to me.           14          THE WITNESS: I do not recall. I've received
   15   BY MR. HONNOLD:                                         15      various documents over time, and I just can't
   16      Q. Over the past few years, what are the medical     16      remember when they came or what came when.
   17   publications that you would say that you review or      17   BY MR. HONNOLD:
   18   look at on a -- on a frequent or regular basis?         18      Q. Did you actually conduct some sort of medical
   19      A. Well, let's see. In my -- in my memberships       19   literature search as part of your work on this case?
   20   to various organizations, I receive Annals of           20      A. I did look at some articles -- various
   21   Emergency Medicine, Academic Emergency Medicine,        21   articles, read various things. I guess that
   22   Journal of Emergency Medicine, Critical Care            22   qualifies as -- as a literature search.
   23   Medicine, JAMA. Those might be the -- the journals      23      Q. Well, how did you define the universe of
   24   that I receive regularly.                               24   things that you looked at? How did you get there?
   25          Of course, I -- I have subscriptions to          25      A. Well, I typically use PubMed as my source --


                                               Page 79                                                      Page 81
    1   various list serves and search engines that will --      1   as my source of information. And I'm not sure
    2   will send new articles that are published across         2   exactly which search terms I used when I went into
    3   various specialities that -- that I review and, you      3   PubMed. But that's -- that's where I go to find
    4   know, look to see if there's something of interest       4   information, scientific information.
    5   that I might want to read about.                         5      Q. And so search term, what you're talking about
    6      Q. Do you use UpToDate in your practice?              6   is what -- what you would actually type into the box
    7      A. No.                                                7   at the top of the screen?
    8      Q. Do you know what UpToDate is?                      8      A. Right.
    9      A. Yeah. It's an online textbook.                     9      Q. Okay. What -- what would have -- what were
   10      Q. In terms of just the breakdown of these           10   the types of things that you were looking for when
   11   references, you know, the literature references that    11   you conducted your -- your PubMed search in this
   12   are 1 through 37, do you have some sense for how many   12   case?
   13   of the 37 were provided by the lawyers?                 13      A. Obviously, something related to Rivaroxaban.
   14          MS. HOFFMANN: Objection.                         14   I'm not -- I don't recall exactly the specific -- you
   15          THE WITNESS: Not really.                         15   know, when I went, what specific information I was
   16   BY MR. HONNOLD:                                         16   looking for or -- you know, if it was general or if
   17      Q. Do you have correspondence in your possession     17   it was specific, I don't recall. I've probably done
   18   that would show which articles were sent to you by      18   several searches, I would guess.
   19   the lawyers?                                            19      Q. Well, based upon, I guess, the -- the nature
   20          MS. CONKLIN: Object to the form. The             20   of this case and the -- and the scope of the report
   21      correspondence is privileged.                        21   and the opinions that you set forth therein, what --
   22          THE WITNESS: I don't believe I have any          22   do you have now, in retrospect, any idea as to the
   23      correspondence that breaks it down or shows that.    23   types of things that you would have been putting into
   24   BY MR. HONNOLD:                                         24   the search term box on PubMed?
   25      Q. So when they sent you -- when the lawyers         25         MS. CONKLIN: Object to the form.


                                                                               21 (Pages 78 to 81)
                Golkow Technologies, Inc. - 1.877.370.DEPS
Case 2:14-md-02592-EEF-MBN Document 5517-16 Filed 02/24/17 Page 22 of 57
          Protected - Subject to Further Protective Review
                                               Page 82                                                      Page 84
    1         MS. HOFFMANN: Objection.                           1   related to Rivaroxaban, did you use and rely upon the
    2         THE WITNESS: All I can tell you is that they       2   package insert or labeling for Xarelto to any degree?
    3      had to have been related to Rivaroxaban. I don't      3      A. It's possible. I don't specifically recall.
    4      remember specifically, otherwise, what search         4   I mean, I know that was part of the documents that I
    5      terms I used.                                         5   had in my possession and -- at -- at the time I was
    6   BY MR. HONNOLD:                                          6   making my report.
    7      Q. All right. So fair to state that you --            7      Q. Who typed up the reference list?
    8   you -- one of the search terms that you might have       8      A. I believe the reference list was compiled --
    9   used would have been Rivaroxaban or the term "NOAC"?     9   I sent or provided a -- a list of references, and --
   10         MS. CONKLIN: Object to the form.                  10   and then a list -- a list was -- that was added to a
   11         THE WITNESS: Probably did not use the term        11   list of what I had been provided. I'm not sure who
   12      "NOAC." And I probably did use the term              12   actually created the final reference list.
   13      "Rivaroxaban" because, typically, in scientific      13      Q. Okay. So you -- you did -- you did not
   14      writing, that -- it's usually -- usually             14   create the final reference list?
   15      publications refer to the -- the generic name of     15      A. I asked that the references I had been sent
   16      the -- of a medication.                              16   be -- be put in a document, and then that the
   17   BY MR. HONNOLD:                                         17   references that I had -- that I wanted put in the
   18      Q. At any time in preparation of your report,        18   document be added to that, because by the time I was
   19   did you -- did you have next to or were you looking     19   ready to create that list, I -- I was having a hard
   20   at sources or material other than the medical records   20   time knowing, you know, the interplay between those
   21   when you were actually preparing your report?           21   two things.
   22         MS. CONKLIN: Object to the form.                  22      Q. What is the significance of the reference
   23         THE WITNESS: Gosh, I remember, when I was         23   list, or -- or for what purpose was it prepared and
   24      preparing my report, having a whole lot of stuff     24   attached to the report?
   25      around me on a big table. I mean, I think, you       25      A. There -- it's a list of references that I


                                               Page 83                                                      Page 85
    1      know, the majority of my -- the information in my     1   think could potentially -- and, again, this -- might
    2      report was -- came from the medical record and my     2   get this legally wrong, because I'm not a lawyer --
    3      opinion. But whether there was other stuff            3   but could potentially be used in the course of my
    4      around me physically or whether I referenced          4   opinions related to the -- what I have in my report.
    5      something else, I'm -- I don't recall.                5   And I don't understand all the rules of federal and
    6   BY MR. HONNOLD:                                          6   state and all that litigation.
    7      Q. Well, that's what I'm trying to get at. Were       7      Q. So what's the significance of any given
    8   there -- were there particular articles in the           8   reference item being on the list? What --
    9   reference list that you did look at and rely upon for    9          MS. CONKLIN: Object to the form.
   10   information in preparing your report?                   10   BY MR. HONNOLD:
   11      A. It's possible, and I just don't -- can't tell     11      Q. -- what does it mean if -- if a particular
   12   you what exactly -- which ones they were.               12   article is on your reference list?
   13      Q. Okay. Why -- why didn't you footnote              13          MS. CONKLIN: Object to the form.
   14   anything?                                               14          THE WITNESS: It might mean that there's some
   15         MS. CONKLIN: Object to the form.                  15      information in that that potentially would be
   16         THE WITNESS: It's not typically the way I         16      pertinent that I would want to use or point out
   17      write those reports.                                 17      in some specific circumstance, if I was asked a
   18   BY MR. HONNOLD:                                         18      specific question.
   19      Q. As you look at your reference list attached       19   BY MR. HONNOLD:
   20   to your report, Exhibit 7, is there any way that you    20      Q. Would it be fair to state that it's your
   21   can tell which of those references, 1 through 37,       21   belief that the reference -- the -- the items on the
   22   that you would have relied upon to some degree and      22   reference list generally support your opinions in
   23   incorporated into your report?                          23   this case?
   24      A. Probably not.                                     24          MS. HOFFMANN: Objection.
   25      Q. When you were preparing your report on issues     25          THE WITNESS: I would just -- I would just


                                                                               22 (Pages 82 to 85)
                Golkow Technologies, Inc. - 1.877.370.DEPS
Case 2:14-md-02592-EEF-MBN Document 5517-16 Filed 02/24/17 Page 23 of 57
         Protected - Subject to Further Protective Review
                                              Page 86                                                      Page 88
    1     say that they're -- it's -- a lot of it is            1   copy of the reference or article?
    2     general information about the subject of the          2          MS. CONKLIN: Object to the form.
    3     case. There -- there are some of the articles         3          THE WITNESS: Yes, I had in my possession a
    4     that support my opinions, but, you know, it's a       4      physical copy of everything that is in -- that is
    5     lot of information. So a lot of it is just            5      here.
    6     general information about the -- the issues in        6   BY MR. HONNOLD:
    7     the case.                                             7      Q. Did you do any notation or highlighting of
    8   BY MR. HONNOLD:                                         8   any of those articles?
    9     Q. Are there any of these articles, reference         9      A. No.
   10   Numbers 1 through 37, that you believe to be           10      Q. Do you still have all the articles in your
   11   generally reliable?                                    11   possession?
   12         MS. CONKLIN: Object to the form.                 12      A. It's possible. I mean, I have a lot of
   13         MS. HOFFMANN: Objection.                         13   information. I'm not sure if I've gotten rid of some
   14         THE WITNESS: They're just information. I         14   of it or not.
   15     don't -- I don't know, you know, how to answer       15      Q. Okay. If -- if you still have some of them,
   16     whether it's reliable or not. I mean, there's a      16   where would they be?
   17     ton of scientific evidence out there. So, I          17      A. Probably spread between my office and my
   18     mean, the reliability of it depends on the           18   home.
   19     individual article, but I don't -- can't make a      19      Q. Were there any references that you went to on
   20     general statement something is or is not             20   PubMed where you ran into a roadblock where they had
   21     reliable.                                            21   to be purchased?
   22   BY MR. HONNOLD:                                        22      A. No.
   23     Q. Any of the particular reference items that        23      Q. Okay. So in terms of any PubMed searching
   24   you consider to be authoritative?                      24   you might have done, you -- none of the ones that you
   25         MS. HOFFMANN: Objection to form.                 25   looked at on -- on your PubMed search required you to


                                              Page 87                                                      Page 89
    1          MS. CONKLIN: Objection.                          1   pay for them?
    2          THE WITNESS: I would probably answer that        2      A. Not that I recall.
    3      question the same way.                               3      Q. Okay. When you did your PubMed search, where
    4   BY MR. HONNOLD:                                         4   were you doing it from?
    5      Q. Okay. So I -- I just want to make -- make         5      A. I don't remember.
    6   sure I'm clear, then, that in terms of reference        6      Q. Okay. When you did the PubMed search, were
    7   items 1 through 37, there aren't any of those           7   you doing it from a location that it gave
    8   references that you are stating or representing are     8   you universal access to all papers, regardless of who
    9   authoritative, in your view?                            9   the publisher was or the source of the article?
   10          MS. HOFFMANN: Objection.                        10      A. I have through -- through my various, you
   11          MS. CONKLIN: Object to form.                    11   know, societies and subscriptions, I have access to
   12          THE WITNESS: Authoritative of one versus        12   probably all the major publishers. So by virtue of
   13      another, I would say no.                            13   that, I probably have access to all -- all the
   14   BY MR. HONNOLD:                                        14   articles.
   15      Q. Is there one or more items on the reference      15      Q. So were there some where you had to type in
   16   list that you could identify as being specifically     16   your -- your personal password or ID code to get
   17   authoritative on a -- a particular concept or issue?   17   access, for example, for Wolters Kluwer or
   18          MS. CONKLIN: Object to the form.                18   ResearchGate or any of those other entities?
   19          THE WITNESS: No, not -- not one that's          19          MS. CONKLIN: Object to the form.
   20      particularly authoritative or reliable more than    20          THE WITNESS: I think the way that works is
   21      another one.                                        21      once you type it in or you have some -- you know,
   22   BY MR. HONNOLD:                                        22      you're sent some e-mail and you link to it, that
   23      Q. If there is an item on the reference list,       23      once that's recognized somehow in your computer
   24   does that mean at some point, you actually did have    24      domains, it's kind of there. You don't have to
   25   in your physical possession a -- a complete paper      25      retype it in every time, unless you -- your


                                                                              23 (Pages 86 to 89)
               Golkow Technologies, Inc. - 1.877.370.DEPS
Case 2:14-md-02592-EEF-MBN Document 5517-16 Filed 02/24/17 Page 24 of 57
          Protected - Subject to Further Protective Review
                                               Page 90                                                     Page 92
    1      membership lapses or something, and they turn it      1      pharmacokinetics and the way the drug interacts
    2      off. That's my understanding of how it works.         2      with the body is that it's pretty reliable. And
    3          MS. CONKLIN: Counsel, I think we've been          3      so I assume that the intended therapeutic effect
    4      going about an hour.                                  4      of the drug is present.
    5          MR. HONNOLD: Sure. You need to take a             5          And there aren't a lot of interactions with
    6      break? Yeah, absolutely.                              6      other medications or food or patient-specific
    7          THE VIDEOGRAPHER: The time now is 9:05 a.m.       7      factors. So typically, in the emergency
    8      We are now off the record.                            8      department, if I'm making a decision about how to
    9         (A recess was taken from 9:05 until 9:15 a.m.)     9      treat a patient, I assume that that is present.
   10          THE VIDEOGRAPHER: This begins Disc 3 of          10          I don't really need to know -- and don't --
   11      today's deposition. The time now is 9:15 a.m.        11      kind of don't know from the literature what
   12      We are back on the record.                           12      they're under therapeutic or overcoagulated
   13   BY MR. HONNOLD:                                         13      really means on Rivaroxaban.
   14      Q. Doctor, we're back on the record after            14   BY MR. HONNOLD:
   15   another short break.                                    15      Q. What agents or compounds have you or do you
   16          Currently in your practice, if -- if you had     16   use to reverse the effects of Rivaroxaban?
   17   a patient where you wanted to try to determine          17      A. Typically, if I'm trying to reverse the
   18   qualitatively how anticoagulated a patient on           18   effects, I will use a --a four-factor prothrombin
   19   Rivaroxaban was, what -- what test would you perform?   19   complex concentrate.
   20          MS. CONKLIN: Object to the form.                 20      Q. And does that have a commercial or trade
   21          THE WITNESS: I wouldn't have -- I would not      21   name?
   22      have the circumstance where I would need to know     22      A. Yes. It -- the -- the one that I have
   23      that in my practice.                                 23   available to me is Kcentra.
   24   BY MR. HONNOLD:                                         24      Q. And to your knowledge, has Kcentra actually
   25      Q. So in your -- in your speciality area of          25   been evaluated in clinical trials on renal bleeding


                                               Page 91                                                     Page 93
    1   practice, emergency medicine, you are not faced with     1   patients on Rivaroxaban?
    2   scenarios where you need to know qualitatively how       2          MS. CONKLIN: Object to the form.
    3   anticoagulated a patient is on Rivaroxaban; correct?     3          THE WITNESS: I'm not sure I've seen a -- a
    4      A. That's correct. Typically, I need to know,         4      randomized trial that has -- that has looked at
    5   you know, all of the information about the patient.      5      the effects of Kcentra in patients specifically
    6   And if the patient is on Rivaroxaban, I usually make     6      taking Rivaroxaban.
    7   decisions based on my assumption that the patient is     7   BY MR. HONNOLD:
    8   taking it and then what their clinical presentation      8      Q. In any of the literature on Kcentra and its
    9   is and whether I need to administer something to try     9   ability to reverse the effects of Rivaroxaban, in
   10   to reverse the effects of that or not.                  10   that literature, how have those effects been
   11         So a lot -- there's a lot of information that     11   measured, meaning, how do those authors determine
   12   goes into it, but I don't really need to know           12   whether or not the giving of Kcentra has some effect
   13   quantitatively, in emergent situations, what the        13   on the anticoagulation status of a patient on
   14   quantitative degree of anticoagulation --               14   Rivaroxaban?
   15      Q. And I -- and I said qualitatively how             15      A. Well, one way you can determine that -- and,
   16   anticoagulated a patient was. Qualitatively, if you     16   you know, I think in -- in some of the reports
   17   wanted to know how anticoagulated this patient was,     17   that -- that I've seen, is just looking at the
   18   are they very anticoagulated on Rivaroxaban, are they   18   response of the patient and the bleeding of the
   19   marginally anticoagulated on Rivaroxaban, not at all,   19   patient.
   20   what test would you do to speak to that issue?          20          You could do -- you could do some more
   21         MS. CONKLIN: Object to the form.                  21   research-related assays, which is, you know, some
   22         THE WITNESS: Well, I would probably have a        22   thrombin-related activity assays to determine, I
   23      similar to that, which I don't think about           23   guess, if you wanted to determine how quickly the
   24      anticoagulation with Rivaroxaban in a qualitative    24   effects could occur or how long they might last or
   25      way, because my understanding of the drug and the    25   how long, you know, it might take to get to a normal


                                                                               24 (Pages 90 to 93)
                Golkow Technologies, Inc. - 1.877.370.DEPS
Case 2:14-md-02592-EEF-MBN Document 5517-16 Filed 02/24/17 Page 25 of 57
         Protected - Subject to Further Protective Review
                                               Page 94                                                      Page 96
    1   thrombin activity or thrombin time. But those are        1         So thrombin-specific assays are the ones that
    2   not typically pieces of information that a clinician     2      seem to be the most compelling evidence, in my
    3   uses.                                                    3      view.
    4      Q. When you reverse a patient with Kcentra, or        4   BY MR. HONNOLD:
    5   trying to reverse the effects of Rivaroxaban, what --    5      Q. Okay. And so which test would that be,
    6   what are you trying to achieve through that treatment    6   specifically?
    7   or therapy?                                              7      A. Well, there's -- there's various research
    8         MS. CONKLIN: Object to the form.                   8   assays. So it's -- I don't know if I can name them
    9         THE WITNESS: Well, the use of Kcentra for          9   all, but there're thrombin time, and I don't know if
   10      reversing anticoagulants -- and this is also true    10   there's a thrombin potential. I'd have pull out some
   11      in Coumadin -- is what you're trying to do is        11   of the articles to look at the very specific tests,
   12      provide the co-factors to overcome the               12   but they're all thrombin-related.
   13      competitive effects of the medication, such that     13         And, again, I -- I want to point out, these
   14      the body can use those cofactors to do what it       14   are not clinical tests. They're not tests that we
   15      needs -- what it needs to do to make thrombin and    15   order in patients. They're -- they're research tests
   16      eventually make fibrin.                              16   to try to answer questions.
   17         So you're trying to overcome the effects of       17      Q. So tell me for Kcentra, then, what type of
   18      the drug, essentially.                               18   clinical trial work was actually done on patients to
   19   BY MR. HONNOLD:                                         19   provide some level of evidence that Kcentra is
   20      Q. Would it be fair to state that you're trying      20   effective in reversing the affects of Rivaroxaban.
   21   eliminate the anticoagulant effects of the              21         MS. CONKLIN: Object to the form.
   22   medication? Correct?                                    22         He's not offered as an expert on Kcentra.
   23      A. I guess in general terms, you're trying to --     23         THE WITNESS: I think I stated earlier I'm
   24   you're trying to allow the body to do its natural       24      not -- I'm not aware of any science -- large
   25   processes by giving it co-factors that it uses          25      scientific trials that have looked at the effects


                                               Page 95                                                      Page 97
    1   those -- those processes on. And that eliminates the     1      of Kcentra on Rivaroxaban. But I know that
    2   ability of the drug to, you know, bind -- you know,      2      clinically it works.
    3   depending on the drug, to bind to those co-factors in    3   BY MR. HONNOLD:
    4   the way that they're supposed to do. So you're --        4      Q. Have you read the papers on Kcentra where
    5   you're kind of overcoming that. You're overwhelming      5   plasma has actually spiked? Patients actually are --
    6   the system such that it can then go on with its          6   are given Rivaroxaban to spike their -- their blood
    7   normal processes.                                        7   to a certain level of Rivaroxaban, and then Kcentra
    8      Q. Now, I want to go back to the literature,          8   is given, and then the response is measured?
    9   specifically the literature that talks about the         9          Have you read those articles?
   10   effects of Kcentra in -- in patients that are taking    10          MS. CONKLIN: Object to the form.
   11   Rivaroxaban.                                            11          THE WITNESS: I feel certain in the body of
   12          In that body of literature, what tests were      12      scientific literature there are a lot of articles
   13   done to verify that, in fact, Kcentra had an            13      that potentially speak to this effect that I have
   14   inhibitory effect on patients on Rivaroxaban?           14      never seen. So I don't know specifically what
   15          MS. CONKLIN: Object to the form.                 15      articles you're referencing.
   16          THE WITNESS: Well, some of them just look at     16   BY MR. HONNOLD:
   17      clinical parameters. But I think the -- you          17      Q. So does your laboratory -- can you get a
   18      know, some of the papers that I've seen, the --      18   thrombin time at your -- at your hospital laboratory?
   19      the evidence that I would want to see is looking     19      A. I would suspect that you -- you probably can
   20      at the -- the ability of the body to generate        20   in certain situations, because that's a specialized
   21      thrombin, because ultimately, if -- if you have      21   test, I think, that sometimes hematologists use.
   22      effects of these medications, then you're going      22          But in my clinical practice, it's not
   23      to be -- meaning the Xa inhibitors, then you're      23   something that I would order or have ever had the
   24      not going to be able to generate thrombin the way    24   need to order.
   25      a normal person would.                               25      Q. Have you ever used Kcentra or other reversal


                                                                               25 (Pages 94 to 97)
                Golkow Technologies, Inc. - 1.877.370.DEPS
Case 2:14-md-02592-EEF-MBN Document 5517-16 Filed 02/24/17 Page 26 of 57
         Protected - Subject to Further Protective Review
                                               Page 98                                                     Page 100
    1   agents to -- to reverse the effects of Rivaroxaban in    1   whether the patient would substantially, you know, in
    2   a patient with an intracranial hemorrhage?               2   my view, potentially benefit and that benefit
    3          MS. CONKLIN: Object to the form.                  3   outweighs the risk -- you know, there are some risks
    4          THE WITNESS: I have used it. I can't              4   with Kcentra in that it can cause -- actually can
    5      remember specifically the various situations or       5   cause thrombosis.
    6      what type of bleeding or that the rationale was       6         So you have to kind of consider, you know,
    7      for -- for using it.                                  7   what the potential benefit is to the patient in -- in
    8          We were one of the -- our hospital was one of     8   their particular situation.
    9      the earlier adopters of Kcentra. And we might be      9      Q. In the times that you've used Kcentra to
   10      one of the only hospitals that -- that stocks it.    10   reverse the effects of Rivaroxaban, you did it
   11      So we do receive a lot of number patients that       11   because you felt that the benefit of hopefully
   12      receive it.                                          12   stopping bleeding outweighed the potential risk of
   13   BY MR. HONNOLD:                                         13   causing thrombosis; correct?
   14      Q. But in terms of your clinical experience, you     14         MS. CONKLIN: Object to the form.
   15   don't know whether you've used it in GI bleeding,       15         THE WITNESS: Generally, that would be
   16   intracranial bleeding, other forms of bleeding?         16      correct.
   17          MS. CONKLIN: Object to the form.                 17   BY MR. HONNOLD:
   18          THE WITNESS: I don't know the specific           18      Q. And the standard of care would require you to
   19      situation.                                           19   undergo -- undertake that assessment; correct?
   20   BY MR. HONNOLD:                                         20         MS. CONKLIN: Object to form.
   21      Q. How many times have you used Kcentra to           21         THE WITNESS: It would require me to take --
   22   reverse the effects of Rivaroxaban?                     22      undertake what?
   23          MS. CONKLIN: Object to the form.                 23   BY MR. HONNOLD:
   24          THE WITNESS: I've used Kcentra a lot. I          24      Q. That assessment, that risk/benefit analysis
   25      can't tell you specifically the number of times      25   for the patient?


                                               Page 99                                                     Page 101
    1      I've used it for the various new or oral              1      A. Well, generally, everything we do in medicine
    2      anticoagulants versus Coumadin. I know I've used      2   in terms of the way we either order a test or
    3      it in both situations. I just don't know the          3   administer a treatment, there is some inherit
    4      exact numbers.                                        4   risk/benefit analysis that's done in a physician's
    5   BY MR. HONNOLD:                                          5   head. It's not as formal a process as lawyers like
    6      Q. So if you -- if you've used it for both a          6   to try to make it out to be in depositions often;
    7   lot, would it be fair to say that you've used it for     7   sometimes it is.
    8   Rivaroxaban several times?                               8         But oftentimes those situations where it is a
    9      A. I would think so, yes.                             9   more formal process, it's less of an emergent
   10      Q. The times that you've used Kcentra to reverse     10   situation. It's more of an elective scenario. But
   11   the effects of Rivaroxaban in a patient, did you do     11   I'd say in general, risk/benefit analysis is done
   12   that because you feel that it was medically indicated   12   every day in clinical practice about everything we
   13   and necessary for the patient's well-being?             13   do.
   14          MS. HOFFMANN: Objection.                         14      Q. And -- and I don't mean to suggest that the
   15          THE WITNESS: Yes. I would say that's             15   risk/ benefit analysis that you undertake might not,
   16      probably the reason that I -- I felt like it         16   at times, need to be made under fairly urgent
   17      needed to be done.                                   17   conditions, and you make it based upon your
   18   BY MR. HONNOLD:                                         18   accumulation of training and education and those
   19      Q. Did you use Kcentra in situations where you       19   things. But it is -- but it is something that you go
   20   felt its use and administration for the patient was     20   through, even though it may only be kind of an
   21   potentially lifesaving?                                 21   instantaneous process when you're evaluating the need
   22      A. Honestly, as a practicing clinician, I don't      22   for a particular patient to have reversal; right?
   23   think I think in the terms of whether administering a   23      A. Right. I guess what I was just trying to
   24   medication is going to be lifesaving or not.            24   explain, so we're on the same page, is that it's
   25          It's using a kind of risk/benefit analysis of    25   often not a formal process that, you know, you think


                                                                             26 (Pages 98 to 101)
                Golkow Technologies, Inc. - 1.877.370.DEPS
Case 2:14-md-02592-EEF-MBN Document 5517-16 Filed 02/24/17 Page 27 of 57
         Protected - Subject to Further Protective Review
                                              Page 102                                                     Page 104
    1   to yourself, okay, this is the risk and these are the    1      A. Correct.
    2   benefits. It's more of an inherit process that you       2         And I might clarify the use of the word
    3   learn, a pattern over time and -- yeah.                  3   "reverse." Maybe it's -- "overcome" is a better
    4      Q. It almost becomes kind of a compressed or          4   word, as I think about it.
    5   inherent algorithm that you're able to undertake,        5      Q. But you wouldn't quibble with someone else
    6   sometimes almost instantaneously, as to whether to       6   who use the term "reverse"; would you?
    7   provide a certain treatment or not; correct?             7         MS. HOFFMANN: Objection.
    8      A. I would say that that does occur, yes.             8         THE WITNESS: Well, I'm just thinking reverse
    9      Q. And oftentimes, it comes down to the               9      typically means that it -- in my mind, reverse
   10   assessment of: Do you feel that this particular         10      means that it is something that directly changes
   11   patient needs this treatment, meaning the need takes    11      what the medication would do; whereas, in the
   12   into account, sometimes instantaneously, this issue     12      effects of Kcentra, it is -- it is provided to
   13   of risk/benefits analysis?                              13      overcome the effects, but it's not directly
   14         MS. CONKLIN: Object to form.                      14      reversing the effects. So I think that that's an
   15         THE WITNESS: In general, I'd like to say          15      important distinction.
   16      that I and every clinician wants to consider the     16   BY MR. HONNOLD:
   17      need. You wouldn't want to needlessly, you know,     17      Q. Is it your view that in some situations where
   18      provide something. So need certainly factors         18   patients are bleeding on Rivaroxaban that giving
   19      into it.                                             19   Kcentra is the standard of care in certain
   20   BY MR. HONNOLD:                                         20   circumstances?
   21      Q. You would never want to give Kcentra to a         21         MS. HOFFMANN: Objection to form.
   22   patient for the reversal of the effects of              22   BY MR. HONNOLD:
   23   Rivaroxaban needlessly; right?                          23      Q. Or has it not evolved to that point yet?
   24         MS. HOFFMANN: Objection.                          24         MS. HOFFMANN: Same objection.
   25         THE WITNESS: I wouldn't give Kcentra to a         25         THE WITNESS: I don't think I -- I don't


                                              Page 103                                                     Page 105
    1      patient unless I felt like there was an               1      think that I could say that a physician that did
    2      indication.                                           2      not administer it breached the standard of care.
    3   BY MR. HONNOLD:                                          3      I do think that there potentially is some
    4      Q. And the primary indication is that you're          4      accumulating evidence that we might be headed in
    5   trying to stop their bleeding; correct?                  5      a direction that way.
    6          MS. CONKLIN: Object to form.                      6           But I would say at present time, specifically
    7          MS. HOFFMANN: Objection; form.                    7      because there are hospitals that don't even have
    8          THE WITNESS: No. The primary indication is        8      it, it would be hard to say that it is the
    9      to reverse the effects that a medication may have     9      standard of care.
   10      on the coagulation system, but it's not to stop      10   BY MR. HONNOLD:
   11      the bleeding.                                        11      Q. You said that there may -- there is some
   12   BY MR. HONNOLD:                                         12   accumulating evidence to suggest that we're heading
   13      Q. Okay. So I want to make sure I state it           13   in that direction. What accumulating evidence are
   14   right then, that the primary reason that the drug is    14   you talking about?
   15   given is to reverse the effects of the medication?      15      A. Well, I just think there more and more
   16          MS. HOFFMANN: Objection.                         16   articles coming out about, you know, the -- all of
   17          THE WITNESS: Reverse the effects of the          17   the more novel or new oral anticoagulants, and we're
   18      medication on the coagulation system.                18   kind of learning more about them, despite every
   19   BY MR. HONNOLD:                                         19   medication over time.
   20      Q. The reason that Kcentra is given to the           20      Q. Are some of those publications specifically
   21   reverse the effects of Rivaroxaban on the coagulation   21   within your area of expertise and appeared in some of
   22   system; correct?                                        22   those journals you mentioned before that you get as
   23      A. Right. And that would be for any                  23   part of your membership in your professional
   24   anticoagulant that you give it for.                     24   societies?
   25      Q. Including Rivaroxaban; right?                     25           MS. HOFFMANN: Objection to form.


                                                                           27 (Pages 102 to 105)
                Golkow Technologies, Inc. - 1.877.370.DEPS
Case 2:14-md-02592-EEF-MBN Document 5517-16 Filed 02/24/17 Page 28 of 57
         Protected - Subject to Further Protective Review
                                              Page 106                                                     Page 108
    1          THE WITNESS: I have over the years seen some      1      A. Well, I think I talk about it on Page 8, at
    2      articles in the periodicals that I receive. I         2   the top of Page 8.
    3      can't -- I don't know if I can specifically say       3      Q. Do you mention or discuss Kcentra or reversal
    4      they are related to Kcentra, and I can't remember     4   anywhere after Page 12 in your case discussion and
    5      are where all those various articles I've seen        5   opinion section of your report?
    6      have come from.                                       6         MS. HOFFMANN: You're talking specifically
    7   BY MR. HONNOLD:                                          7      with respect to its applicability to Ms. Mingo?
    8      Q. Do you know, do any of the articles in your        8         MR. HONNOLD: No, I'm just saying at all.
    9   reference list speak to the issues of reversal?          9         MS. HOFFMANN: I'm sorry, I'm confused. Can
   10          MS. HOFFMANN: I'm sorry, can you just say        10      you just read back the question? That's my issue
   11      that again?                                          11      with my cold, not yours.
   12          MR. HONNOLD: Yeah.                               12         THE COURT REPORTER: The question was: Do
   13   BY MR. HONNOLD:                                         13      you mention or discuss Kcentra or reversal
   14      Q. Do any of the articles in your reference list     14      anywhere after Page 12 in your case discussion
   15   specifically speak to the issue of reversal?            15      and opinion section of your report?
   16      A. Yes. I think there are -- there are some.         16         THE WITNESS: I don't see anywhere where I
   17      Q. There are several of them; aren't there?          17      specifically mention Kcentra, probably because in
   18      A. Yes.                                              18      this particular case, I would not have
   19      Q. And are -- those any of those articles on         19      administered Kcentra to Ms. Mingo, so it probably
   20   reversal, were those provided to you, or are those      20      didn't materially impact the opinions -- my
   21   ones that you had or found on your own?                 21      opinions about how the Xarelto interacted in her
   22      A. I think I had several of the articles on          22      particular case.
   23   reversal prior to ever even being contacted about       23   BY MR. HONNOLD:
   24   this.                                                   24      Q. So the answer is no, it's not mentioned
   25      Q. Why did you include articles on reversal in       25   anywhere in your opinion section of your report;


                                              Page 107                                                     Page 109
    1   your reference list in this case?                        1   right?
    2      A. Well, I think an important -- particularly         2      A. I think I just answered that question, that
    3   important point about the use of Kcentra or PCC is       3   it doesn't, and for the reasons that I just gave.
    4   that it, in the same way it -- it reverse -- it helps    4      Q. And when you mention it -- well, strike that.
    5   with the patient with Coumadin, it can help with a       5          Where are you prepared your report, were you
    6   patient on Rivaroxaban in that it overwhelms,            6   able to do kind of it at -- at your -- I don't want
    7   provides the proteins that are necessary to allow the    7   to say at your leisure -- but I mean, you were in
    8   body to do its job on.                                   8   control of the environment and your time, and you
    9          And so by virtue of that, it's important to       9   were -- you were doing it at a pace and under
   10   have that information, you know, available,             10   circumstances that you saw were fit for the job?
   11   especially because I see -- I'm one of the recipients   11          MS. CONKLIN: Object to the form.
   12   of a lot of the bleeding issues that patients have      12          THE WITNESS: Yes, I would assume I did.
   13   on.                                                     13   BY MR. HONNOLD:
   14      Q. In the body of your report, Exhibit 7,            14      Q. And -- and you got the choice to use the
   15   anywhere you actually specifically discuss or mention   15   words you wanted to use and use them the way that you
   16   or evaluate or provide any analysis on the issues of    16   wanted to; right?
   17   Kcentra or the topic of reversal in general?            17      A. Yes.
   18          MS. CONKLIN: Object to the form.                 18      Q. You had a chance to edit and review the
   19          THE WITNESS: I think that I do mention that      19   report many times before today; correct?
   20      in the report at some point.                         20          MS. HOFFMANN: Objection.
   21   BY MR. HONNOLD:                                         21          THE WITNESS: I went through -- you know, did
   22      Q. Where?                                            22      it over time, so . . .
   23      A. Let me see.                                       23   BY MR. HONNOLD:
   24      Q. And I'm most interested is if you mention it      24      Q. The -- if there was something in it that you
   25   in the opinion section after Page 12.                   25   felt tat needed to be corrected, you could have


                                                                           28 (Pages 106 to 109)
                Golkow Technologies, Inc. - 1.877.370.DEPS
Case 2:14-md-02592-EEF-MBN Document 5517-16 Filed 02/24/17 Page 29 of 57
         Protected - Subject to Further Protective Review
                                             Page 110                                                      Page 112
    1   corrected it before today; right?                        1      A. Yes.
    2      A. I would assume so.                                 2      Q. Okay.
    3      Q. You could have corrected it before you signed      3      A. I had several.
    4   it and made it your final report in this case;           4      Q. I don't know whether this particular version
    5   correct?                                                 5   was provided to you or not, and I'm not sure for my
    6      A. Yes.                                               6   questions that it matters that much.
    7      Q. And when you signed it, you did so with the        7         MS. HOFFMANN: Objection; form.
    8   intention of making it your final report in this         8   BY MR. HONNOLD:
    9   case; correct?                                           9      Q. Does it look like you got the December 2014
   10      A. I did issue a final report, yes.                  10   version of the label?
   11      Q. And when you -- when you did sign the report      11      A. I don't see that specific one listed here.
   12   as reflecting your final report and opinions in this    12      Q. Specifically, when you look -- if you include
   13   case, and you go to Page 8 where you do talk about      13   the December 2014 -- or if you were to include it in
   14   4-factor prothrombin complex time concentrate, you      14   the sequence of -- of the labels that are on your
   15   actually use the phrase that it has, quote, has been    15   reference list, which -- which would be the last form
   16   reported to be beneficial in completely reversing the   16   of the label that would have been generated before
   17   effects of the medication, end quote.                   17   Mrs. Mingo took Xarelto?
   18         Do you see where I read from?                     18      A. In this list, it would be the one listed
   19      A. Yes.                                              19   March -- March 2014.
   20      Q. Okay. And those -- that was your choice of        20         MS. HOFFMANN: Counsel, can you just direct
   21   words at the time you prepared the report; correct?     21      our attention to that part of Exhibit 8 that you
   22      A. Yes.                                              22      are relying on for this to be the December 2014
   23      Q. I want to hand you what I've marked as            23      label?
   24   Exhibit 8, which is the December 2014 version of the    24         MR. HONNOLD: I always thought it went by
   25   package insert for Xarelto.                             25      where it says revised 12/2014 in the -- in the


                                             Page 111                                                      Page 113
    1         (Jones Exhibit 8 was marked for                    1      top section on Page 1.
    2   identification.)                                         2          MS. HOFFMANN: Okay. I just wondered.
    3          MR. HONNOLD: These aren't the greatest            3      That's your basis for saying this is the
    4      copies, and I'm sorry.                                4      December --
    5          MS. HOFFMANN: That's an understatement.           5          MR. HONNOLD: Right.
    6          MR. HONNOLD: Well, these -- these were done       6          MS. HOFFMANN: -- 2014 label.
    7      on a very interesting looking printer/copier in       7          MR. HONNOLD: Right.
    8      the lobby of the Residence Inn, once I realized       8          MS. HOFFMANN: Thank you.
    9      the FedEx Kinko's was not open. So I did my           9          MR. HONNOLD: And I think if you line them
   10      best.                                                10      all up, I think that's how the dates are shown.
   11          MS. HOFFMANN: As long as you're not going to     11   BY MR. HONNOLD:
   12      ask him questions about those areas that are --      12      Q. I'd like to ask you some questions about the
   13          MR. HONNOLD: Well, his is a really good          13   label.
   14      copy. If you look at his, he's got the --            14          If you look at Page 1 of Exhibit 8 in the --
   15          MS. CONKLIN: He's got a color copy.              15   in the top half of the first page, the -- the bold,
   16          MR. HONNOLD: -- he's got the good --             16   the section of Warning and Precautions section, which
   17          MS. CONKLIN: He's got color.                     17   is generally on the right-hand portion of the
   18          MR. HONNOLD: So I will definitely --             18   top-half of the page -- do you see Warnings and
   19          THE WITNESS: I got the Cadillac.                 19   Precautions?
   20          MR. HONNOLD: Yeah.                               20      A. Yes, sir.
   21   BY MR. HONNOLD:                                         21      Q. Okay. Clearly, this label states that -- if
   22      Q. I think if you look at your report,               22   you look at the first bullet point there -- risk of
   23   Exhibit 7, you had some versions, at least, of the      23   bleeding: Xarelto can cause serious and fatal
   24   Xarelto label that was made available to you;           24   bleeding.
   25   correct?                                                25          Do you see that?


                                                                           29 (Pages 110 to 113)
                Golkow Technologies, Inc. - 1.877.370.DEPS
Case 2:14-md-02592-EEF-MBN Document 5517-16 Filed 02/24/17 Page 30 of 57
         Protected - Subject to Further Protective Review
                                             Page 114                                                     Page 116
    1          MS. HOFFMANN: Objection.                         1      A. The only thing that may be in there -- and I
    2          THE WITNESS: Okay. Maybe I didn't --             2   will have to look to be sure -- but I may have
    3   BY MR. HONNOLD:                                         3   referenced that she took it before -- she took her
    4      Q. Under -- under Warnings and Precautions on        4   last dose before she presented to the hospital on the
    5   the right-hand portion of the top-half of the page,     5   last presentation.
    6   there's --                                              6         I can't remember if I put the exact time for
    7      A. Oh, okay. I'm sorry.                              7   that or not.
    8      Q. If you look --                                    8      Q. What I'd like to do is go to page --
    9      A. I'm there now.                                    9   Section 12.2, actually in the body of the label. I
   10      Q. -- in the first bullet point under the           10   think it's actually Page 21. And yours is copied on
   11   Warnings and Precautions section, do you see that?     11   the front and back, so I apologize for that. It just
   12      A. Yes, I see that.                                 12   make at less bulky of a document.
   13      Q. And you see that it says: Xarelto can cause      13         Do you see Section 12.2?
   14   serious and fatal bleeding.                            14      A. Yes, I do.
   15          Correct?                                        15      Q. That section states, quote: Dose-dependent
   16      A. Yes, I see that.                                 16   inhibition of FXa activity was observed in humans and
   17      Q. Do you have any understanding of what is the     17   the Neoplastin prothrombin time (PT) -- which is in
   18   purpose of anticoagulants stating that in the label    18   parens and capitalized, capital P, capital T --
   19   that a particular agent like Xarelto can cause         19   activated partial thromboplastin time -- and in
   20   serious and fatal bleeding?                            20   parenthesis, lower A, capital P, capital T,
   21          MS. HOFFMANN: Objection to form.                21   capital T -- and HepTest are prolonged
   22          THE WITNESS: Obviously, I don't have any        22   dose-dependently.
   23      knowledge of why this language was arrived at in    23         Do you see that sentence where I -- that I
   24      terms of it can cause serious and fatal bleeding    24   read?
   25      in -- this probably is not language that I would    25      A. Yes, I see that sentence.


                                             Page 115                                                     Page 117
    1      have used, because usually the cause of the          1      Q. Did I read it correctly?
    2      bleeding is not the anticoagulant, regardless of     2      A. Yes. That's what it says.
    3      the anticoagulant. The cause is some underlying      3      Q. Okay. So based upon Section 12.2, do you --
    4      etiology. Anticoagulants, you know, somehow          4   what is your understanding as a physician as to what
    5      interacts with the underlying etiology. But as a     5   that section means?
    6      medical doctor, I don't usually think of that as     6      A. I guess my understanding would be that
    7      the cause.                                           7   when -- when you use the PT test with the Neoplastin
    8   BY MR. HONNOLD:                                         8   reagent that there is potentially some relationship
    9      Q. But the -- this label boldly and prominently      9   between the PT and the inhibition of Factor Xa along
   10   states Xarelto can cause serious and fatal bleeding;   10   some continuum. I'm not sure -- it doesn't say --
   11   right?                                                 11   doesn't give anymore specifics about it. There has
   12          MS. HOFFMANN: Objection to form.                12   to be some relationship there.
   13          THE WITNESS: Right. I'm not arguing with        13      Q. And so do of your references speak
   14      what it says. I just don't know exactly what        14   specifically to that concept or that issue that's set
   15      they meant when they put that -- as a clinician,    15   forth in Section 12.2?
   16      I don't really usually assign the cause of the      16      A. Yes, some -- there are some of the references
   17      bleeding to that.                                   17   that have that information.
   18   BY MR. HONNOLD:                                        18      Q. And do some of those references state that
   19      Q. In this case, is it important for any of your    19   the relationship between serum plasma concentration
   20   opinions as to what time of day Mrs. Mingo took any    20   of Rivaroxaban is closely and linearly correlated to
   21   of her Xarelto?                                        21   the Neoplastin PT?
   22      A. No.                                              22          MS. CONKLIN: Objection to form.
   23      Q. Okay. Have you specifically stated anywhere      23          MS. HOFFMANN: Objection to form.
   24   in your report as to what times she did specifically   24          THE WITNESS: I think there's some indication
   25   take Xarelto on any given date?                        25      in some of the references that there is a -- that


                                                                          30 (Pages 114 to 117)
               Golkow Technologies, Inc. - 1.877.370.DEPS
Case 2:14-md-02592-EEF-MBN Document 5517-16 Filed 02/24/17 Page 31 of 57
         Protected - Subject to Further Protective Review
                                              Page 118                                                     Page 120
    1      there is somewhat of a linear relationship. And       1          THE WITNESS: I guess I don't understand the
    2      I'm not -- again, I'm not sure exactly what --        2      question. I mean, I guess the study, the
    3      across what concentration or dose or -- but there     3      particular study. I -- I don't think I can cite
    4      is some relationship there that is more reliable      4      the particular study.
    5      than some of the other PT assays.                     5   BY MR. HONNOLD:
    6   BY MR. HONNOLD:                                          6      Q. So likely one of the Rivaroxaban clinical
    7      Q. And in the resources that you looked at that       7   trials?
    8   speak to that, there are -- there are many places in     8          MS. HOFFMANN: Objection.
    9   those references where there are graphs that show        9          THE WITNESS: Well, I -- I don't know if
   10   that as the plasma concentration goes up on the left    10      that's true or not. I think that there are -- I
   11   axis, then the Neoplastin PT similarly goes up on the   11      think there are more than one potential area that
   12   right axis; correct?                                    12      have looked at that, and some of them have been,
   13          MS. CONKLIN: Object to the form.                 13      you know, more -- some of the results have been
   14          THE WITNESS: I do remember seeing some of        14      variable. So, again, I think there's multiple
   15      those graphs.                                        15      sources, given the amount of scientific
   16   BY MR. HONNOLD:                                         16      literature that's out there.
   17      Q. And so some of your references suggest that       17   BY MR. HONNOLD:
   18   there is, in fact, a linear relationship between        18      Q. In those -- in those reference materials that
   19   Rivaroxaban serum concentration and Neoplastin PT;      19   have those, that show the graphs and talk about that
   20   correct?                                                20   relationship, what is it that accounts for or
   21      A. I believe that is probably true, and I think      21   explains the varying degrees of plasma concentration
   22   I mentioned that there might be some relationship       22   of Rivaroxaban in the -- in the patients?
   23   in -- in my report also.                                23          MS. CONKLIN: Object to the form.
   24      Q. And what is it, I guess, pathophysiologically     24          THE WITNESS: I'm not sure I follow the
   25   that explains that relationship?                        25      question.


                                              Page 119                                                     Page 121
    1         MS. HOFFMANN: Objection.                           1   BY MR. HONNOLD:
    2         THE WITNESS: Specifically with the                 2      Q. Well, for there to be data that shows a
    3      Neoplastin reagent?                                   3   linear relationship, that would suggest that for
    4   BY MR. HONNOLD:                                          4   some -- some -- there are some patients that have a
    5      Q. Yes?                                               5   plasma -- or serum concentration that's lower down on
    6      A. I think the theory is that there are some          6   the left-hand axis and some that are higher; correct?
    7   reagents that interact with the -- some of the           7          MS. HOFFMANN: I'm going to object. I -- I
    8   substances -- some of -- some of the chemical makeup     8      don't know what study we're talking about. I
    9   of the Xarelto, such that it interferes with the test    9      don't know which graph you're talking about. Are
   10   and that the Neoplastin reagent is actually             10      you just speaking in general about graphs?
   11   sensitive -- more sensitive to the molecule and,        11          I -- I would offer that if you have a
   12   therefore, results in a more kind of linear             12      particular study that you're referring to the
   13   relationship across some continuum.                     13      graft, perhaps we should show that to the
   14      Q. And when the term "linear relationship" is        14      witness.
   15   used, does that mean that -- that as -- as plasma       15          MR. HONNOLD: Believe me, we'll -- we'll get
   16   concentration of Rivaroxaban goes up, then there's a    16      there.
   17   corresponding increase in the Neoplastin PT?            17   BY MR. HONNOLD:
   18      A. I would say generally that's kind of a linear     18      Q. So when you talk about linear relationship of
   19   relationship means in a -- in reference to a            19   a -- of a dataset, when you look at the left-hand
   20   medicine.                                               20   axis, there would be some patients that have lower
   21      Q. Then in your reference list in terms of those     21   serum concentrations that would relate to a lower
   22   graphs that actually show or depict that linear         22   Neoplastin PT; correct?
   23   relationship, what is the source of the -- of that      23          MS. HOFFMANN: Objection to form.
   24   data in those references? Do you know?                  24          MS. CONKLIN: Objection to form.
   25         MS. CONKLIN: Object to the form.                  25          THE WITNESS: I suppose we probably should


                                                                           31 (Pages 118 to 121)
                Golkow Technologies, Inc. - 1.877.370.DEPS
Case 2:14-md-02592-EEF-MBN Document 5517-16 Filed 02/24/17 Page 32 of 57
         Protected - Subject to Further Protective Review
                                             Page 122                                                     Page 124
    1      look at what -- what we're talking about so we        1      talking about stuff that is -- that matters.
    2      can be on the same page, the graphs.                  2          MS. CONKLIN: Well, let's -- let's look at
    3   BY MR. HONNOLD:                                          3      his report.
    4      Q. Okay. Okay. What I'd like you to do is,            4          MR. HONNOLD: Okay. Great. Are you
    5   based upon what we've been talking about, can -- can     5      instructing him not to answer?
    6   you graph out the relationship that you've               6          MS. CONKLIN: I'm not instructing him not to
    7   generally -- that -- that we've been talking about       7      asking him to answer. I'm asking you to move
    8   and that you've seen in some of the references that      8      on --
    9   you've looked at?                                        9          MR. HONNOLD: Okay.
   10      A. So you want me to graph out what a linear         10          MS. CONKLIN: -- because he's not offered as
   11   relationship looks like?                                11      an expert for Neoplastin or for PT.
   12      Q. Right.                                            12   BY MR. HONNOLD:
   13      A. An exact linear relationship would look           13      Q. So you just told me there may be a lot of
   14   something like this, where as you step up this way,     14   things that might explain varying degrees of plasma
   15   you step up this way. But that's obviously not the      15   concentration or serum concentration of Rivaroxaban
   16   way it works in all -- I mean, it's not -- all --       16   in patients. What are they?
   17   every data point is not along that line. The data       17          MS. CONKLIN: Object to the form.
   18   points would be scattered out everywhere. And then      18          THE WITNESS: I guess there could be
   19   there's an attempt mathematically to try to regress     19      patient's specific factors. I supposed there
   20   that line, such that it gives you the slope of all of   20      could be dose factors. I suppose there could be
   21   that data that's available.                             21      something about the way the metabolism of the
   22      Q. Okay. So in that dataset for Rivaroxaban          22      drug is in the body.
   23   patients then, what is it that would explain varying    23          Again, I'm not an expert in pharmacokinetics,
   24   degrees of plasma concentration or serum                24      and I think you're kind of getting out of the
   25   concentration on the left -- on the upright axis?       25      realm of my area of expertise and what I should


                                             Page 123                                                     Page 125
    1        MS. CONKLIN: Objection to form.                     1      be talking about. I certainly don't want to
    2        MS. HOFFMANN: Object to form.                       2      indicate in any way that I have expertise in
    3        MS. CONKLIN: He's not being offered to --           3      pharmacokinetics or Neoplastin PT testing.
    4    he's not offered as an expert for Neoplastin, for       4   BY MR. HONNOLD:
    5    one thing; nor for PT.                                  5      Q. What are the sorts of patient's specific
    6        THE WITNESS: I guess there could be a lot.          6   factors that might influence what a patient's
    7    I'm -- I'm not specific with the specific study         7   Rivaroxaban serum concentration level might be?
    8    you're referring to. We can -- if we want to            8         MS. HOFFMANN: Objection.
    9    look at a specific study, there could be a lot of       9         MS. CONKLIN: Objection to form.
   10    reasons that you could have differences in.            10         THE WITNESS: Potentially organ dysfunction,
   11   BY MR. HONNOLD:                                         11      potentially other medications -- some specific
   12    Q. What are they?                                      12      other medications. I guess the way a patient --
   13        MS. HOFFMANN: Objection.                           13      the way a patient takes the medication in terms
   14        MS. CONKLIN: Counsel, we're -- we're way --        14      of whether they're compliant or not. Those are
   15    I don't even know what we're talking about at          15      general terms, not specific about Rivaroxaban,
   16    this point.                                            16      but about medications.
   17        MR. HONNOLD: We're talking about a label           17   BY MR. HONNOLD:
   18    that he's listed and attached in his reference         18      Q. You've mentioned metabolism in the body. Is
   19    list.                                                  19   there -- is there some variation or variability
   20        MS. CONKLIN: If you want to show him a             20   amongst patients in terms of how they might
   21    graph -- let's talk about something that we can        21   metabolize a patient agent?
   22    ask --                                                 22         MS. CONKLIN: Object to form.
   23        MR. HONNOLD: Okay.                                 23         THE WITNESS: Well, it just depends on how
   24        MS. CONKLIN: -- specific questions about.          24      that agent is metabolized and what its kind of
   25        MR. HONNOLD: Believe we, we're -- we're            25      active form is. And that gets off into more


                                                                          32 (Pages 122 to 125)
                Golkow Technologies, Inc. - 1.877.370.DEPS
Case 2:14-md-02592-EEF-MBN Document 5517-16 Filed 02/24/17 Page 33 of 57
         Protected - Subject to Further Protective Review
                                            Page 126                                                     Page 128
    1      pharmacokinetics and issues. You know, again,       1   clearance less than 15 since drug exposure is
    2      I'm not a pharmacologist. So it gets off into       2   increased.
    3      less clinically relevant things that I'm not an     3          Do you see where I read from?
    4      expert in.                                          4      A. Yes.
    5   BY MR. HONNOLD:                                        5      Q. And -- and so that -- that phrase, "drug
    6      Q. When I asked you about the list, you just        6   exposure" as it's use in this context, what does that
    7   said metabolism in the body. So I just wanted to       7   mean to you?
    8   follow up on that?                                     8          MS. HOFFMANN: Objection.
    9      A. I've -- I've given you about the extent of       9          THE WITNESS: Drug exposure is not typically
   10   where I can go with that.                             10      a term that I use, and so I don't -- I never
   11      Q. If you go to Page 8 of the label, there's a     11      really thought about exactly what it means.
   12   specific section that talks about reversal of         12      Maybe "exposure" indicates how something
   13   anticoagulant effect. I'd like you to look at that    13      interacts with the body and probably is affected
   14   for a moment.                                         14      by external factors such as dose duration or, you
   15         MS. CONKLIN: I'm sorry, are you looking at a    15      know, something like that. But it's not a term
   16      specific section of the label?                     16      that I'm -- that I use or have a specific
   17         MR. HONNOLD: Reversal of Anticoagulant          17      definition for.
   18      Effect, on Page 8. It's just slightly above the    18   BY MR. HONNOLD:
   19      middle of the page.                                19      Q. So have you ever had occasion to refer to the
   20         MS. CONKLIN: Thank you.                         20   Xarelto package insert or labeling information in
   21   BY MR. HONNOLD:                                       21   taking care of patients?
   22      Q. Have you had a chance to take a look at that    22      A. Well, I don't know if I specifically refer to
   23   section?                                              23   it every time I take care of a patient, but I've been
   24      A. Yes, I have.                                    24   familiar with it in my prescribing and, you know,
   25      Q. I want to ask you specifically about the last   25   treatment of patients with it.


                                            Page 127                                                     Page 129
    1   sentence where it says: The use of other               1      Q. So specifically then as it relates to the
    2   procoagulant reversal agents like activated            2   type of patient that's being discussed there in -- in
    3   prothrombin concentrate complex concentrate, (APCC)    3   5.4, where it says "since drug exposure is
    4   or recombinant factor VIIa has not been evaluated.     4   increased," is drug exposure something that can be
    5          Is that a true statement as -- still as of      5   measured in any way?
    6   today?                                                 6         MS. HOFFMANN: Objection.
    7          MS. HOFFMANN: Objection.                        7         THE WITNESS: Well, to me, as a prescriber,
    8          THE WITNESS: I think that statement             8      this -- this sentence simply means to me, just
    9      specifically speaks to the -- to the -- to a        9      avoid it, if they have a creatinine clearance of
   10      clinical trial that would evaluate the use of      10      less than 15. They don't -- you know, it's not
   11      those for the procoagulant reversal. And I'm not   11      described what it means by "drug exposure is
   12      aware of a large clinical trial. There's --        12      increased"; whether that means, you know,
   13      there's scientific evidence out there, but I'm     13      concentration or -- or duration or -- I'm -- I'm
   14      not aware of a specific trial, so . . .            14      not sure.
   15   BY MR. HONNOLD:                                       15         I just know that, according to the label, you
   16      Q. Go to the next page, which is Page 9, please.   16      shouldn't give it to those patients because
   17          And I -- I want to probably ask you a series   17      something changes about it, that --
   18   of questions about a term that's used in various      18   BY MR. HONNOLD:
   19   places of the label.                                  19      Q. And -- and that concept of concentration over
   20          For example, if you look under Section 5.4     20   a period of time, that's area under the curve; right?
   21   under the subheading of Nonvalvular Atrial            21         MS. HOFFMANN: Objection.
   22   Fibrillation -- do you see that?                      22         THE WITNESS: I -- I don't know exactly what
   23      A. Yes, I see that.                                23      you're talking about.
   24      Q. The first sentence there that says: Avoid       24   BY MR. HONNOLD:
   25   the use of Xarelto in patients with creatinine        25      Q. Okay. So that next section where it talks


                                                                         33 (Pages 126 to 129)
               Golkow Technologies, Inc. - 1.877.370.DEPS
Case 2:14-md-02592-EEF-MBN Document 5517-16 Filed 02/24/17 Page 34 of 57
          Protected - Subject to Further Protective Review
                                              Page 130                                                    Page 132
    1   about treatment of DVT, pulmonary embolism, and the      1          MS. CONKLIN: Object to form.
    2   reduction in -- in the risk of recurrence of DVT and     2          MS. HOFFMANN: Objection.
    3   PE, again, it's -- it uses the -- the phrase             3          MR. HONNOLD: No. That -- I mean, that
    4   "increase in Rivaroxaban exposure and pharmacodynamic    4      section means to me that I shouldn't give
    5   effects?"                                                5      patients with a creatine clearance of less than
    6          Do you see that?                                  6      30 Xarelto, and it is because, you know, there is
    7          MS. CONKLIN: Object to the form.                  7      increased exposure and pharmacodynamic effects.
    8          THE WITNESS: Yes.                                 8      It doesn't say what those are.
    9   BY MR. HONNOLD:                                          9          But that suggests to the clinician that you
   10       Q. So that term, "pharmacodynamic effects," as      10      should avoid it because it's not having the
   11   it's used there it the label, does that have any        11      therapeutic effect or whatever effect is intended
   12   particular meaning to you?                              12      and -- with that particular dose for that
   13       A. I mean, my understanding of the general term     13      particular indication.
   14   "pharmacodynamic" is just how the -- how the body --    14   BY MR. HONNOLD:
   15   how the drug interacts with the body. So other than     15      Q. Okay. And so -- so as you read the label,
   16   that, it has no particular meaning.                     16   based upon your education, training, and -- and
   17       Q. So is there a place in the label, for            17   experience, if increase exposure of a drug needs to
   18   example, in 12.2, where we looked before where          18   increase pharmacodynamic effects, does that suggest
   19   pharmacodynamic effects are -- are described?           19   that there may be some relationship to risk of
   20       A. I would have to look --                          20   bleeding?
   21          MS. CONKLIN: Object.                             21          MS. HOFFMANN: Objection to form.
   22       A. -- at 12.2.                                      22          MS. CONKLIN: Object to the form.
   23          12.2, it just -- it just more talks about        23          THE WITNESS: That does not indicate that to
   24   the -- the test that we talked about earlier. It        24      me. It's just not where the intended therapeutic
   25   doesn't have any specifics about how pharmacodynamics   25      effect is. What -- what the other effect is is


                                              Page 131                                                    Page 133
    1   are described.                                           1      not something that you would move further in my
    2      Q. So is one pharmacodynamic effect of -- of          2      thinking, because I know I'm not supposed to use
    3   taking Rivaroxaban an increase in the Neoplastin         3      it in that situation.
    4   prothrombin time?                                        4   BY MR. HONNOLD:
    5          MS. HOFFMANN: Objection.                          5      Q. Then that section where it uses
    6          MS. CONKLIN: Objection.                           6   pharmacodynamic effects, do you know whether that is
    7          THE WITNESS: Again, not being a                   7   speaking to a specific test result?
    8      pharmacologist, what I would say about the            8          MS. HOFFMANN: Objection.
    9      pharmacodynamics effect is -- is the way it           9          THE WITNESS: I -- I do not know that.
   10      interacts with Factor Xa. That's the                 10   BY MR. HONNOLD:
   11      pharmacodynamics of the medication.                  11      Q. So would it be fair to state then that for
   12   BY MR. HONNOLD:                                         12   all the places in this label where issues of
   13      Q. Okay. And the effect is -- on Xa is what?         13   Rivaroxaban exposure are discussed in the context of
   14      A. Well, it -- it binds and inhibits Xa.             14   pharmacodynamic effect, that would not be something
   15      Q. So one specific pharmacodynamics effect of        15   that you have any specific knowledge or understanding
   16   taking Rivaroxaban is inhibition of Factor Xa;          16   of?
   17   correct?                                                17      A. Well, I'm not an expert in that. It's not
   18      A. Yes. But, I mean, I'm not saying it               18   something that I, you know, talk about in terms of in
   19   completely inhibits all of Xa. I'm just saying          19   my clinical practice exposure and the pharmacodynamic
   20   that's the intended effect, and it is a Xa inhibitor.   20   effects and how they're altered. That's more
   21      Q. And so does this section then suggest to you      21   pharmacology.
   22   that as there are changes or increases in Rivaroxaban   22      Q. In your work on this case, have you looked at
   23   exposure that there then can also be increases in the   23   any documents -- internal documents either from Bayer
   24   pharmacodynamic effects of the drug, such as            24   or Janssen?
   25   increased inhibition of Factor Xa?                      25      A. No.


                                                                           34 (Pages 130 to 133)
                Golkow Technologies, Inc. - 1.877.370.DEPS
Case 2:14-md-02592-EEF-MBN Document 5517-16 Filed 02/24/17 Page 35 of 57
          Protected - Subject to Further Protective Review
                                                      Page 134                                             Page 136
    1     Q. Have you seen any -- in your reference list,         1       A. Yes, I would agree with that.
    2   do any of those articles that you've cited speak to       2       Q. So -- so what I would -- what I'd like to do
    3   issues of dose-finding studies that were done to          3   is kind of go paragraph by paragraph and page by page
    4   arrive at the indicated dose for treatment of DVT?        4   and identify what is -- what is really kind of
    5           MS. CONKLIN: Object to the form.                  5   demographic historical data versus what is something
    6           THE WITNESS: I think that the EINSTEIN study      6   that you have -- are providing narrative or comment
    7     references some dose-finding studies, but they're       7   on in terms of -- of a direct, you know, comment or
    8     not studies that I looked at or that are in my          8   statement from you, rather than kind of a recitation
    9     reference list, so -- other than just a reference       9   or download from her medical records.
   10     of a reference.                                        10       A. Okay.
   11   BY MR. HONNOLD:                                          11       Q. Would you be able to do that? And I'll --
   12     Q. So is it fair to state in this case                 12   I'll try to kind of guide you through that.
   13   specifically you do not know how the dose -- specific    13           So why don't we just -- why don't we just
   14   dose for DVT treatment was arrived at specifically?      14   start on Page 8, and specifically start with the
   15     A. Yeah, I'm not aware of that information             15   paragraph that begins with "As of June 4, 2014," and
   16   specifically.                                            16   go to the bottom of Page 8.
   17           MS. HOFFMANN: Brad, can we take a two-minute     17           My question is: Is all of that essentially
   18     break?                                                 18   medical history or medical record information,
   19           MR. HONNOLD: Sure. I'm so sorry. Yes, we         19   without any comment or narrative from you?
   20     certainly can.                                         20       A. Yes, I believe it is.
   21           THE VIDEOGRAPHER: The time is 10:09 a.m. We      21       Q. And there -- there were some places where
   22     are off the record.                                    22   there -- there may be some -- some significant
   23        (A recess was taken from 10:09 until 10:23          23   paraphrase or -- or condensing of information, but
   24   a.m.)                                                    24   it's still things that come from the chart.
   25           THE VIDEOGRAPHER: This begins Disc 4 of          25           For example, if you look at the last sentence


                                                      Page 135                                             Page 137
    1       today's deposition. The time now is 10:23 a.m.        1   of -- of that paragraph that I referred you to, it
    2       We are back on the record.                            2   says: She had begun a workup for chronic kidney
    3    BY MR. HONNOLD:                                          3   disease, although her estimated GFRs were mostly
    4       Q. Doctor, we're back on the record now after         4   always above 60.
    5    the short break?                                         5          Do you see that?
    6          What I'd like to do is spend some time going       6          MS. CONKLIN: Object to the form.
    7    through certain aspects your report, Exhibit 7. So       7          THE WITNESS: Yes, I see that.
    8    if you could get that before you, that would be          8   BY MR. HONNOLD:
    9    helpful.                                                 9      Q. So that's a -- that's a -- that's a statement
   10          In the event -- I'm going to jump around a        10   that comes from the medical records, but it really
   11    bit, and I'll try to clearly state or identify the --   11   condenses a fair amount of historical information in
   12    the areas where I have questions.                       12   terms of summarizing her GFRs over time; correct?
   13          But what I'd like to do first is to go to the     13      A. Right. I didn't list the GFRs out. Yes, I
   14    section of your report that starts on Page 8 where it   14   did not.
   15    says "Dora Mingo" and really focus then on Pages 8      15      Q. So what I'd like to do now is go to Page 9
   16    through 12.                                             16   and look at that paragraph that begins at the top of
   17          So if you would go to Page 8, I would             17   Page 9 and goes to just below half-way down.
   18    appreciate it.                                          18          And same question: Is the information there
   19       A. Okay.                                             19   historical medical record information, rather than
   20       Q. Are you there?                                    20   commentary -- commentary or kind of explanatory
   21       A. Yes.                                              21   information from you?
   22       Q. Now, if you look at the information on            22      A. I would say it -- it's all contained in the
   23    Page 8, 9, 10, 11, and 12, much of that is historical   23   medical record. The last sentence is basically a
   24    medical record or medical data information for          24   summary of -- of her --
   25    Mrs. Mingo; right?                                      25      Q. Right.


                                                                            35 (Pages 134 to 137)
                   Golkow Technologies, Inc. - 1.877.370.DEPS
Case 2:14-md-02592-EEF-MBN Document 5517-16 Filed 02/24/17 Page 36 of 57
         Protected - Subject to Further Protective Review
                                              Page 138                                                    Page 140
    1      A. -- of her labs that I've listed out totally,       1   medical record. That is me saying that that -- that
    2   so . . .                                                 2   is an appropriate dose.
    3      Q. Right.                                             3      Q. You're just confirming that that is, in fact,
    4          Meaning that there isn't a place that you go      4   the indicated dose for her particular circumstance?
    5   in the chart where it specifically says 4-gram drop.     5      A. That is correct.
    6   You've simply done the math to correlate hemoglobin      6      Q. All right. Let's go on to Page 10 then.
    7   from a beginning time sequence to an end time            7   Let's go -- same -- same questions for those top
    8   sequence and calculated the reduction in time;           8   three lines up on the top of Page 10, as well as
    9   correct?                                                 9   that -- that next full paragraph on Page 10.
   10      A. That's correct.                                   10      A. You want me to go through the first full
   11          MS. HOFFMANN: Objection.                         11   paragraph, you said?
   12          THE WITNESS: I've summarized the -- the data     12      Q. Yes, yes. And, again, just -- just delineate
   13      points that I've -- that I listed out                13   for me which is just raw, historical medical record
   14      individually.                                        14   information versus what is some commentary or
   15   BY MR. HONNOLD:                                         15   explanation by you.
   16      Q. And the source of those data points was all       16      A. I believe that -- that the last bit of the
   17   the Mingo medical records; correct?                     17   paragraph at the top of the page, as well as the
   18      A. That's correct.                                   18   first full paragraph all contains factual information
   19      Q. So the same question then for the -- for the      19   from the medical records, with the exception of the
   20   remainder of the information on the, you know, kind     20   last phrase, after the comma in "visit," which was me
   21   of the bottom third to one-fourth of Page 9: Is         21   indicating my opinion was that Dr. Hercules made a
   22   that, again, all historical medical record              22   reasonable decision not to stop the Xarelto and
   23   information?                                            23   aspirin, and -- and why I thought that was a
   24          Perhaps with the exception of what you state     24   reasonable decision. I don't think he actually
   25   about the dose -- her dose of Xarelto.                  25   stated that in the medical records.


                                              Page 139                                                    Page 141
    1         MS. HOFFMANN: So, I'm sorry, the pending           1           MS. HOFFMANN: Did you want him to go on to
    2      question is whether or not the information, with      2       the next part?
    3      the exception of that one part about the dose,        3           MR. HONNOLD: Yes.
    4      comes from the medical records?                       4   BY MR. HONNOLD:
    5         MR. HONNOLD: Yes.                                  5       Q. Let's go ahead and go on to the next
    6   BY MR. HONNOLD:                                          6   paragraph on Page 10.
    7      Q. And -- and here's what I'm asking you,             7       A. I believe that's all factual information in
    8   Doctor, so you -- I -- I don't mean to be confusing      8   the next paragraph.
    9   about this, but there are -- there are -- been many      9       Q. Thank you.
   10   experts who have written these reports where they'll    10           Same questions then for the information at
   11   insert some education plan story information, or they   11   the very bottom of Page 10, going through that first
   12   try to make certain inferences from -- from things?     12   paragraph break there at the top of Page 11.
   13         And I'm just trying to identify truly on          13       A. I believe that's all factual information.
   14   these pages what is just raw, historical data, versus   14       Q. Thank you.
   15   what is something that you have put in by way of        15           Same question then for that middle paragraph
   16   explanatory information.                                16   on Page 11.
   17      A. Okay.                                             17       A. I believe that's all factual.
   18      Q. And, again, now we're focusing on that bottom     18       Q. Again, same questions then for the bottom
   19   paragraph on Page 9.                                    19   paragraph on Page 11.
   20      A. So I believe all that information is              20       A. So down to the last full sentence, I think
   21   contained in the medical record. I think the phrase     21   it's all factual, with the exception of I do state
   22   where I say "Which was an appropriate dose for her,     22   why the Protonix is -- why Protonix is administered
   23   given that her creatinine was 1.14," the -- the part    23   to decease acid production in the stomach. So that's
   24   about the appropriate dose for her, given that her      24   stating something that is maybe not contained in the
   25   creatinine -- that is -- that wasn't written in the     25   medical record.


                                                                           36 (Pages 138 to 141)
                Golkow Technologies, Inc. - 1.877.370.DEPS
Case 2:14-md-02592-EEF-MBN Document 5517-16 Filed 02/24/17 Page 37 of 57
         Protected - Subject to Further Protective Review
                                              Page 142                                                   Page 144
    1          Do you want me to keep going on to the next       1   BY MR. HONNOLD:
    2   page?                                                    2     Q. Right?
    3      Q. Yeah.                                              3     A. Or if they were to continue, let's say, to
    4          Then why don't we go on through the remainder     4   bleed?
    5   of that at the bottom of 11 and the top of Page 12.      5         You know, presumably if someone -- yes, so I
    6          Is it fair to say for that information, the       6   see what you're saying. So -- so one point in time
    7   last full sentence on 11 and then the sentences that     7   doesn't show you changes over time, obviously.
    8   carry on to the top of Page 12, that that is fair to     8     Q. Right.
    9   state that that is somewhat commentary, or your view,    9         So a -- a patient like Mrs. Mingo, who -- who
   10   I guess, of -- of her situation when she was in the     10   presents with a drop in hemoglobin or an anemia,
   11   emergency department?                                   11   there -- it would at least be reasonable for a
   12          MS. CONKLIN: Object to the form.                 12   physician to be concerned, prospectively, about the
   13          THE WITNESS: It's probably my -- the last        13   potential of these sorts of cardiac conditions
   14      sentence on 11, leading into and ending on the       14   potentially developing; correct?
   15      top of Page 12, and then the -- then the first       15         MS. CONKLIN: Object to the form.
   16      full sentence on Page 12 is basically my overview    16         THE WITNESS: I don't -- typically, that's
   17      of her presentation. The last sentence on the        17     not the way clinically you think. I mean, you
   18      top of Page 12 is actually fact from the medical     18     don't think, well, I'm concerned this is going to
   19      record.                                              19     occur. You kind of look at the symptoms and you
   20   BY MR. HONNOLD:                                         20     determine what -- what you believe is present,
   21      Q. When patients like Ms. Mingo experience a         21     and then you try to, you know, treat the
   22   drop in hemoglobin, is -- is one possible sequela of    22     condition such -- such that if you think there's
   23   that that they may have some cardiac effects?           23     ischemia present, if you reverse that ischemia.
   24      A. Certainly a -- a low hemoglobin can cause --      24         But I'm sure that if you think -- clinically,
   25   the principal thing that we worry about is it causes    25     usually you don't think forward what might happen


                                              Page 143                                                   Page 145
    1   ischemia to heart tissue. So low oxygen delivery         1     if.
    2   causes lack of oxygen to the cardiac monocytes, which    2   BY MR. HONNOLD:
    3   results in killing the monocytes. It can also cause      3     Q. There wasn't anything wrong --
    4   a high cardiac output failure to the heart. So you       4         MS. HOFFMANN: Wait. Was he finished?
    5   could -- you could over -- kind of, more or less,        5         MR. HONNOLD: Oh, I didn't mean to interrupt
    6   terms overwork the heart until the point that it         6     him.
    7   doesn't work correctly.                                  7         THE WITNESS: I was finished.
    8         So those are two possible options with severe      8         MS. HOFFMANN: Okay.
    9   anemia, not necessarily to -- I'm not saying             9         MR. HONNOLD: Yes.
   10   necessarily to the level that she had, but those are    10         MS. HOFFMANN: I'm sorry, I had my head down,
   11   two things that we think about with patients with       11     and I just heard not a period at the end of that
   12   severe anemia.                                          12     sentence.
   13      Q. And there are times when a patient does           13         MR. HONNOLD: We're going to have to move you
   14   present with some -- some amenia or an interval drop    14     down to the corner.
   15   in hemoglobin. You don't always know where that         15         MS. HOFFMANN: Sorry.
   16   patient might end up, correct, in terms of the          16   BY MR. HONNOLD:
   17   process that's been going on, that -- for -- for        17     Q. Was there anything wrong or inappropriate or
   18   example, a patient might present with a 9, but if       18   negligent about sending her in the intensive care
   19   they've had some process going on, there still might    19   unit?
   20   be some drop from 9; correct?                           20         MS. CONKLIN: Object to the form.
   21         MS. CONKLIN: Object to form.                      21         THE WITNESS: No, not at all. I mean,
   22         MS. HOFFMANN: Objection.                          22     oftentimes that is -- there's -- sending someone
   23         THE WITNESS: So you're saying you don't           23     to the intensive care unit can be a -- can be a
   24      know -- well, you don't know if one point in time    24     complex process in terms of how you decide who
   25      check what the nadir would be?                       25     goes where. It can be physician-centric; it can


                                                                           37 (Pages 142 to 145)
                Golkow Technologies, Inc. - 1.877.370.DEPS
Case 2:14-md-02592-EEF-MBN Document 5517-16 Filed 02/24/17 Page 38 of 57
         Protected - Subject to Further Protective Review
                                              Page 146                                                     Page 148
    1      be patient-centric. It could be                       1   may cause -- we've talked about the heart -- but it
    2      recourse-centric. So there -- there are a lot of      2   may cause cardiac irritability onset of -- of heart
    3      reasons how or why a patient ends up in the           3   failure, might induce arrhythmia, things of that
    4      intensive care unit.                                  4   nature?
    5         Now, obviously, if you are critically ill and      5         MS. HOFFMANN: Objection to form.
    6      require resources that are only provided in an        6         MS. CONKLIN: Objection.
    7      intensive care unit, that's -- that's an easier       7         THE WITNESS: Arrhythmia is less likely. We
    8      decision.                                             8      did talk about ischemia and heart failure. And
    9         But absent that, the decision of where to put      9      those things are usually acute; they're not
   10      a patient, there's a lot of input into that          10      persistent. So once you deal with the problem at
   11      decision.                                            11      hand that's resulting in the abnormal physiology,
   12   BY MR. HONNOLD:                                         12      then those things resolve.
   13      Q. And it -- it may be facility-specific in          13   BY MR. HONNOLD:
   14   terms of the other options that were available. For     14      Q. And in other organs, might induce things such
   15   example, really what were their capabilities for        15   as acute renal failure or a -- a shocked liver?
   16   patient monitoring on their regular medical surgical    16      A. Those --
   17   floor, for example; right?                              17      Q. Correct?
   18         MS. CONKLIN: Object to the form.                  18      A. Those things can happen with severe
   19         THE WITNESS: That -- that can be true of --       19   hypotension, yes.
   20      of some hospitals, that there are certain            20      Q. And if you go back to Page 11, you do make
   21      resources that are only available at certain         21   the statement near the bottom of Page 11 or -- or you
   22      places or monitoring at certain places.              22   include from the medical record the information that
   23   BY MR. HONNOLD:                                         23   she had a -- a PT of 26.2 seconds.
   24      Q. If blood loss is significant enough, can --       24         Do you see that?
   25   can patients actually experience cardia arrest?         25      A. Yes.


                                              Page 147                                                     Page 149
    1     A. You could -- you could bleed to death. Yes,         1      Q. And that was against a normal range of 13 to
    2   you can bleed to death.                                  2   15 seconds; correct?
    3     Q. But short of an absolute exsanguination, I          3      A. That's correct.
    4   mean, can -- can blood loss induce certain organ         4      Q. And do you know from any of the medical
    5   dysfunction that can be significant?                     5   records or testimony that you've read in this case
    6         MS. CONKLIN: Object to form.                       6   what reagent was used for that prothrombin time test?
    7         MS. HOFFMANN: Object -- yeah.                      7      A. I do not.
    8         THE WITNESS: So blood loss can result in --        8      Q. Anywhere specifically in your report do you
    9     the effect of blood loss on the body can result        9   set forth or list the possible causes or explanations
   10     in, say, for example, the blood pressure to -- to     10   for that prothrombin time of 26.2?
   11     drop to a dangerously low level, and that -- that     11         MS. CONKLIN: Object to the form.
   12     could cause a lack of profusion to organs, which      12         THE WITNESS: I think I do in -- in -- in my
   13     could sustain injury because of that.                 13      case discussion state that -- discuss that, that
   14         It's probably more of the effect of the blood     14      the PT doesn't provide the clinician -- in the
   15     loss on the physiology, rather than the direct        15      way it's used in clinical practice, doesn't
   16     blood loss.                                           16      provide the clinician with information above and
   17   BY MR. HONNOLD:                                         17      beyond indicating that the patient has some
   18     Q. So blood loss can lead to volume loss or           18      effect of the drug.
   19   hypovolemia, which can lead then to hypotension,        19         But in routine clinical practice as of today,
   20   which then can lead to a decrease in organ profusion?   20      PT test is not used to assess the degree of
   21         MS. CONKLIN: Object to the form.                  21      anticoagulant activity in a patient taking
   22         THE WITNESS: That's across the continuum.         22      Xarelto, and it really doesn't affect the
   23     That's -- that's a true statement.                    23      decision-making process about how to treat the
   24   BY MR. HONNOLD:                                         24      patient.
   25     Q. And if -- if that happens to some organs, it       25   BY MR. HONNOLD:


                                                                           38 (Pages 146 to 149)
                Golkow Technologies, Inc. - 1.877.370.DEPS
Case 2:14-md-02592-EEF-MBN Document 5517-16 Filed 02/24/17 Page 39 of 57
         Protected - Subject to Further Protective Review
                                             Page 150                                                     Page 152
    1      Q. And -- and I appreciate that. My -- my             1      PCC, it doesn't matter to me what the PT is. And
    2   question was just slightly differently?                  2      it's the same decision as if the PT test is 29;
    3          Do you -- do you state anywhere the list of       3      I'm still going to treat the patient based on all
    4   causes or possible causes of why that hemoglobin was     4      the information that I have. And the PT is just
    5   elevated?                                                5      a single piece of data.
    6          MS. CONKLIN: Object to the form.                  6   BY MR. HONNOLD:
    7          THE WITNESS: You mean the PT?                     7      Q. When you use Kcentra to reverse the effects
    8   BY MR. HONNOLD:                                          8   of Coumadin, do you generally get an INR first?
    9      Q. The PT. I'm so sorry.                              9      A. Well, typically, if I'm -- the answer to that
   10      A. I don't believe I specifically list that out.     10   is usually not. Typically, if I'm treating a patient
   11   I just try to -- to -- to highlight what the clinical   11   with an emergent condition with PCC and they're on
   12   utility of -- of the PT test is in that scenario and    12   Coumadin, then I just give the maximum dose of -- of
   13   what it means to the clinician.                         13   Kcentra and don't necessarily base it on -- base it
   14      Q. And based upon a reference that you gave me       14   on the PT -- I mean, excuse me, the INR value.
   15   in your prior answer, does that mean that the           15      Q. In any of the literature that you've cited in
   16   elevated PT confirms the presence of drug on board or   16   your -- in your reference list, is there anything
   17   that the patient has been ingesting -- or consistent    17   that states what the average or median PT was for
   18   with ingestion of Rivaroxaban?                          18   patients in EINSTEIN?
   19          MS. CONKLIN: Object to the form.                 19           MS. CONKLIN: Object to the form.
   20          THE WITNESS: So my interpretation of it is       20           THE WITNESS: I'm not familiar with that
   21      there is some -- there is some effect of             21      information.
   22      Rivaroxaban.                                         22   BY MR. HONNOLD:
   23   BY MR. HONNOLD:                                         23      Q. Have you at any point in time read the ROCKET
   24      Q. And based upon not only your -- your clinical     24   study, the clinical trial that lead to the approval
   25   experience but -- but the information that's in         25   of Rivaroxaban for the nonvalvular atrial


                                             Page 151                                                     Page 153
    1   your -- your references that you've listed in your       1   fibrillation indication?
    2   report, what is the PT that you would expect to see      2          MS. HOFFMANN: Objection to form.
    3   for a patient who is taking the dose of Rivaroxaban      3          THE WITNESS: I'm familiar with the ROCKET
    4   that Ms. Mingo was?                                      4      study. I don't know if I've read the study from
    5          MS. CONKLIN: Object to the form.                  5      word one to word end.
    6          THE WITNESS: I have no particular                 6   BY MR. HONNOLD:
    7      expectation of what that PT would be.                 7      Q. In any of your work on this case, have you
    8   BY MR. HONNOLD:                                          8   looked at any material that was generated by the FDA
    9      Q. So for a patient like Ms. Mingo taking             9   as part of their review process leading to approval
   10   Rivaroxaban, your view is is that you don't -- you      10   of Rivaroxaban for any of its indications?
   11   don't really have any view of what the -- what the PT   11          MS. CONKLIN: Objection.
   12   should be as a result of taking the drug, other than    12          MS. HOFFMANN: Are you including the label?
   13   that you -- it would not surprise you for it to be      13          MR. HONNOLD: Other than the label.
   14   somewhat elevated as a result of her taking the drug?   14          MS. HOFFMANN: Thank you.
   15          MS. CONKLIN: Objection to the form.              15          THE WITNESS: Not other than the label.
   16          MS. HOFFMANN: Objection.                         16   BY MR. HONNOLD:
   17          THE WITNESS: Yes. To me, it's a clinically       17      Q. Okay. So you've not looked at any of the FDA
   18      irrelevant -- it's -- it's not a necessary piece     18   briefing documents or any of the clinical or
   19      of information as to how I'm going to treat          19   pharmacologic reviews that were done leading up to
   20      Ms. Mingo.                                           20   approval?
   21          So if Ms. Mingo comes in and tells me that       21      A. I have not.
   22      she takes -- she took her last dose of               22      Q. Do you know whether your laboratory has
   23      Rivaroxaban and I order a PT and it's normal and     23   available any of the for-research-use-only assays for
   24      I believe that she is unstable -- and I'm making     24   determining a Rivaroxaban level?
   25      all this up -- and I'm going to treat her with       25          MS. CONKLIN: Object to the form.


                                                                           39 (Pages 150 to 153)
                Golkow Technologies, Inc. - 1.877.370.DEPS
Case 2:14-md-02592-EEF-MBN Document 5517-16 Filed 02/24/17 Page 40 of 57
         Protected - Subject to Further Protective Review
                                              Page 154                                                     Page 156
    1         THE WITNESS: I do not know that. But if            1     Q. What are the possible explanations for that
    2      they're for research only, I would guess that the     2   PT still being elevated on --on February 14th, after
    3      clinical lab does not have those.                     3   she had not taken indicated doses and was receiving
    4   BY MR. HONNOLD:                                          4   blood products?
    5      Q. Were -- were you -- have you ever been a           5         MS. CONKLIN: Object to the form.
    6   clinical -- clinical trial sponsor for Janssen or        6         THE WITNESS: Well, it could be from -- it
    7   Bayer in your career?                                    7     could be from the fresh frozen plasma that was --
    8      A. Meaning -- well, the answer to that is no.         8     that was administered. Fresh frozen plasma has
    9         But I wanted to clarify "sponsor." You mean        9     an INR of 1.5. So that's one possible
   10   a --                                                    10     explanation.
   11      Q. Trial site.                                       11         Bleeding, to some degree, can induce a
   12      A. No.                                               12     coagulopathy, because the body is attempting to
   13      Q. Let's keep going through your report like we      13     control the bleeding with -- through the normal
   14   did before.                                             14     coagulation cascade. So you can utilize the
   15         Let's go ahead and go to the middle -- well,      15     clotting factors faster than you can produce
   16   everything else on Page 12, down to the subheading of   16     them. So it's a possibility that it was an
   17   Case Discussion and Opinions.                           17     artifact of -- of the bleeding.
   18      A. I believe that's all actual information.          18         And then I don't have the exact time that
   19      Q. In terms of your review of the medical            19     this was measured, but -- and, again, I'm not a
   20   records in this case, did -- what is your view as to    20     pharmacology expert -- but she had taken a dose
   21   whether or not Ms. Mingo took any Rivaroxaban on        21     of Rivaroxaban 24 hours ago. So I suppose
   22   February 13th?                                          22     there's a possibility that there -- there was
   23         MS. HOFFMANN: Did you say based on the            23     still some effect of the Rivaroxaban. Although I
   24      medical records?                                     24     think that's a lower -- a lot lower possibility,
   25         MR. HONNOLD: Medical records or anything          25     given what I know about the pharmacokinetics of


                                              Page 155                                                     Page 157
    1     else he's reviewed.                                    1      the drug.
    2         MS. HOFFMANN: Thank you.                           2   BY MR. HONNOLD:
    3         THE WITNESS: My understanding is that she          3      Q. And -- and tell me specifically in terms of
    4     took a 15-milligrams dose on the morning of            4   pharmacokinetic attributes of the drug, what -- what
    5     February 13th, and that was her last 15-milligram      5   about those attributes would make Rivaroxaban a lower
    6     dose.                                                  6   likelihood explanation for that PT still being
    7   BY MR. HONNOLD:                                          7   elevated on the 14th?
    8     Q. And -- and did not take any more Xarelto on         8      A. Well, you would have cycled through probably
    9   February 13th; correct?                                  9   three half-lives or so of the drug. So typically, by
   10     A. That's my understanding.                           10   cycling through that many half-lives, the
   11     Q. And did not take any Xarelto on                    11   pharmacologic effect of -- of a drug would almost not
   12   February 14th; right?                                   12   be present, assuming that you're otherwise
   13     A. Correct.                                           13   metabolizing the drug appropriately.
   14     Q. So your view in terms of her entire -- the         14      Q. Can that process of drug elimination or
   15   entirety of Ms. Mingo's usage of Xarelto, the last      15   metabolization change or be altered as a result of
   16   dose was the 15-milligram -- the single 15-milligram    16   bleeding?
   17   dose she took on February 13th; correct?                17      A. Not to my knowledge.
   18     A. Correct.                                           18      Q. So when you said that that -- the 16.4 PT
   19         MS. CONKLIN: Object to the form.                  19   could be the result of bleeding, you were talking
   20   BY MR. HONNOLD:                                         20   about kind of that depletion phenomenon that it might
   21     Q. Then on Page 12 where you refer to a PT of         21   be elevated because her body had already used up its,
   22   16.4, that suggests that her PT was still elevated to   22   I guess, storage of -- of -- of factors or -- or
   23   some degree on February 14th; correct?                  23   blood components?
   24     A. Well, it was above the lab -- upper limit of       24         MS. CONKLIN: Object to the form.
   25   normal, 15.                                             25         THE WITNESS: Bleeding itself can induce


                                                                           40 (Pages 154 to 157)
                Golkow Technologies, Inc. - 1.877.370.DEPS
Case 2:14-md-02592-EEF-MBN Document 5517-16 Filed 02/24/17 Page 41 of 57
         Protected - Subject to Further Protective Review
                                              Page 158                                                    Page 160
    1      coagulopathies simply just from overconsumption.      1      Q. Let's go on to Page 12 then.
    2   BY MR. HONNOLD:                                          2         And what -- what -- was it your idea to break
    3      Q. And -- and you use the term                        3   your report down into the sections that you have,
    4   "overconsumption." I said "depletion." But we're --      4   including the Ms. Mingo section that we've just
    5   we're talking about the same phenomenon?                 5   reviewed and -- and then the Case Discussion and
    6      A. Yes, I believe so.                                 6   Opinion section that starts at the very bottom of
    7      Q. And then I think you said down to the              7   Page 12?
    8   subheading of Case Discussion and Opinions that's,       8         MS. HOFFMANN: Objection. I think that's
    9   again, all medical record data; correct?                 9      getting dangerously close to attorney/client
   10      A. That's correct.                                   10      privilege.
   11      Q. Have you been called upon sales                   11         MR. HONNOLD: I -- I don't know.
   12   representatives of either Bayer and/or Janssen          12         THE WITNESS: You guys tell me what you want
   13   related to Rivaroxaban?                                 13      me to do. You're looking at me like --
   14      A. I know I did have a meeting with a sales          14   BY MR. HONNOLD:
   15   representative that was trying to get the hospital      15      Q. Was the format of your opinion something that
   16   information about the -- I'm not even sure what the     16   a lawyer told you to do?
   17   program that they have to provide a trial of            17         MS. HOFFMANN: Objection.
   18   Rivaroxaban. And I referred that person to the          18         THE WITNESS: No. This is the way I
   19   pharmacy department, one of our clinical pharmacists.   19      formulated the report.
   20      Q. And do you know whether that representative       20   BY MR. HONNOLD:
   21   was from Bayer and/or -- or Janssen?                    21      Q. In this case, do you specifically have an
   22      A. I have no idea.                                   22   understanding as to why any of the PT tests were
   23      Q. Was it your understanding that they were --       23   performed on Ms. Mingo?
   24   they were looking to try to introduce Xarelto into      24      A. I have an opinion as to why they were
   25   the hospital formulary or have it be a medication       25   performed, and then I've got some information based


                                              Page 159                                                    Page 161
    1   taken into account to be given at discharge, or both?    1   on the deposition testimony.
    2          MS. CONKLIN: Object to the form.                  2      Q. I want to get to what is your understanding
    3          THE WITNESS: I believe that the medication        3   of why it was done based upon testimony.
    4      was already formulary. I -- I think it was more       4      A. My overall understanding, it was done out of
    5      knowing the -- we serve a patient population that     5   matter of routine on a patient that is taking an
    6      has -- that's got a high self-pay or                  6   anticoagulant, an oral anticoagulant.
    7      non-commercial payer mix, and they were thinking      7      Q. Have you, at any time in your work on this
    8      that this could be beneficial to that patient         8   case, taken the PT level that Ms. Mingo had and then
    9      population, because there's some program to help      9   gone to any source to try to correlate it with a
   10      provide the medication.                              10   serum or plasma concentration level of Rivaroxaban?
   11   BY MR. HONNOLD:                                         11      A. I have not.
   12      Q. So it was some sort of a financial incentive      12      Q. In your work on this case, have you been
   13   program, whether it was samples or coupons or a trial   13   privy to, I guess, either in terms of documents or
   14   course of the drug, something like that?                14   materials that you've reviewed or things that you've
   15          MS. HOFFMANN: Objection.                         15   been told about how patients had their PT tested
   16          MS. CONKLIN: Object to the form.                 16   during the ROCKET trial?
   17          THE WITNESS: I know it wasn't samples,           17          MS. CONKLIN: Object to the form.
   18      because our hospital doesn't allow samples. But      18          THE WITNESS: The only thing I can remember
   19      it was some -- yes, some program that they have      19      about any of that was in some of the deposition
   20      to help with the medication. I'm not exactly         20      testimony, some -- there was some questions of
   21      sure what it is, because I just referred the         21      the treating physicians specifically relating to
   22      patient -- or the -- the sales rep right off,        22      that issue of the ROCKET trial. That's the only
   23      because I don't -- I'm not involved in those         23      thing I recall at all.
   24      decisions.                                           24   BY MR. HONNOLD:
   25   BY MR. HONNOLD:                                         25      Q. But -- but do you specifically -- do you


                                                                           41 (Pages 158 to 161)
                Golkow Technologies, Inc. - 1.877.370.DEPS
Case 2:14-md-02592-EEF-MBN Document 5517-16 Filed 02/24/17 Page 42 of 57
         Protected - Subject to Further Protective Review
                                             Page 162                                                     Page 164
    1   specifically know in terms of how PT testing was done    1   reference list that speak to that issue. You've not
    2   and for what purpose in the ROCKET trial?                2   gone through to try to kind of look at all of those
    3       A. Outside of those questions, that's the only       3   things and the basis for that and -- and evaluate
    4   thing I've ever heard about, so I don't know. I          4   that information; correct?
    5   don't have any other information.                        5         MS. CONKLIN: Object to the form.
    6       Q. Have you ever reviewed any piece of medical       6         THE WITNESS: And give opinions about it, no,
    7   literature that suggests that the Neoplastin PT is a     7      I have not.
    8   relatively reliable laboratory test to evaluate the      8   BY MR. HONNOLD:
    9   level of anticoagulation or anticoagulant effect in a    9      Q. And it's not referenced anywhere in your
   10   patient taking Xarelto?                                 10   report; correct?
   11           MS. CONKLIN: Object to the form.                11      A. Not that specific information. That's
   12           THE WITNESS: I've reviewed literature that      12   correct.
   13       alludes to that, but I've not reviewed anything     13      Q. When Ms. Mingo was initially taking Lovenox,
   14       that shows that that test, you know, should be      14   would that have been a drug that would have effected
   15       used regularly to assess the effect of Xarelto,     15   her PT level?
   16       mainly because I think it is so predictable that    16      A. It -- it can have variable effects on a PT
   17       it wouldn't really be necessary to do that.         17   level, yes.
   18   BY MR. HONNOLD:                                         18      Q. When you are treating patients with -- well,
   19       Q. When you say "it's so predictable," what do      19   strike that.
   20   you mean?                                               20         Do you have occasion in the hospital where
   21       A. Meaning that it's not influence -- so, for       21   you might actually administer Lovenox to a patient
   22   example, Coumadin is influenced by so many different    22   and then follow them for some period of time through
   23   things: Dose, patient-specific factors, diet, that      23   subsequent administrations or doses?
   24   it -- it's not necessarily predictable in the way       24      A. Yes. There are several scenarios in which I
   25   it -- its effects are on the body.                      25   might do that.


                                             Page 163                                                     Page 165
    1          But Rivaroxaban tends to be much more             1      Q. Okay. And Lovenox, that's a know
    2   predictable in its pharmacology and, therefore,          2   molecular-weight heparin; correct?
    3   routine testing and monitoring is not necessary.         3      A. That's correct.
    4      Q. You said that some of the literature you've        4      Q. And it works by inhibiting Factor Xa as well;
    5   looked at, it's alluded do. What do you mean by          5   correct?
    6   that?                                                    6          MS. CONKLIN: Object to the form.
    7      A. Meaning I haven't systematically searched the      7          THE WITNESS: It works at the Factor Xa -- Xa
    8   literature to, you know, look at -- look -- study and    8      level; although it's not a direct inhibitor.
    9   learn and become an expert in Neoplastin tests. I        9   BY MR. HONNOLD:
   10   mean, I know I've seen written that -- and seen         10      Q. And is there a laboratory test that can be
   11   questions in the depositions that -- that there's --    11   used to monitor the effects of Lovenox on a patient?
   12   there may be some information about a dose -- linear    12          MS. CONKLIN: Object to the form.
   13   dose relationship, but I didn't get into it anymore     13          THE WITNESS: You can measure antithrombin
   14   that are than, because I wasn't asked, in my view, to   14      levels on Lovenox patients. It's not typically
   15   do that for this case. I was asked to really look at    15      something that is done routinely, but I know it
   16   Ms. Mingo specifically.                                 16      can be done.
   17      Q. Okay. And that's why at the beginning I kind      17   BY MR. HONNOLD:
   18   of asked you what was your -- what was your             18      Q. Is it something that you might be concerned
   19   assignment or what was the question that was posed at   19   about in patients that have a fluctuation in their
   20   the outset, to kind of see what the -- what the         20   renal function?
   21   general parameters of your -- of your engagement        21      A. I suppose that's possible. I mean, we know
   22   were.                                                   22   that -- that -- that Lovenox can be effected by --
   23          But you've not viewed it as part of your work    23   the effects of it can be effected by renal function.
   24   on this case to kind of evaluate the various medical    24      Q. Do you know in your laboratory at your
   25   literature that -- that -- or actually in your          25   hospital whether your Factor Xa test or


                                                                           42 (Pages 162 to 165)
                Golkow Technologies, Inc. - 1.877.370.DEPS
Case 2:14-md-02592-EEF-MBN Document 5517-16 Filed 02/24/17 Page 43 of 57
           Protected - Subject to Further Protective Review
                                                            Page 166                                              Page 168
    1   anti-Factor Xa test, whether it -- or what                      1   related to it.
    2   medications it has been calibrated for?                         2      Q. And just generally, are you -- are you
    3          MS. CONKLIN: Objection to form.                          3   familiar with, you know, any particular points that
    4          THE WITNESS: I do not know that.                         4   Dr. Samama has advocated or -- or suggestions that
    5   BY MR. HONNOLD:                                                 5   he's made in any of his writings?
    6     Q. What situations or circumstances do you                    6          MS. CONKLIN: Object to the form.
    7   prescribe an anti-Factor Xa test -- or order, excuse            7          THE WITNESS: Not specific points.
    8   me?                                                             8   BY MR. HONNOLD:
    9     A. In my clinical practice, I really don't have               9      Q. Do you recall anything about the
   10   utility for anti-Factor Xa test.                               10   recommendations or conclusions that Dr. Samama has
   11     Q. Okay. Do you, yourself, as -- as -- and I'm               11   drawn that if a clinician is interested in evaluating
   12   going to use the term "alone" -- but independently on          12   the anticoagulant status of a patient that's on
   13   occasion have to treat ulcers endoscopically -- I              13   Rivaroxaban, what laboratory tests would be the best
   14   mean, actually provide curative treatment?                     14   one to use for that?
   15     A. I don't do endoscopies, if that's what you're             15          MS. CONKLIN: Object to the form.
   16   asking.                                                        16          THE WITNESS: I'm not specifically familiar
   17     Q. That's kind of what I was asking. It                      17      with that recommendation.
   18   wouldn't include that? Okay.                                   18   BY MR. HONNOLD:
   19          When endoscopy is necessary, then is that               19      Q. Do you know whether or not any employees of
   20   usually through consulting a GI physician?                     20   Janssen and/or Bayer have been co-authors with
   21     A. That's correct.                                           21   Dr. Samama on any of his writings on the issue of
   22          MR. HONNOLD: I don't want to get messed up              22   measuring the effects of Rivaroxaban using laboratory
   23     in terms of time, what we need -- let's go off               23   tests in patients?
   24     the record real quick. Sorry.                                24          MS. CONKLIN: Object to the form.
   25          THE VIDEOGRAPHER: The time now is 11:12 a.m.            25          THE WITNESS: I have no idea.


                                                            Page 167                                              Page 169
    1     We are off record.                                            1   BY MR. HONNOLD:
    2          (A recess was taken from 11:12 until                     2      Q. Is it your view in Ms. Mingo's circumstance
    3   11:18 a.m.)                                                     3   that her hemoglobin improved when she stopped taking
    4          THE VIDEOGRAPHER: The time now is 11:18 a.m.             4   Lovenox?
    5     We are back on the record.                                    5         MS. HOFFMANN: Objection.
    6   BY MR. HONNOLD:                                                 6         THE WITNESS: Well, as I point out in my
    7     Q. Doctor, we're back on the record now after a               7      report, there -- there is a change in her
    8   short break?                                                    8      hemoglobin concentration between the last one
    9          The depositions -- all of the depositions                9      measured in the hospital after her hip surgery
   10   that you've reviewed in this case, they're set forth           10      and the next one measured; and that's a rise.
   11   on your reference list; is that true?                          11         Now, in that time frame, she was on Lovenox
   12     A. That's true.                                              12      for seven days, and then she was off of it for, I
   13     Q. Okay. And I take it you haven't asked for                 13      believe, six or seven days also.
   14   any other depositions or been asked to read any other          14   BY MR. HONNOLD:
   15   depositions in this case?                                      15      Q. What are the possible explanations for
   16     A. I have not.                                               16   Ms. Mingo's increase or rebound, as you used the
   17     Q. If I mention the name Michael Samama to you,              17   term, in her hemoglobin after she stopped taking
   18   is that -- is that -- is that a -- an author that              18   Lovenox?
   19   sounds familiar to you based upon the materials that           19      A. From my perspective, when she stopped taking
   20   you've looked at?                                              20   the Lovenox, she -- this slow bleeding that she, I
   21     A. Yes.                                                      21   believe she had, stopped, and then her body responded
   22     Q. Okay. And why is Samama a familiar name to                22   by -- and -- and probably had already begun to -- not
   23   you?                                                           23   probably, had already begun to -- to try to generate
   24     A. He is, I would say, relatively pleuritic                  24   more red blood cells. That's what happens naturally
   25   author on Rivaroxaban and its use and various topics           25   when you -- when your hemoglobin levels drop. And so


                                                                                  43 (Pages 166 to 169)
                    Golkow Technologies, Inc. - 1.877.370.DEPS
Case 2:14-md-02592-EEF-MBN Document 5517-16 Filed 02/24/17 Page 44 of 57
         Protected - Subject to Further Protective Review
                                             Page 170                                                     Page 172
    1   that's the process that occurred to get it back up.      1         MR. HONNOLD: Sure.
    2      Q. And then in terms of how you view her              2         THE WITNESS: -- maybe in another way. I'm
    3   laboratory data, is there any suggestion then that       3      not sure I follow you.
    4   she suffered any acute loss of blood until she           4   BY MR. HONNOLD:
    5   started taking Xarelto?                                  5      Q. So you said either once the Lovenox is -- is
    6          MS. CONKLIN: Object to the form.                  6   stopped, then she either stops bleeding or it slows
    7          THE WITNESS: Well, I think I mentioned in my      7   down so that the body can -- can deal with it;
    8      report that I believe that the evidence in the        8   correct? Right?
    9      record about her surgery does not justify or does     9      A. Right. That's correct.
   10      not explain the observed 4-gram per deciliter        10      Q. So when the Lovenox is removed at some point,
   11      drop in hemoglobin.                                  11   other than the platelet dysfunction that would be
   12          So it appears to me, based on all the            12   induced by the aspirin, her clotting cascade then
   13      information that I reviewed, that she began          13   returns to normal but for the platelet effect;
   14      bleeding in her GI tract slowly when she -- when     14   correct?
   15      she got the Lovenox and that that continued, and     15      A. Yes.
   16      that's what's -- what explains her drop in           16      Q. Then what is it about that -- of the clotting
   17      hemoglobin.                                          17   cascade's return to normal then that allows the --
   18   BY MR. HONNOLD:                                         18   the bleeding to either be stopped or to be reduced to
   19      Q. But what made the hemoglobin then start to go     19   the point where the body can -- can keep up with it?
   20   back up when she stopped taking the Lovenox?            20      A. Well, then you're able to form the fibrin
   21      A. Well, when you stop taking the Lovenox -- and     21   clot, which you -- in a normal matter, which you
   22   Lovenox is the additional factor. And she was also      22   otherwise were not able to do when you have Lovenox
   23   on aspirin. So it works in a different way than         23   bound to antithrombin.
   24   aspirin. So it appears as though when she had the       24      Q. And when the drug is -- and what allows that
   25   anticoagulant that worked different from aspirin        25   rebound to happen was the -- was the stoppage of the


                                             Page 171                                                     Page 173
    1   added in, that it is -- those two things are what --     1   Lovenox; correct?
    2   what's working different places in the coagulation       2      A. Well, that's what allows the normal process
    3   cascade, those two things are what gave her a            3   to happen, such that it doesn't -- it stops the
    4   predilection to bleed. When one of them is taken         4   bleeding.
    5   away, her bleeding stops. And then when one's added      5      Q. Okay.
    6   back, the bleeding starts back.                          6      A. Or it significantly slows the bleeding.
    7      Q. So one of your opinions in this case is that       7      Q. And in Mrs. Mingo's situation, when the
    8   the removal of Lovenox stopped the bleeding?             8   Lovenox was stopped, that allowed the situation to be
    9      A. Well, the hemoglobin rebounded, so I think it      9   remedied enough so that she did not have to go into
   10   appears as though she bled while on the Lovenox.        10   the hospital or the intensive care unit at that time;
   11   When the Lovenox was stopped, then she had -- she       11   correct?
   12   rebounded --                                            12      A. Yes. She did not have to; that is correct.
   13      Q. Okay.                                             13      Q. And your -- your view is or opinion is is
   14      A. -- from that. And that -- so the bleeding         14   that there was essentially some healing in the form
   15   either stopped or slowed enough that the body was       15   of a fibrin cap or fibrin clot that is -- that is
   16   able to keep up with it.                                16   able to generate and adhere to the side of the lesion
   17      Q. And -- and the process then of what's --          17   in the GI tract; correct?
   18   what's going on when the Lovenox -- when the Lovenox    18          MS. CONKLIN: Object to the form.
   19   is removed then, what is allowed to happen in terms     19          THE WITNESS: I mean, in -- in simple terms,
   20   of her body's own ability to coagulate and the          20      that's correct. I mean, I think she had an ulcer
   21   clotting cascade -- what is -- what is going on in      21      that had an open predilection to bleed, you know,
   22   her GI tract to -- in terms of its ability to provide   22      with the way it was positioned. And when the
   23   some homeostasis at the site or the defect or lesion?   23      Lovenox was removed, the body was able to slow or
   24         MS. CONKLIN: Object to the form.                  24      stop the bleeding enough.
   25         THE WITNESS: See if you can state that --         25   BY MR. HONNOLD:


                                                                           44 (Pages 170 to 173)
                Golkow Technologies, Inc. - 1.877.370.DEPS
Case 2:14-md-02592-EEF-MBN Document 5517-16 Filed 02/24/17 Page 45 of 57
          Protected - Subject to Further Protective Review
                                              Page 174                                                     Page 176
    1      Q. And so in that particular situation,               1      Q. Of January?
    2   Ms. Mingo's body demonstrated that if you stop a         2      A. Of January.
    3   particular anticoagulant in time, then the clotting      3      Q. 2015; correct?
    4   cascade can return to normal and allow -- allow a        4      A. That's correct.
    5   lesion to -- to be healed; correct?                      5      Q. Now, when you start a patient on Rivaroxaban,
    6          MS. CONKLIN: Object to the form.                  6   do you take a baseline PT before you start the drug?
    7          THE WITNESS: I don't know if I would use the      7      A. No.
    8      term "to be healed." I don't -- I don't -- I          8      Q. If the label for Xarelto instructed you or
    9      think there's evidence that it didn't heal,           9   gave instructions to do a baseline PT, would you do
   10      because then when the Xarelto was administered,      10   it upon initiation of therapy?
   11      it bled again.                                       11          MS. HOFFMANN: Objection.
   12   BY MR. HONNOLD:                                         12          THE WITNESS: Depends. If I have a
   13      Q. But at least to be enough of a clot to            13      patient -- I mean, I normally would do basic
   14   develop at the cite for -- for the bleeding to -- to    14      laboratory work, meaning I would want to know the
   15   stop or be reduced now so that the body can keep up     15      renal function, and I would want to know the
   16   with it; right?                                         16      liver function. If those things are normal and
   17      A. That's correct.                                   17      the patient doesn't have any other medical
   18      Q. Now, when Ms. Mingo's first PT was taken and      18      history that suggests that there's any problem
   19   it was 26 and change, in -- in this case, have you      19      with the coagulation cascade, then I may not do a
   20   specifically stated an opinion for how long her PT      20      PT level, because it would not be useful
   21   had been at that level?                                 21      information.
   22          MS. HOFFMANN: Counsel, are you talking about     22   BY MR. HONNOLD:
   23      the PT that was taken on February 13th; not the      23      Q. But -- but if the label -- if the label
   24      one that was taken on February 24th?                 24   instructed you upon initiation of therapy or prior to
   25          MR. HONNOLD: The one --                          25   initiation of therapy to perform a PT for baseline


                                              Page 175                                                     Page 177
    1          MS. HOFFMANN: Or January 24th.                    1   information and then to perform a PT upon the patient
    2          MR. HONNOLD: Yeah.                                2   reading reaching state of the drug, after some series
    3          MS. HOFFMANN: February 13th?                      3   of -- of -- of doses, would you follow those
    4          MR. HONNOLD: Yeah, the one that was 26 and        4   instructions?
    5      change.                                               5          MS. HOFFMANN: Objection.
    6          THE WITNESS: I have not given any opinion         6          MS. CONKLIN: Object to the form.
    7      about that.                                           7   BY MR. HONNOLD:
    8   BY MR. HONNOLD:                                          8      Q. If the -- if the label gave that instruction?
    9      Q. And have you stated any particular opinion in      9          MS. CONKLIN: Object to form.
   10   Ms. Mingo's case that at what point in time after she   10          MS. HOFFMANN: Incomplete hypothetical.
   11   started taking Xarelto that the PT would have           11          THE WITNESS: I would say if I believe it was
   12   elevated to -- to 26 and change?                        12      clinical relevant information. I wouldn't order
   13          MS. HOFFMANN: Objection.                         13      a test just because the label says, if I didn't
   14   BY MR. HONNOLD:                                         14      believe it was going to be important information
   15      Q. For example, you have not stated whether that     15      for me to use clinically. If I thought that it
   16   happened after her first doses or after her third and   16      was important clinical information, then I would
   17   fourth doses or fifth and sixth; correct? You've not    17      use those -- use that test.
   18   stated an opinion on that issue?                        18          So just to do it as a matter if the label
   19      A. I have not stated an opinion on that issue,       19      says it, without any guidance or instruction
   20   that's correct.                                         20      about why to do it, it's not useful information
   21      Q. And as you review the information in this         21      to me, because I wouldn't do anything with the
   22   case, what was the date specifically that Ms. Mingo     22      information.
   23   started taking Xarelto?                                 23          Then I'm charging the patient for something
   24      A. I believe she was given her first dose of         24      that's not necessary, that's not helping me as a
   25   Xarelto on the 23rd.                                    25      clinician.


                                                                           45 (Pages 174 to 177)
                Golkow Technologies, Inc. - 1.877.370.DEPS
Case 2:14-md-02592-EEF-MBN Document 5517-16 Filed 02/24/17 Page 46 of 57
         Protected - Subject to Further Protective Review
                                              Page 178                                                    Page 180
    1   BY MR. HONNOLD:                                          1   BY MR. HONNOLD:
    2      Q. But if you assimilated -- been determined to       2      Q. And after -- after you read those questions
    3   be predictive of a risk of bleeding, that the PT, the    3   in those depositions, did you think yourself to go
    4   Neoplastin PT, was, in fact, predictive of the risk      4   look at that FDA data in terms of the -- the -- the
    5   of bleeding and that was the basis of the                5   data compilation that was done based upon the ROCKET
    6   instruction, you would certainly follow those --         6   patients, to assess that data yourself?
    7   those instructions for the use of Xarelto; correct?      7         MS. CONKLIN: Object to the form.
    8         MS. CONKLIN: Objection.                            8         THE WITNESS: I did not. It did -- it was
    9         MS. HOFFMANN: Objection.                           9      not relevant to what I was doing here in this
   10         THE WITNESS: But the label, in my view,           10      case, because it's not the indication that I was
   11      doesn't say that. So I'm not sure that I can         11      looking at for Ms. Mingo. So, no, I did not.
   12      answer your question. I guess it's a theoretic       12   BY MR. HONNOLD:
   13      question?                                            13      Q. Okay. So tell me again specifically what was
   14   BY MR. HONNOLD:                                         14   the indication that you were looking at Ms. Mingo
   15      Q. I'm asking you to assume that if it did?          15   for?
   16      A. Okay.                                             16      A. Well, she was treated with the Rivaroxaban or
   17      Q. That if it did provide you with those             17   the Xarelto for DVT, deep vein thrombosis. And the
   18   instructions, that prior to initiation of therapy to    18   ROCKET study was for INR values.
   19   do a baseline PT and then to perform a PT again upon    19      Q. No, I understand.
   20   the patient arrival at steady state, would you follow   20         But do you know one way or the other whether
   21   those instructions, if there was known data to          21   the EINSTEIN study specifically looked at Neoplastin
   22   suggest that a certain increase or level of PT was      22   PT for varying -- for different doses of -- of
   23   predictive of risk of bleeding risk?                    23   Rivaroxaban?
   24         MS. HOFFMANN: Objection.                          24      A. When I read the EINSTEIN study, I don't
   25         MS. CONKLIN: Objection to form.                   25   recall there being specific data that, you know,


                                              Page 179                                                    Page 181
    1           MS. HOFFMANN: And incomplete hypothetical.       1   guided decision-making or anything, one way or
    2           THE WITNESS: Again, I guess I would probably     2   another.
    3       say if -- if I felt it was clinically important      3      Q. And you mentioned for the Lovenox that
    4       information, meaning I was going to do something     4   Ms. Mingo was taking that -- that once she stopped
    5       with it, change the dose or, I don't know, stop      5   taking it, it allowed fibrin again to generate; is
    6       the dose.                                            6   that right?
    7   BY MR. HONNOLD:                                          7      A. Correct.
    8       Q. Or change the drug?                               8      Q. And then the next step after fibrin
    9       A. Or -- I -- I guess, you know, if it then says     9   generation in terms of clot formation is what?
   10   if it's a certain level, you have to stop the drug.     10      A. Well, fibrin is what forms -- is what the
   11   I mean, if it's clinically relevant information and     11   clot is.
   12   it's in the label as to how to monitor the drug then,   12      Q. Okay. So it's the final step?
   13   I mean, I would like to believe that most clinicians    13      A. Essentially, you get layers of fibrin, and
   14   would try to follow that.                               14   that's what the clot is.
   15           But, again, I -- it's not information that's    15      Q. Okay. And so it looks like that even -- even
   16   in the label. It's not information that we have to      16   without the assistance -- or at least the presumed
   17   use clinically, so I can't say one way or another       17   lack of assistance from being on aspirin, Ms. Mingo
   18   what my experience would be on that.                    18   was able to generate enough of a fibrin response to
   19       Q. The depositions you read in this case, you       19   either stop or reduce the rate of bleeding to the
   20   saw a discussion about the ROCKET data that did         20   extent the body could keep up with it; correct?
   21   identify and break down patients by quartile PT --      21      A. After the Lovenox was stopped?
   22   Neoplastin PT range; correct?                           22      Q. Yes.
   23           MS. HOFFMANN: Objections.                       23      A. Yes, that's -- that's what it appears.
   24           THE WITNESS: I do remember reading some         24      Q. Now, for patients that take Rivaroxaban, what
   25       questions that were asked about that.               25   is, I guess, the actual end product of a clot that is


                                                                           46 (Pages 178 to 181)
                Golkow Technologies, Inc. - 1.877.370.DEPS
Case 2:14-md-02592-EEF-MBN Document 5517-16 Filed 02/24/17 Page 47 of 57
         Protected - Subject to Further Protective Review
                                              Page 182                                                     Page 184
    1   inhibited or kept from being made when a patient is      1          THE WITNESS: No, I have not stated that.
    2   taking Xarelto?                                          2   BY MR. HONNOLD:
    3      A. It's the same; it's fibrin.                        3      Q. You know that Ms. Mingo was on -- she may
    4      Q. Okay. And so you presume that a patient like       4   have taken a dose or two of -- of Coumadin in one of
    5   Ms. Mingo, when she is on Rivaroxaban, there's also      5   these intervals; right?
    6   going to be a secession or a disruption of the           6      A. My understanding is that she was given a
    7   ability to generate fibrin; correct?                     7   single dose of Coumadin on the 23rd, when she
    8      A. Not completely. You don't completely disrupt       8   presented to the hospital for the -- for the DVT.
    9   the ability. But it -- that is the -- the goal of        9      Q. So the effects of that warfarin dose,
   10   the medication is to inhibit at Xa so that you can't    10   whatever they were, they -- they -- they would have
   11   produce thrombin correctly, and thrombin can't lead     11   ceased well prior to when she ended up going into the
   12   to the production of fibrin.                            12   hospital later in February; correct?
   13      Q. But -- but the thought is in taking               13          MS. HOFFMANN: Objection.
   14   Rivaroxaban, specifically in Ms. Mingo's case, was to   14          THE WITNESS: Sorry, that was on the 22nd.
   15   inhibit fibrin production just as it was when she was   15          But, yes, that should -- that -- the effects
   16   on Lovenox; correct?                                    16      of that should have been gone by February 13th.
   17         MS. HOFFMANN: Objection.                          17   BY MR. HONNOLD:
   18         THE WITNESS: I guess the way the medicine         18      Q. And on what date -- by what date would
   19      works, yes. But she was prescribed the Lovenox       19   Ms. Mingo had to have stopped Xarelto for its effects
   20      for prophylaxis, and she was prescribed the          20   to have been gone by the time she went into the
   21      Rivaroxaban for therapeutic treatment.               21   hospital -- or that date when she ultimately went
   22   BY MR. HONNOLD:                                         22   into to the hospital?
   23      Q. Yeah, right. No, I -- I understand that.          23          MS. HOFFMANN: Objection.
   24         But -- but in -- in terms of impact upon the      24          MS. CONKLIN: Object to the form.
   25   clotting cascade, it's the same; correct?               25          THE WITNESS: Again, I'm not an expert in the


                                              Page 183                                                     Page 185
    1         MS. HOFFMANN: Objection.                           1      pharmacokinetics, but, you know, a rough
    2         MS. CONKLIN: Object to the form.                   2      estimate, I would say perhaps maybe the 11th,
    3         THE WITNESS: They're different mechanisms.         3      maybe the 12th.
    4      The ultimate goal is to decrease clot formation.      4   BY MR. HONNOLD:
    5   BY MR. HONNOLD:                                          5      Q. And why it is that you say that?
    6      Q. Including fibrin?                                  6      A. Just by that time she would have had the
    7      A. Well, fibrin is a clot.                            7   opportunity to cycle through several half-lives, and
    8      Q. The fibrin component?                              8   so the -- the intended effect would be negligent,
    9      A. Yeah. Well, largely the clot.                      9   nil, or close to that.
   10      Q. And so do you know what the timing of is in       10      Q. On the bottom of Page 14, you say that you
   11   terms of -- of -- of effect on the clotting cascade     11   disagree with -- with Dr. Rinder's opinion that
   12   and its ability to produce or generate fibrin when a    12   aspirin can be ruled out as a cause of Ms. Mingo's
   13   patient is at a presumed therapeutic dose of            13   gastrointestinal bleed.
   14   Rivaroxaban for treatment of DVT when that drug is      14          Do you see that --
   15   stopped, as to when that ability to -- to generate      15      A. Yes.
   16   fibrin again returns, how long it takes?                16      Q. -- at the bottom of Page 14?
   17         MS. CONKLIN: Object to form.                      17          And so when you say that -- that it's
   18         THE WITNESS: I don't -- I don't know that         18   impossible to rule something out, clinically, what
   19      information.                                         19   does that -- what does that mean, the mere fact it's
   20   BY MR. HONNOLD:                                         20   impossible to rule something out? What . . .
   21      Q. If -- in -- in this case, have you set forth      21      A. Well, number one, when you're taking two
   22   or stated any opinion as to what the impact would       22   medications that effect the coagulation system in
   23   have been on Ms. Mingo if, for example, she had         23   two -- two different mechanisms, there would be no
   24   stopped taking Rivaroxaban the first of February?       24   way to assign the relative contribution of each of
   25         MS. HOFFMANN: Objection.                          25   those medicines to the event at hand, the bleed at


                                                                           47 (Pages 182 to 185)
                Golkow Technologies, Inc. - 1.877.370.DEPS
Case 2:14-md-02592-EEF-MBN Document 5517-16 Filed 02/24/17 Page 48 of 57
         Protected - Subject to Further Protective Review
                                              Page 186                                                    Page 188
    1   hand. So you can't -- by virtue of that, you can't       1   cascade; right?
    2   rule out that there was no contribution of aspirin.      2         MS. CONKLIN: Objection.
    3   That's one thing.                                        3         MS. HOFFMANN: Objection.
    4         The second is part of his -- in his report,        4         THE WITNESS: Well, I think that there's
    5   part of his decision-making is that she had taken        5      evidence, obviously, that she bled when she was
    6   aspirin prior to her hip surgery and had never been      6      on Xarelto and evidence that she bled. And so --
    7   diagnosed with a GI bleed. And then after she was        7      on the Lovenox.
    8   taken off the Xarelto and continued on the aspirin,      8         And so what I state -- state in my report is
    9   she didn't have a GI bleed or had not since been         9      that what my opinion is is that when she had
   10   diagnosed with a GI bleed.                              10      those two together, that it was a higher
   11         And I think that the fault in that theory is      11      predilection of bleed, and those are the times in
   12   that she, in the interval, had an argon ablation and    12      the medical record there was evidence where she
   13   hemoclip placed in the area that was potentially        13      appeared to be bleeding.
   14   going to bleed, and, therefore, that is what stopped    14   BY MR. HONNOLD:
   15   the future bleeding from occurring, not the fact that   15      Q. So her Lovenox was a contributing factor to
   16   she continued aspirin and didn't have bleeding.         16   her bleed; right?
   17         So it's too much confounding to assign any        17         MS. HOFFMANN: Lovenox?
   18   type of contribution of aspirin or lack of              18   BY MR. HONNOLD:
   19   contribution of aspirin to the bleeding.                19      Q. To the -- to some bleeding initially that we
   20      Q. So on Page 15, in the -- in the last sentence     20   talked about?
   21   of that main paragraph on Page 15 you say, quote:       21         MS. HOFFMANN: Sorry.
   22   The GI intervention was the reason for no further       22         THE WITNESS: That's correct.
   23   bleeding and serves to highlight the fact the aspirin   23   BY MR. HONNOLD:
   24   cannot be ruled out as a culprit in the bleeding        24      Q. Okay. Because you know Lovenox has an effect
   25   using this evidence relied upon by Dr. Rinder.          25   on the clotting cascade; right?


                                              Page 187                                                    Page 189
    1         Do you see where I read?                           1      A. Correct.
    2      A. Yes.                                               2      Q. Okay. And you have now said that you think
    3      Q. And did I read it correctly?                       3   aspirin was a contributing factor to some degree to
    4      A. Yes.                                               4   the bleed later in February, because it effects
    5      Q. Okay. Now, in -- in your opinion section of        5   clotting through the innovation of platelets;
    6   your report, do you -- do you state anywhere that it     6   correct?
    7   is your opinion that, in fact, aspirin was, to a         7      A. Correct.
    8   reasonable degree of medical certainty, a culprit in     8      Q. And so similarly because Rivaroxaban has an
    9   the bleeding?                                            9   impact upon to clotting cascade, Rivaroxaban was
   10         And my question for you is: Do you state          10   likely a contributing factor to the bleed as well;
   11   that opinion in writing anywhere in the opinion         11   correct?
   12   section of your report?                                 12      A. I do think it had some contribution to the
   13      A. I -- I don't explicitly use the words that        13   bleed, yes.
   14   you -- that I -- that you used, but I guess my          14      Q. So it would be fair to say that in your
   15   discussion in the bottom of 14 and 15, by disagreeing   15   opinion, Rivaroxaban was also a contributing factor
   16   with Dr. Rinder that it can be ruled out suggests       16   to the bleed; correct?
   17   that my opinion is that it has to be a contributing     17      A. Yes. That is part of the reason why she
   18   factor to the bleeding. So if you can't rule it out     18   bled, yes. Not the cause, but one of the reasons for
   19   as a continuing factor, then it is a factor, because    19   the bleed.
   20   we know it has effects on coagulation.                  20      Q. In this case, you've not stated any opinions
   21      Q. Then Xarelto was a continuing factor as well      21   as to what Ms. Mingo's hemoglobin was on the days
   22   then; correct?                                          22   before she was admitted to the hospital later in
   23         MS. HOFFMANN: Objection.                          23   February; correct?
   24   BY MR. HONNOLD:                                         24      A. I have not stated that -- an opinion as to
   25      Q. Because it has impacts upon the coagulation       25   what the cause was for her hemoglobin levels prior to


                                                                           48 (Pages 186 to 189)
                Golkow Technologies, Inc. - 1.877.370.DEPS
Case 2:14-md-02592-EEF-MBN Document 5517-16 Filed 02/24/17 Page 49 of 57
         Protected - Subject to Further Protective Review
                                             Page 190                                                    Page 192
    1   her admission February 13th; is that the question?      1   BY MR. HONNOLD:
    2      Q. Right.                                            2      Q. Yes?
    3      A. I don't believe I've expressly stated that as     3      A. It appears to be a graph that -- that
    4   an opinion.                                             4   measures PT on the X axis -- or, on the Y axis and
    5          MR. HONNOLD: Let's go off the record real        5   concentration on the X axis.
    6      quick. There's a piece of paper that I'm looking     6          MR. HONNOLD: And I'm going to mark your
    7      for, and I have not been able to find it in my       7      drawing as Exhibit 10.
    8      mess here.                                           8         (Jones Exhibit 10 was marked for
    9          THE VIDEOGRAPHER: The time is 11:49 a.m.         9   identification.)
   10      We're off the record.                               10   BY MR. HONNOLD:
   11         (A recess was taken from 11:49 a.m. until        11      Q. And as you've pointed out, what is shown here
   12   12:22 p.m.)                                            12   on Page 11 certainly isn't a -- isn't a perfect
   13          THE VIDEOGRAPHER: This begins Disc 5 of         13   linear relationship, as you described. This angle of
   14      today's deposition. The time now is 12:22 p.m.      14   assent is not at a 45-degree or close to a 45-degree
   15      We are back on the record.                          15   angle like you drew there on Exhibit 10; right?
   16   BY MR. HONNOLD:                                        16      A. It is not.
   17      Q. Doctor, we're back on the record after our       17      Q. And though that Figure 2 on Page 11 of -- of
   18   lunch break.                                           18   this exhibit -- is that a similar graph to what has
   19          There are just -- I've just got three or four   19   been depicted or what is depicted in some of your
   20   other topic areas that I want to go through.           20   literature references in your report?
   21          And I think we're up to Exhibit No. 9.          21          MS. HOFFMANN: Objection.
   22         (Jones Exhibit 9 was marked for                  22          THE WITNESS: It -- it's potentially in some
   23   identification.)                                       23      of the references. We could pull out a specific
   24   BY MR. HONNOLD:                                        24      one, I guess, and look at it, but . . .
   25      Q. I'm going to hand you what I've marked as        25   BY MR. HONNOLD:


                                             Page 191                                                    Page 193
    1   Deposition Exhibit No. 9?                               1      Q. Then I want to refer you to Page 34 of this
    2          MR. HONNOLD: And watch out, that staple is       2   exhibit.
    3      not perfect, and it's a little sharp.                3         And you see here on Page 34 is the quartile
    4   BY MR. HONNOLD:                                         4   breakdown by Neoplastin PT with major bleeding
    5      Q. And, Doctor, I'll just represent to you that      5   incidents and event rates.
    6   this is part of the FDA evaluation of Rivaroxaban       6         And here's my only question for you: Have
    7   before its approval for the atrial fibrillation         7   you ever seen data presented like this before?
    8   indication?                                             8         MS. CONKLIN: Objection.
    9          And my question for you -- I want you to go      9   BY MR. HONNOLD:
   10   to page -- actually, what is Page 11. But the          10      Q. And -- and what I mean is: Have you seen
   11   numbering starts and stops a couple of times. So if    11   this exact data presentation before that's set forth
   12   kind of go probably 20 pages in, you'll see that --    12   on Page 34 in any of your materials that you've
   13   how the numbering kind of goes. And I'm trying to      13   looked at?
   14   get you to the Page 11 that has this graph on it.      14         MS. HOFFMANN: Objection.
   15      A. Mine's color, but is that --                     15         MS. CONKLIN: Objection.
   16      Q. Yes, that's it.                                  16         THE WITNESS: I can't recall whether I have
   17          So -- and -- so my question for you is: When    17      or have not, to be honest with you.
   18   we were talking about this issue of the linear         18   BY MR. HONNOLD:
   19   relationship between PT and Rivaroxaban                19      Q. Okay. And if you look at some of those PT
   20   concentration, is that an actual graphic depiction     20   quartiles, do you see how generally there is some
   21   of -- of the concepts we were talking about?           21   increase in the event rates and incident numbers for
   22          MS. HOFFMANN: Objection.                        22   the higher quartiles of Neoplastin PT?
   23          MS. CONKLIN: Objection.                         23         MS. HOFFMANN: I'm going to object. There's
   24          THE WITNESS: When we were talking about         24      been no foundation laid that he's ever seen this
   25      this?                                               25      document before or any of this information.


                                                                          49 (Pages 190 to 193)
                Golkow Technologies, Inc. - 1.877.370.DEPS
Case 2:14-md-02592-EEF-MBN Document 5517-16 Filed 02/24/17 Page 50 of 57
         Protected - Subject to Further Protective Review
                                             Page 194                                                      Page 196
    1          MR. HONNOLD: Yeah, I think he said he's not       1   patient that could have been well-maintained on
    2      seen it. Or that he doesn't think that --             2   warfarin?
    3          MS. HOFFMANN: Then I'm objecting.                 3         MS. CONKLIN: Object to the form.
    4          MR. HONNOLD: -- he's seen it.                     4   BY MR. HONNOLD:
    5          MS. HOFFMANN: Then I will object to the form      5      Q. Is that part of any of your opinions in this
    6      of the question. To ask about data that somebody      6   case?
    7      has not seen before in a large document on a          7         MS. HOFFMANN: Objection.
    8      particular page, I think is -- is an improper         8         THE WITNESS: I don't think we know one way
    9      form of questioning.                                  9      or another about how she would have responded.
   10   BY MR. HONNOLD:                                         10   BY MR. HONNOLD:
   11      Q. And I'll ask him again: Do you think you've       11      Q. And that's not -- but that's not an issue
   12   ever seen this in any of, for example, the articles     12   that you've addressed at all in your report; correct?
   13   that are in your reference or reliance list?            13      A. No, it's not an issue I have addressed in my
   14      A. I think I've said before, I -- I don't recall     14   report.
   15   whether I've seen it or not. I mean, I've reviewed a    15      Q. Do you know one way or the other whether the
   16   lot of information. Perhaps I have. I -- I just         16   Xarelto label instructs prescribers or clinicians
   17   don't recall, one way or another.                       17   about how serial monitoring of hemoglobin may provide
   18      Q. At least this document itself or anything         18   meaningful information as to whether or not a patient
   19   else from the FDA is not listed anywhere on your --     19   is bleeding?
   20   your reference pages attached to your report;           20      A. Whether the label has that in it?
   21   correct?                                                21      Q. Yes.
   22      A. This document is not listed. But I think you      22      A. Well, I mean, I don't have the label
   23   asked about this particular table. So I don't know      23   memorized. I did -- I have read it, but I don't
   24   if that's included in something else or not.            24   remember specifically that point.
   25      Q. If you go back to what is marked as               25      Q. Do you prescribe Pradaxa?


                                             Page 195                                                      Page 197
    1   Exhibit 8, and if you go to the top of Page 4, which     1      A. I have, yes.
    2   is Section 1.1, but -- but what's stated there at the    2      Q. Okay. And -- and do you -- do you do it
    3   very top of Page 4.                                      3   routinely?
    4         Do you see that statement at the top of            4      A. Well, you know, oftentimes, I choose the oral
    5   Page 4 that says: There are limited data on the          5   anticoagulant based on potentially the -- the
    6   relative effectiveness of Xarelto and warfarin in        6   clinician that's going to be managing the patient
    7   reducing the risk of stroke and systemic embolism        7   on -- on a more ongoing, regular basis. So there are
    8   when warfarin therapy is well-controlled.                8   some clinicians that prefer one over the other. So
    9         Do you see that?                                   9   that's some of the decision-making that goes into it.
   10      A. Yes, I see that statement.                        10      Q. And I've only got one of these, so I'm going
   11      Q. What does that mean to you when you read          11   to pass it around before I show it to you.
   12   that?                                                   12          MR. HONNOLD: This is this April 2013 label
   13      A. I guess that comparing the effectiveness of       13      for Pradaxa that I've marked it as Exhibit 11.
   14   Xarelto to warfarin for preventing stroke from          14          And I'm sorry, I don't have copies of it.
   15   embolization when warfarin is -- whatever               15         (Jones Exhibit 11 was marked for
   16   "well-controlled" means -- that there's not -- not a    16   identification.)
   17   lot of data on it, would be -- I don't know what        17          MS. HOFFMANN: So which exhibit is that? Say
   18   "well-controlled" means, and I don't know what          18      again.
   19   "limited" means in this context, but . . .              19          MR. HONNOLD: 11.
   20      Q. Do you manage patients on warfarin on an          20          MS. HOFFMANN: 11.
   21   ongoing basis in your practice?                         21          MR. HONNOLD: Have you given it to him?
   22      A. Not -- not regularly.                             22          MS. CONKLIN: I did, yes.
   23      Q. In this case, are you -- are you taking the       23          MR. HONNOLD: Oh, thank you.
   24   position there's any specific facts related to          24   BY MR. HONNOLD:
   25   Ms. Mingo that would suggest that she is not a          25      Q. Do you -- do you have some familiarity with


                                                                           50 (Pages 194 to 197)
                Golkow Technologies, Inc. - 1.877.370.DEPS
Case 2:14-md-02592-EEF-MBN Document 5517-16 Filed 02/24/17 Page 51 of 57
          Protected - Subject to Further Protective Review
                                             Page 198                                                     Page 200
    1   the -- with the Xarelto label -- or, the Pradaxa         1   hematocrit is bleeding.
    2   label? Excuse me?                                        2      Q. Have you ever seen any foreign labels for
    3      A. Some.                                              3   Rivaroxaban, whether it's European label, Canadian,
    4      Q. The -- if you go to Section 5.2 there, do you      4   or New Zealand or Australia?
    5   see that the Pradaxa label specifically gives            5      A. I have not.
    6   instruction about the need to promptly follow up on      6      Q. What I would like you to do is go to your
    7   drops in hemoglobin? Do you see that?                    7   report, which is, I guess, Exhibit 7.
    8      A. Yes, I see that.                                   8          MR. HONNOLD: I -- I made a mistake when I
    9      Q. Okay. Did you know that that information was       9      referred to the Pradaxa label as Exhibit 7. I
   10   in the Pradaxa label?                                   10      should have been saying Exhibit 8 for that. So I
   11      A. I did not. It doesn't surprise me. But I          11      apologize.
   12   would think this would be general knowledge that any    12          THE WITNESS: You have 11 on this.
   13   clinician would have regardless of whether it's in      13          MR. HONNOLD: Oh, sorry. For the Xarelto
   14   the label.                                              14      label is 7; it's actually 8.
   15      Q. In terms of specific reference to following       15          MS. CONKLIN: Oh, okay.
   16   up on drops in hemoglobin, that -- that specific        16          MR. HONNOLD: I'm sorry.
   17   guidance that's in the Pradaxa label, Exhibit 11, is    17   BY MR. HONNOLD:
   18   that similarly stated in the Xarelto label in -- in     18      Q. And so if you would go to the reference list?
   19   Section 5.2?                                            19          MR. HONNOLD: I'm going to mark these
   20          MS. HOFFMANN: Objection.                         20      materials as collectively Exhibit 12.
   21          MS. CONKLIN: Objection.                          21         (Jones Exhibit 12 was marked for
   22          MS. HOFFMANN: Do you want him to compare it      22   identification.)
   23      to the -- the Pradaxa label you gave him, or are     23   BY MR. HONNOLD:
   24      you asking for any --                                24      Q. But I'd like to kind of go through them
   25          MR. HONNOLD: Sure.                               25   sequentially?


                                             Page 199                                                     Page 201
    1          MS. HOFFMANN: I mean -- for any Xarelto           1           So this is the first part of what's going to
    2      label?                                                2   be a --a larger exhibit, Exhibit 12.
    3          MR. HONNOLD: No.                                  3           Does that look like a copy of your reference
    4   BY MR. HONNOLD:                                          4   list, item number one, the Adcock and Gosselin
    5      Q. I'm just saying Exhibit 7 --                       5   article?
    6          MS. HOFFMANN: Sorry.                              6      A. Yes, it does.
    7      Q. -- in Section 5.2 of Exhibit 7, does it            7      Q. Then the next thing I'm going to hand you is
    8   include the specific guidance on following up of         8   another document that you can put behind that. But
    9   drops of hemoglobin like the Pradaxa label does,         9   my question for you is: Does this article, Managing
   10   Exhibit 11?                                             10   Reversal of Direct Oral Anticoagulants in Emergency
   11      A. So it -- it says that, promptly evaluate any      11   Situations, does that look like a copy of your
   12   signs or symptoms of blood loss and consider the need   12   reference -- your reference, item number two?
   13   for blood replacement -- which is one of the signs of   13      A. Yes, it does.
   14   blood loss would be a drop which hemoglobin, so . . .   14      Q. Then I'm going to hand you the beginning of
   15   And that's such basic medical information, I would      15   The Lancet article by Ageno, Mantovani, et al,
   16   think that it's not even necessary to be in the         16   basically the -- the XALIA study.
   17   label.                                                  17           And I just, because I -- I could not get
   18          So my interpretation is, yes, it is in the       18   direct access without purchasing it, I just copied
   19   label. Although they don't use the term "hemoglobin"    19   the first page.
   20   or "hematocrit," they say that you should follow up     20           Does that look like the introductory page of
   21   on a sign of blood loss, which is a drop in             21   your reference item number three?
   22   hemoglobin or hematocrit.                               22      A. No. This is --
   23      Q. And why would it be important to do that?         23      Q. Number four?
   24      A. Well, you would -- one of the things on a         24      A. Yes, number four.
   25   differential diagnosis or a change in hemoglobin or     25      Q. Okay. Then I'm going to hand you -- the next


                                                                           51 (Pages 198 to 201)
                Golkow Technologies, Inc. - 1.877.370.DEPS
Case 2:14-md-02592-EEF-MBN Document 5517-16 Filed 02/24/17 Page 52 of 57
         Protected - Subject to Further Protective Review
                                              Page 202                                                    Page 204
    1   item is an abstract --                                   1   and Hemostasis. It's an abstract.
    2         MR. HONNOLD: Do you want to see that?              2         Does it appear to be the abstract for
    3      Q. -- entitled Diagnosis and Management of Lower      3   reference item number 11?
    4   Gastrointestinal Bleeding by Barnert and Messmann.       4      A. Yes, it does.
    5         Does that at least look like the abstract          5      Q. The next thing is an article from Circulation
    6   from PubMed for your reference item number five?         6   by Eerenberg and others regarding Reversal of
    7      A. Yes.                                               7   Rivaroxaban and Dabigatran By Prothrombin Complex
    8         MS. HOFFMANN: So five was the abstract?            8   Concentrate.
    9         MR. HONNOLD: Five is the abstract.                 9         Does it look like that is the article for
   10         MS. HOFFMANN: Thank you.                          10   reference item number 12?
   11         MR. HONNOLD: Right, of the Barnert and            11      A. Yes, it does.
   12      Messmann article.                                    12      Q. The next thing is an article by Eerenberg and
   13   BY MR. HONNOLD:                                         13   others.
   14      Q. I'm going to hand you the next abstract,          14         Again, does it appear that that is the entire
   15   which is Clinical Laboratory Measurement of Direct      15   article for item number 13?
   16   Factor Xa Inhibitors by Barrett, Wang, and Shenker,     16      A. Yes, it does.
   17   S-H-E-N-K-E-R?                                          17      Q. Okay. The next two papers are from the
   18         And does that look like the abstract for your     18   EINSTEIN Working Group.
   19   reference item number six?                              19         The first one I'm handing you, does that
   20      A. Yes, it does.                                     20   appear to be item number 14 in your reference list?
   21      Q. I'm next going to hand you an abstract of an      21         MS. HOFFMANN: Is it the entire or --
   22   article by Baumann and Keenan and others from           22         MR. HONNOLD: Yes, it's in its entirety.
   23   Biomedical Research International.                      23      Thank you.
   24         Does it look like that's the abstract for         24         THE WITNESS: Yes, it does.
   25   your reference item number seven -- or, excuse me,      25   BY MR. HONNOLD:


                                              Page 203                                                    Page 205
    1   number -- right, number seven?                           1       Q. The next EINSTEIN item I'm handing you is
    2      A. Yes, it is number seven, the abstract for          2   titled Oral Rivaroxaban for the Treatment of
    3   number seven.                                            3   Symptoms -- or Symptomatic Pulmonary Embolism.
    4      Q. The next thing I'm going to hand you, does         4          Does that look like the entire article for
    5   that look like it's the entire article for number        5   reference item number 15?
    6   seven?                                                   6       A. Yes.
    7      A. Yes, it does.                                      7       Q. The next item, does that appear to be the
    8      Q. The next thing I'm going to hand you is            8   article by Faust and others for reference item number
    9   another abstract of an article by Bouillon,              9   16?
   10   B-O-U-I-L-L-O-N, and others.                            10       A. Yes, it does.
   11         Does that appear that that is the abstract        11       Q. The next thing is an abstract by an -- for an
   12   for reference item number eight?                        12   article by Fawole, F-A-W-O-L-E, and others from the
   13      A. Yes, it does.                                     13   Cleveland Clinic Journal of Medicine.
   14      Q. The next thing is an article by Brooks and        14          Does that appear to be the abstract for item
   15   others from Therapeutic Advances in Chronic Disease.    15   number 17?
   16         My question is: Does it appear that that's        16          I'm sorry.
   17   the entire article for reference item number nine?      17       A. Yes, it does.
   18      A. Yes, it does.                                     18       Q. The next thing is an abstract from an article
   19      Q. The next thing is an article by Davidson and      19   by Gosselin, G-O-S-S-E-L-I-N, and Adcock from The
   20   others from JAMA.                                       20   Journal of Thrombosis and Hemostasis. It's an
   21         Does it appear that that is the article for       21   abstract.
   22   reference item number ten?                              22          Does that appear to be an abstract for
   23      A. Yes, it does.                                     23   reference item number 18?
   24      Q. The next thing is an abstract of an article       24       A. Yes, it does.
   25   by DiNisio, D-i-N-I-S-I-O, and others from Thrombosis   25       Q. Similarly, does what I'm handing you now


                                                                           52 (Pages 202 to 205)
                Golkow Technologies, Inc. - 1.877.370.DEPS
Case 2:14-md-02592-EEF-MBN Document 5517-16 Filed 02/24/17 Page 53 of 57
          Protected - Subject to Further Protective Review
                                            Page 206                                                   Page 208
    1   appear to be the article for item number 18?          1   reference item number 27?
    2       A. Yes. This is the full article.                 2       A. Yes, it does.
    3       Q. The next thing is by Holbrook and others.      3       Q. I'm going to hand you a paper by Prins and
    4   It's the guidelines from American College of Chest    4   others from Thrombosis Journal.
    5   Physicians.                                           5          Does it appear that that is reference --
    6          Does this appear to be the entirety of the     6   article from reference article number 30?
    7   guideline paper that's reference item number 19?      7       A. Yes, it does.
    8       A. Okay. Here it is.                              8       Q. The next thing is a -- kind of a bullet point
    9          This is -- I'm not sure what this is.          9   printout entitled Novel Anticoagulants and Bleeding
   10   There's several things here.                         10   in the Emergency Department.
   11       Q. Oh, did I hand you too much?                  11          Does it look like that's at least some
   12       A. I don't know what -- this looks like it is    12   component of reference item number 31?
   13   a -- AHRQ, maybe a summary of article 19. There --   13          I can't verify that it's in its entirety.
   14   there are multiple things in this.                   14   It's a fairly complicated website, but at least
   15          That is not in 19.                            15   that's what I was able to download.
   16       Q. I'll take that back.                          16       A. Yes, it does appear to be that.
   17       A. Do you want me to -- do you want me to give   17       Q. The next thing is an abstract by -- a paper
   18   you all this back?                                   18   by Samama and others from Thrombosis and Hemostasis,
   19          MR. HONNOLD: Where's the stack you've been    19   Assessment of Laboratory Assays to measure
   20       making?                                          20   Rivaroxaban.
   21          MS. CONKLIN: Right here.                      21          Does it appear that that is the abstract for
   22          THE WITNESS: That's everything that you've    22   reference item number 34?
   23       given me.                                        23       A. Yes, it does.
   24          MR. HONNOLD: Okay. That was in here. Okay.    24       Q. The next thing is a paper by Siegal,
   25       Thank you.                                       25   S-I-E-G-A-L, from the Journal of Thrombosis and


                                            Page 207                                                   Page 209
    1         THE WITNESS: This is the stack --               1   Thrombolysis.
    2         MR. HONNOLD: Thank you, thank you.              2         Does it look like that was the entire paper
    3         I'm almost done.                                3   for reference number 35?
    4         THE WITNESS: So you had asked me about 19,      4      A. And this is a couple of abstracts that were
    5      and I have not seen 19.                            5   at the back of that.
    6   BY MR. HONNOLD:                                       6      Q. Oh, thank you.
    7      Q. Okay. I'm going to hand you a set of            7      A. This is 35.
    8   materials that has both the abstract and the paper    8      Q. The next thing is an abstract for a paper by
    9   for Lindhoff-Last, L-A-S-T, and Samama, Assays for    9   Turpie and others.
   10   Measuring Rivaroxaban: Their Suitability and         10         Does it appear that that's the abstract for
   11   Limitations?                                         11   reference item number 36?
   12         Does it appear that those are materials for    12      A. Yes, it does.
   13   reference item number 26?                            13      Q. The next thing is a paper by Wilkins from the
   14         MS. HOFFMANN: So you bypassed the ones in      14   American Family Physicians.
   15      between?                                          15         Does it appear that is the paper for
   16         MR. HONNOLD: Well, because I had them messed   16   reference item number 37?
   17      up. I had them out of order there. So I'm not     17      A. Yes, it does.
   18      going to take the time on the record to -- to     18      Q. If -- if there is an article that is on the
   19      clarify those.                                    19   reference list, would you have at least read it in
   20         THE WITNESS: Yes, it does appear to be that.   20   its entirety at some point in time?
   21   BY MR. HONNOLD:                                      21      A. I would say that I would have read it, yes.
   22      Q. The next thing is an abstract from the paper   22      Q. The next thing is a paper by Samama and
   23   by Miller and Trujillo, T-R-U-J-I-L-L-O, from        23   others from the Thrombosis Journal.
   24   American Journal of Emergency Medicine?              24         Does it look like that was the paper for
   25         Does it appear that's the abstract for         25   article -- or, reference item number 33?


                                                                        53 (Pages 206 to 209)
                Golkow Technologies, Inc. - 1.877.370.DEPS
Case 2:14-md-02592-EEF-MBN Document 5517-16 Filed 02/24/17 Page 54 of 57
         Protected - Subject to Further Protective Review
                                              Page 210                                                    Page 212
    1       A. Yes, it does.                                     1   circumstances of that case?
    2       Q. Okay. Have you ever done any -- any type of       2      A. That was a case of a patient who presented to
    3   consulting work for payment for Janssen or Bayer         3   an emergency department, was diagnosed with
    4   before -- before work on this case?                      4   pneumonia, and then suffered a cardiac arrest. And
    5       A. No, I have not.                                   5   on autopsy was found to have a massive pulmonary
    6       Q. Have you ever made any presentations or           6   embolism.
    7   lectures regarding the use of Rivaroxaban?               7      Q. And were you testifying for the plaintiff or
    8       A. No, I have not.                                   8   the defendant there?
    9       Q. Do you, yourself, have copies of any of the       9      A. Defendant.
   10   depositions that you've given in any of the cases       10      Q. And same as before, do you recall the county
   11   before where you've served as an -- as an expert        11   that case was in or the name of the lawyer that
   12   witness?                                                12   retained you?
   13       A. I may have -- the cases that have been           13      A. I believe that was also the Maltmus Law Firm.
   14   closed, I -- I get rid of all of those materials. If    14      Q. Then going gown to the Kutmas, K-U-T-M-A-S,
   15   there's an open case where I've given a deposition,     15   versus someone -- it's not -- it's not clear who the
   16   it's possible that I have those. I'm just not           16   defendant was there. Also the case in Missouri. Do
   17   absolutely positive.                                    17   you recall the facts of that case?
   18       Q. There is one of the exhibits to your report,     18      A. I do not recall that one, maybe because I
   19   which is Exhibit B. I'd like you to go to that --       19   inadvertently left out the other names. Sometimes I
   20       A. Okay.                                            20   know these cases by one name, and I can't remember
   21       Q. -- for a moment.                                 21   what that one was.
   22          And specifically, I want to ask you about a      22      Q. And so in 2015, you would have given 11
   23   deposition in 2013, Coonts, C-O-O-N-T-S, v. Messner,    23   depositions in medical/legal cases; is that right?
   24   et al. It looks like it was a case in Missouri. Do      24      A. Yes.
   25   you see that?                                           25      Q. And it looks like that Memenga v. Brady case


                                              Page 211                                                    Page 213
    1      A. Yes.                                               1   went to trial. Do you recall that?
    2      Q. Do you recall what that case was about?            2      A. Yes.
    3      A. I believe it was a case of -- you're               3      Q. Do you know what part of the state you went
    4   challenging my memory here -- a patient who had --       4   to to testify?
    5   who presented to the ED with complaints of back and      5      A. If I recall correctly, it was maybe
    6   leg pain and was diagnosed with lumbar radiculopathy,    6   Springfield. I think that's where I flew into. Now,
    7   and then eventually ended up with a arterial blood       7   I was driven somewhere, so I don't know exactly where
    8   clot in the leg where she was also having the sciatic    8   I was driven. I'm not intimately familiar with
    9   pain or the pain from her pack.                          9   Missouri.
   10      Q. And were you testifying on behalf of the          10      Q. If you go to the next page for 2016, there's
   11   plaintiff or the defendant in that case?                11   a case -- another case from Missouri called
   12      A. The defendant.                                    12   Hoaglin v. Cox Health. Do you see that?
   13      Q. Do you recall what county in Missouri it was      13      A. Yes.
   14   in?                                                     14      Q. And do you recall the facts of that case?
   15      A. No, I do not.                                     15      A. It seems like I should. I believe -- yes,
   16      Q. Do you recall the name of the lawyer that you     16   this was a case of a adolescent that had a --
   17   worked for in that case?                                17   presented with a headache and was triaged to a
   18      A. I think it was the Maltmus (phonetic) Law         18   waiting room, and then subsequently after she was
   19   Firm.                                                   19   evaluated, was found to have subarachnoid hemorrhage.
   20      Q. I'm going to go down to the deposition            20      Q. And who retained you for that case?
   21   section for 2015.                                       21      A. The attorneys for the hospital retained me in
   22         Do you see the second case there, Memenga v.      22   that case.
   23   Brady, et al, also in Missouri?                         23      Q. And is that a case that's still pending?
   24      A. Yes.                                              24      A. No. I --- I think that case was settled.
   25      Q. Do you recall what the -- the factual             25          I just remembered this Kutmas case.


                                                                           54 (Pages 210 to 213)
                Golkow Technologies, Inc. - 1.877.370.DEPS
Case 2:14-md-02592-EEF-MBN Document 5517-16 Filed 02/24/17 Page 55 of 57
         Protected - Subject to Further Protective Review
                                             Page 214                                                     Page 216
    1      Q. Yes?                                              1      Mississippi.
    2      A. It was an appendicitis case.                      2   BY MR. HONNOLD:
    3      Q. Were you testifying for plaintiff or              3      Q. Okay. Have you ever served on any
    4   defendant?                                              4   quality-improvement type of committee or undertaken
    5      A. For the defendant.                                5   quality improvement reviews for your hospital?
    6      Q. And who retained you?                             6      A. We have, again, within our department, which
    7      A. It was not the Maltmus firm. It was a             7   is the department specific quality counsel that I
    8   different firm. I can't remember the name of the        8   participate in, but I'm not on an institutional
    9   attorney.                                               9   review committee.
   10      Q. The -- part of your CV that talks about your     10      Q. Do you have any familiarity at all with your
   11   publications --                                        11   testimony or any writings by Frank Misselwitz?
   12      A. Yes.                                             12      A. I've never heard of him.
   13      Q. -- do you have specific publications that        13      Q. What is your understanding as to in a patient
   14   talk about the prescribing and management of           14   who's taking twice a day Rivaroxaban for the
   15   anticoagulation -- or anticoagulants for DVT or PE?    15   treatment -- for the active treatment of DVT, what is
   16      A. There may be some in some of the articles        16   the average trough level for those patients between
   17   that are related to PE and DVT, there may be some      17   doses?
   18   discussion, or there may be some issues with           18         MS. HOFFMANN: Objection.
   19   management of the anticoagulation in those patients.   19         MS. CONKLIN: Object to the form.
   20   But, largely, the PE and DVT studies are related to    20         THE WITNESS: I don't know the answer to that
   21   diagnosis -- diagnostic studies to -- to establish     21      question.
   22   the diagnosis.                                         22   BY MR. HONNOLD:
   23      Q. Have you or your institutions served as a        23      Q. Do you have -- have you read anything that
   24   clinical trial site for any clinical trials related    24   speaks to what the median or average Neoplastin PT is
   25   to any of the novel oral anticoagulants and any of     25   at tough for patients who are taking b.i.d.


                                             Page 215                                                     Page 217
    1   their indications, whether it's apixaban, Xarelto,      1   Rivaroxaban?
    2   Pradaxa, or others?                                     2          MS. CONKLIN: Object to the form.
    3      A. I can represent to you that I have not. In        3          THE WITNESS: No, I don't have any
    4   terms of my institution, I don't -- I don't know the    4      information related to that.
    5   answer to that question.                                5   BY MR. HONNOLD:
    6      Q. Have you ever been paid money to speak on         6      Q. Do you know whether your hospital, whether or
    7   behalf of a pharmaceutical or a medical device          7   not it's in your department, has any preprocedure or
    8   company related to any product?                         8   periprocedural standing orders or policies and
    9      A. Never.                                            9   procedures regarding what anticoagulation test, if
   10      Q. Have you served on -- ever served on a           10   any, should be performed before a procedure on a
   11   therapeutics committee at your hospital?               11   patient that's been taking Rivaroxaban?
   12      A. No.                                              12          MS. HOFFMANN: Objection.
   13      Q. Ever served on a pharmacy committee?             13          THE WITNESS: None to my knowledge. That's
   14      A. No.                                              14      not to represent there might not be some. But
   15      Q. Ever served on any risk management or            15      none to my knowledge.
   16   peer-review committees?                                16   BY MR. HONNOLD:
   17      A. Well, we have a peer-review committee within     17      Q. Do you believe that there could be any
   18   our department, but it's not an institutional          18   circumstances when Rivaroxaban exposure could
   19   peer-review committee.                                 19   increase enough in a given patient to where the
   20      Q. Is it -- is it a peer-review committee           20   actual risk of bleeding is increased?
   21   organized under the -- properly organized under the    21          MS. CONKLIN: Objection.
   22   statutes of the State of Missouri -- or Mississippi?   22          MS. HOFFMANN: Objection.
   23          MS. HOFFMANN: Missouri?                         23          THE WITNESS: I'm not sure I can -- I don't
   24          THE WITNESS: I would think it's not             24      know exactly what you mean by "exposure." I
   25      organized under the statutes of the State of        25      think earlier I said it's not typically something


                                                                          55 (Pages 214 to 217)
                Golkow Technologies, Inc. - 1.877.370.DEPS
Case 2:14-md-02592-EEF-MBN Document 5517-16 Filed 02/24/17 Page 56 of 57
         Protected - Subject to Further Protective Review
                                             Page 218                                                                  Page 220
    1      that I think about as a clinician, so I'm not         1         MS. HOFFMANN: I -- I don't know. I -- basis
    2      sure how to answer that. I -- I don't know what       2     of my objection, plus relevance. I mean, 18;
    3      that term means.                                      3     marijuana, who cares?
    4   BY MR. HONNOLD:                                          4   BY MR. HONNOLD:
    5      Q. And I'm only using it because it's something       5     Q. The answer is no?
    6   that's used throughout the label for Rivaroxaban.        6     A. No. Not that I recall.
    7          So I guess you come to the same point, you're     7         MR. HONNOLD: Doctor, I don't have any other
    8   not sure of the understanding -- or the meaning of       8     questions for you. Thank you for your time and
    9   that term, so you can't answer that question?            9     courtesy. It was a pleasure meeting you.
   10          MS. HOFFMANN: Objection --                       10         THE WITNESS: Thank you.
   11          MS. CONKLIN: Objection.                          11         THE VIDEOGRAPHER: Do you have any questions?
   12          MS. HOFFMANN: -- to form.                        12         The time now is 1:15 p.m. Today's deposition
   13          THE WITNESS: Yes. It's -- it's not a term        13     of Dr. Alan Jones consisting of five discs is now
   14      that I was as a clinician and how I think about      14     concluded.
   15      how I prescribe or manage Rivaroxaban in a           15         (Whereupon, the deposition concluded at
   16      patient, so it's not -- I don't know how to          16   1:15 p.m.)
   17      answer that.                                         17         (Jones Exhibit No. 13 was marked for
   18   BY MR. HONNOLD:                                         18   identification.)
   19      Q. Do you know whether your hospital pharmacy        19         (Jones Exhibit No. 14 was marked for
   20   has any particular guidelines or policies and           20   identification.)
   21   procedures relating to the measurement of Rivaroxaban   21
   22   or which tests to use for the measurement of            22
   23   Rivaroxaban levels?                                     23
   24          MS. HOFFMANN: Objection.                         24
   25          THE WITNESS: Not that I'm aware of.              25


                                             Page 219                                                                  Page 221
    1   BY MR. HONNOLD:                                          1              CERTIFICATE
    2       Q. Do you know who is the head pharmacist at         2
    3   your -- at your in-hospital pharmacy?                    3         I, KELLY J. LAWTON, Registered Professional
    4       A. I believe his -- yes, I do. I believe his         4   Reporter, Licensed Court Reporter, and Certified
    5   name is Todd Dear.                                       5   Court Reporter, do hereby certify that, pursuant to
    6       Q. Have you ever spoken with him related in any      6   notice, the deposition of ALAN JONES, M.D. was duly
    7   way to evaluation of test results for Rivaroxaban?       7   taken on February 10, 2017, at 7:11 a.m. before me.
    8       A. I have not.                                       8         The said ALAN JONES, M.D. was duly sworn by
    9       Q. Medical licensure, any actions ever taken         9   me according to law to tell the truth, the whole
   10   against your license to limit it, suspend it, or        10   truth and nothing but the truth and thereupon did
   11   revoke it in any way?                                   11   testify as set forth in the above transcript of
   12       A. No.                                              12   testimony. The testimony was taken down
   13       Q. Have your hospital staff privileges              13   stenographically by me. I do further certify that
   14   suspended, limited, any actions taken on them in any    14   the above deposition is full, complete, and a true
   15   way?                                                    15   record of all the testimony given by the said
   16       A. No.                                              16   witness.
   17       Q. Convicted of -- ever convicted of a crime of     17
   18   any type?                                               18         _____________________________________________
   19         MS. HOFFMANN: Object to form.                     19         KELLY J. LAWTON, RPR, LCR, CCR
   20         MR. HONNOLD: Why?                                 20
   21         MS. HOFFMANN: Traffic.                            21         (The foregoing certification of this
   22         MR. HONNOLD: Is that a crime?                     22   transcript does not apply to any reproduction of the
   23   ///                                                     23   same by any means, unless under the direct control
   24   ///                                                     24   and/or supervision of the certifying reporter.)
   25   ///                                                     25


                                                                                56 (Pages 218 to 221)
                Golkow Technologies, Inc. - 1.877.370.DEPS
Case 2:14-md-02592-EEF-MBN Document 5517-16 Filed 02/24/17 Page 57 of 57
           Protected - Subject to Further Protective Review
                                                  Page 222                                                              Page 224
    1               INSTRUCTIONS TO WITNESS                       1            ACKNOWLEDGMENT OF DEPONENT
    2                                                             2
    3                                                             3        I, ALAN JONES, M.D., do hereby acknowledge
    4           Please read your deposition over carefully        4   that I have read the foregoing pages, 1 to 220, and
    5     and make any necessary corrections. You should state    5   that the same is a correct transcription of the
    6     the reason in the appropriate space on the errata       6   answers given by me to the questions therein
    7     sheet for any corrections that are made.                7   propounded, except for the corrections or changes in

    8                                                             8   form or substance, if any, noted in the attached
                                                                  9   Errata Sheet.
    9          After doing so, please sign the errata sheet
                                                                 10
   10     and date it. It will be attached to your deposition.
                                                                 11
   11
                                                                 12   ________________________________              ________________
   12           It is imperative that you return the original
                                                                 13   ALAN JONES, M.D.                             DATE
   13     errata sheet to the deposing attorney within thirty
                                                                 14
   14     (30) days of receipt of the deposition transcript by
                                                                 15
   15     you. If you fail to do so, the deposition transcript   16
   16     may be deemed to be accurate and may be used in        17
   17     court.                                                 18   Subscribed and sworn to before me this
   18                                                            19   ____ day of ______________, 20___.
   19                                                            20   My Commission expires: _________________
   20                                                            21
   21                                                            22   ________________________________________
   22                                                                 Notary Public
   23                                                            23
   24                                                            24
   25                                                            25


                                                  Page 223                                                              Page 225
    1              ------                                         1                   LAWYER'S NOTES
    2              ERRATA                                         2   PAGE LINE
    3              ------                                         3   _____ _____ _____________________________________
    4   PAGE LINE CHANGE                                          4   _____ _____ _____________________________________
    5   ____ ____ _________________________________________       5   _____ _____ _____________________________________
    6   REASON: _____________________________________________     6   _____ _____ _____________________________________
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    9   ____ ____ _________________________________________       9   _____ _____ _____________________________________
   10   REASON: _____________________________________________    10   _____ _____ _____________________________________
   11   ____ ____ _________________________________________      11   _____ _____ _____________________________________
   12   REASON: _____________________________________________    12   _____ _____ _____________________________________
   13   ____ ____ _________________________________________      13   _____ _____ _____________________________________
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   22   REASON: _____________________________________________    22   _____ _____ _____________________________________
   23   ____ ____ _________________________________________      23   _____ _____ _____________________________________
   24   REASON: _____________________________________________    24   _____ _____ _____________________________________
   25                                                            25


                                                                               57 (Pages 222 to 225)
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